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      -HIIUH\/+DUWPDQ(VT
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      $WWRUQH\IRU&KULVWLQD/RYDWR&KDSWHU7UXVWHH
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                                                                 &KDSWHU 
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                                                               6XEVWDQWLYHO\&RQVROLGDWHGZLWK
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                                                               JV '&6RODU'LVWULEXWLRQ,QF
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              ,FHUWLI\WKDW,DPDQHPSOR\HHRI+DUWPDQ +DUWPDQDQGWKDWRQ-XO\DQG
       ,FDXVHGWREHVHUYHGWKHIROORZLQJGRFXPHQW V SXUVXDQWWR/RFDO5XOH J 
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       ([KLELW$


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                ᤯E 9LD860DLOSRVWDJHSUHSDLGRQ-XO\1RWLFHRI+HDULQJ>(&)1R
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                    x FUHGLWRUVPDLQWDLQHGE\WKH&RXUW([KLELW%
                    x DGYHUVDU\GHIHQGDQWVLQSHQGLQJDGYHUVDU\SURFHHGLQJV([KLELW&
                    x OLWLJDWLRQSDUWLHV([KLELW'
     
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                ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

              '$7('-XO\

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         ³(&)´&0(&)VXEVFULEHURUXVHU±UHFHLYHVHPDLOQRWLILFDWLRQRIFDVHDFWLYLW\QRWVHUYHGE\PDLO
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         ³,1&´LQFRPSOHWHDGGUHVVQRWVHUYHGE\PDLO
         ³1509´SDUW\UHTXHVWHGUHPRYDOQRWVHUYHGE\PDLO

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0DLOLQJ,QIRUPDWLRQIRU&DVHJV

(OHFWURQLF0DLO1RWLFH/LVW

7KHIROORZLQJLVWKHOLVWRISDUWLHVZKRDUHFXUUHQWO\RQWKHOLVWWRUHFHLYHHPDLOQRWLFHVHUYLFHIRUWKLVFDVH

    x   6(7+-$'$06VDGDPV#ZRRGEXUQDQGZHGJHFRPMJRII#ZRRGEXUQDQGZHGJHFRP
    x   *5(*$'',1*721JUHJDGGLQJWRQ#XVGRMJRYFKULVWLG\HU#XVGRMJRYGDQLHOOHEOHHFNHU#XVGRMJRY
    x   0(*$10$'(<(02PDGH\HPR#JRUGRQUHHVFRPDVRWR#JUVPFRP
    x   6$//,(%$5067521*VDUPVWURQJ#PFGRQDOGFDUDQRFRPPKDOH#PFGRQDOGFDUDQRFRP
    x   6,021$521VDURQ#ZUVODZ\HUVFRP
    x   %5(77$$;(/52'ED[HOURG#IR[URWKVFKLOGFRP
         SFKOXP#IR[URWKVFKLOGFRPPZLOVRQ#IR[URWKVFKLOGFRP
    x   *,/%(1(=5$JEHQH]UD#PHODQGEXGZLFNFRP
         OWDQQHQEDXP#PHODQGEXGZLFNFRPPUEQHIV#\DKRRFRPOWDQQHQEDXP#HFIFRXUWGULYHFRPSKRUQLD#HFIF
         RXUWGULYHFRP
    x   2*211$0%52:12%URZQ#OUUFFRP.3LPHQWHO#OUUFFRPQORUG#OHZLVURFDFRPRJRQQDEURZQ
         #HFISDFHUSURFRP
    x   /28,60%8%$/$OEXEDOD#NFQYODZFRPPPDUVK#NFQYODZFRPFEULPP#NFQYODZFRP
    x   0,&+$(/6%8':,&.PEXGZLFN#PHODQGEXGZLFNFRP
         OWDQQHQEDXP#PHODQGEXGZLFNFRPPUEQHIV#\DKRRFRPOWDQQHQEDXP#HFIFRXUWGULYHFRPOWDQQHQEDXP#
         HFIFRXUWGULYHFRP
    x   &+5,6723+(53$75,&.%85.(DWW\FEXUNH#FKDUWHUQHW
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         &5REHUWVRQ#FDUO\RQFLFDFRPQURGULJXH]#FDUO\RQFLFDFRP#ILOLQJVGRFNHWELUGFRP'FLFD#F
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    x   -())5(<'&$:'5(<MFDZGUH\#JUVPFRPVGXUD]R#JUVPFRPPDGH\HPR#JUVPFRP
    x   52%(570&+$5/(6UFKDUOHV#OHZLVURFDFRP%DQNUXSWF\1RWLFHV#OHZLVURFDFRPUREHUWFKDUOHV
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    x   7,027+<6&25<WFRU\#FUGVODZFRPFUHDGH#FUGVODZFRP
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    x   0,&+$(/$',*,$&202GLJLDFRPRP#EDOODUGVSDKUFRP
         VDOWODNHGRFNHWFOHUN#EDOODUGVSDKUFRPSDUHGHVU#EDOODUGVSDKUFRPKDUWW#EDOODUGVSDKUFRP
    x   -$0,(3'5(+(5MGUHKHU#GRZQH\EUDQGFRPPIUD]LHU#GRZQH\EUDQGFRPUHQR#GRZQH\EUDQGFRP
    x   9$1&'855(5YDQGXUUHU#VNDGGHQFRP
    x   5,&+$5':(67(5.,1UHVWHUNLQ#PRUJDQOHZLVFRP
    x   /$56(9(16(1ONHYHQVHQ#KROODQGKDUWFRPFDERZPDQ#KROODQGKDUWFRPNUFROH#KROODQGKDUWFRP
    x   7+20$6+)(//WIHOO#IFODZFRPFODQGLV#IFODZFRP&RXUW)LOLQJV#IHQQHPRUHODZFRP
    x   $6+/(<1)(//21$DVKOH\IHOORQD#VDXOFRP-DQLFH0DVW#VDXOFRP
    x   0$57,1/),1(0$1PDUWLQILQHPDQ#GZWFRP([WHUQDO)RUZDUG86%&B1(9$'$#GZWFRP
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    x   52%(57&)2//$1'UREIROODQG#EWODZFRP
    x   .,$+7)25'FKLSIRUG#SDUNHUSRHFRP
    x   )5$1&+,6(7$;%2$5' FF %.&ODLP&RQILUPDWLRQ#IWEFDJRYNHYLQKXWW\#IWEFDJRY
    x   '21$/'/*$))1(<GJDIIQH\#VZODZFRP

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    x   62/2021%*(1(7VJHQHW#PHODQGEXGZLFNFRP
         OWDQQHQEDXP#PHODQGEXGZLFNFRPPUEQHIV#\DKRRFRPOWDQQHQEDXP#HFIFRXUWGULYHFRP
    x   )5$1.&*,/025(IJLOPRUH#UVVEODZFRPPGDYLV#UVVEODZFRP
    x   0,&+$(/-*20(=PJRPH]#IUDQG]HOFRPGPRRUH#IUDQG]HOFRP
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         IULWFKLH#JUHHQHLQIXVRODZFRPNIDUQH\#JUHHQHLQIXVRODZFRPFZDOWRQ#JUHHQHLQIXVRODZFRP
    x   $//(1-*821DJXRQ#FR]HQFRPDOOHQJXRQ#HFISDFHUSURFRPFNQH]#FR]HQFRP
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    x   -())5(</+$570$1QRWLFHV#EDQNUXSWF\UHQRFRPDEJ#EDQNUXSWF\UHQRFRP
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    x   5,&+$5')+2//(<UKROOH\#QHYDGDILUPFRP
         DSHVWRQLW#QHYDGDILUPFRPRVZLELHV#QHYDGDILUPFRPDJDQGDUD#QHYDGDILUPFRPPODQJVQHU#QHYDGDILUP
         FRP
    x   5,&.5+68UKVX#PFOUHQRODZFRPKPRWWD#PFOODZILUPFRP
    x   &+5,6723+(5'+8*+(6FKXJKHV#QRVVDPDQFRP
    x   %5,$15,59,1(ELUYLQH#GLFNLQVRQZULJKWFRP
         PUHHO#GLFNLQVRQZULJKWFRPFJULQVWHDG#GLFNLQVRQZULJKWFRP51BOLWGRFNHW#GLFNLQVRQZULJKWFRP
    x   1($/5-$&2%621MDFREVRQQ#VHFJRY
    x   0$77+(:/-2+1621DQQDEHOOH#PMRKQVRQODZFRP
         PMRKQVRQ#PMRKQVRQODZFRPPDULD#PMRKQVRQODZFRPVERGH#PMRKQVRQODZFRP
    x   3$8/--2+1621SMRKQVRQ#GLHPHUZHLFRP
    x   1$7+$1*.$187(QNDQXWH#VZODZFRP
         PIXOO#VZODZFRPMPDWK#VZODZFRPGRFNHWBODV#VZODZFRPMVWHYHQVRQ#VZODZFRPOMWD\ORU#VZODZFR
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         VFKQHULQJHU#JUVPFRP
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    x   &(&,/,$/((HIOHWFKHU#IOHWFKHUODZJURXSFRPHGHQGDU\#IOHWFKHUODZJURXSFRP
    x   $/(;$1'(5-/(:,&.,DOHZLFNL#GLHPHUZHLFRP
    x   &+5,67,1$:/29$72WUXVWHHORYDWR#DWWQHW19#HFIFELVFRP
    x   7,027+<$/8.$6HFIOXNDVW#KROODQGKDUWFRP
    x   (':$5'00&'21$/'HGZDUGPPFGRQDOG#XVGRMJRY
    x   -($1(77((0&3+(5621ENILOLQJV#VPODZFRP
    x   ('021'%8''<0,//(5EPLOOHU#EXGG\PLOOHUODZFRPMHSNHU#EXGG\PLOOHUODZFRP
    x   $/,0002-'(+,DPRMGHKL#EWODZFRPMJHUW]#EWODZFRPDUHJR#EWODZFRP
    x   -$0(6&0221MPRRQ#PHODQGEXGZLFNFRP
         OWDQQHQEDXP#PHODQGEXGZLFNFRPPUEQHIV#\DKRRFRPOWDQQHQEDXP#HFIFRXUWGULYHFRP
    x   0(/$1,('025*$10HODQLHPRUJDQ#DNHUPDQFRPDNHUPDQODV#DNHUPDQFRP
    x   $6+/(<&1,..(/DQLNNHO#SDUVRQVEHKOHFRPUVKDIIHU#SDUVRQVEHKOHFRP
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    x   :,//,$0012$//ENQRWLFHV#JWJOHJDOZQRDOO#JWJOHJDO
    x   75$&<02 67((1WRVWHHQ#FDUO\RQFLFDFRP
         FUREHUWVRQ#FDUO\RQFLFDFRPQURGULJXH]#FDUO\RQFLFDFRPFFDUO\RQ#FDUO\RQFLFDFRP
    x   5,&+$5'$26+,16.,5LFN#2VKLQVNL)RUVEHUJFRP/LQGD#2VKLQVNL)RUVEHUJFRP
    x   '211$73$5.,1621GRQQD#SDUNLQVRQSKLQQH\FRP
    x   3$8/-3$6&8==,SSDVFX]]L#IIZSODZFRPGRFNHW#IIZSODZFRP
    x   .(9,1&3$8/(NSDXOH#PHODQGEXGZLFNFRP
         OWDQQHQEDXP#PHODQGEXGZLFNFRPPUEQHIV#\DKRRFRPOWDQQHQEDXP#HFIFRXUWGULYHFRP
    x   0,&+$(/5<$13,1.6721USLQNVWRQ#VH\IDUWKFRP
         MPFGHUPRWW#VH\IDUWKFRPVIRFDOHQGDU#VH\IDUWKFRP
    x   0$77+(::48$//PTXDOO#TXDOOFDUGRWFRP
    x   -$&.$5$,61(5MDU#RXWWHQJROGHQFRP
    x   '21$/'$5($GRQUHD#VDXOFRP
    x   5&+5,6723+(55($'(FUHDGH#FUGVODZFRP
         DJLOEUHDWK#FUGVODZFRPHDUWKXU#FUGVODZFRPMVKDIHU#FUGVODZFRP
    x   -8/,(+23(520(%$1.6-XOLH#ELQGHUPDOWHUFRP
    x   5(1( 65283,1,$1UVU#UDLVQHUURXSLQLDQFRP
         -DU#UDLVQHUURXSLQLDQFRPZDUQODZ\HUV#UDLVQHUURXSLQLDQFRPUUOOS#HFIFRXUWGULYHFRP
    x   -2+106$0%(5*MVDPEHUJ#ZUVODZ\HUVFRPHILOLQJMPV#ZUVODZ\HUVFRP
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    x   6$08(/$6&+:$57=VDVFKZDUW]#QYILUPFRP
         HFI#QYILUPFRPVFKZDUW]VU#QRWLI\EHVWFDVHFRPHDQGHUVRQ#QYILUPFRPVDPLG#QYILUPFRP
    x   %5,$1'6+$))(5EULDQVKDIIHU#PVUOHJDOFRPNDUHQZLJ\OXV#PVUOHJDOFRP
    x   &21125+6+($FVKHD#EKIVFRPZFRVE\#EKIVFRP
    x   -$0(63$75,&.6+($MVKHD#VKHDODZEODUVHQ#VKHDODZVXSSRUW#VKHDODZ
    x   3$75,&.-6+((+$1SVKHHKDQ#IFODZFRPWGD\#IFODZFRP
    x   3$8/67(9(16,1*(50$1VLQJHUPDQ#EHUJHUVLQJHUPDQFRP
    x   '$1,(/+6/$7(GVODWH#EXFKDOWHUFRPVPDUWLQ#EXFKDOWHUFRP
    x   3(7(5-60,7+SHWHUMVPLWK#DWWQHW
    x   67(3+(13$8/625(16(1VVRUHQVHQ#WDIVDWWRUQH\VFRP
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    x   .(9,10687(+$//NVXWHKDOO#IR[URWKVFKLOGFRPGORIIUHGR#IR[URWKVFKLOGFRP
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         NEUDWWRQ#KD\HVDQGZHOVKRQPLFURVRIWFRPQYHFI#DLVOHJDOWUDFFRP
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                   (;+,%,7%
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                                                                              (&)
Label Matrix for local noticing                 AHERN RENTALS, INC.                            ALLY BANK
0978-3                                          C/O FOX ROTHSCHILD LLP                         PO BOX 130424
Case 19-50102-gs                                ATTN: BRETT A. AXELROD                         ROSEVILLE, MN 55113-0004
District of Nevada                              1980 FESTIVAL PLAZA DRIVE
Reno                                            SUITE 700
Thu Jul 22 15:32:17 PDT 2021                    LAS VEGAS, NV 89135-2961
B.H. CAPTIAL VENTURES, LLC        (&)           CAL PROCESS SERVERS                            CHARGEIT MOBILITY GMBH, GERMANY
C/O SAMUEL SCHWARTZ / BROWNSTEIN HYATT..
100 N CITY PKWY, STE 1600
                                                14271 JEFFREY ROAD, #308
                                                IRVINE, CA 92620-3405
                                                                                                  ,1&
LAS VEGAS, NV 89106-4614


CHARLOTTE MOTOR SPEEDWAY, LLC     (&)           CLARK HILL PLLC             &+1*               CRANBROOK REALTY INVESTMENT FUND LP
C/O KIAH T. FORD IV                             3800 HOWARD HUGHES PARKWAY                     C/O LAW OFFICES OF AMY N TIRRE, APC
401 SOUTH TRYON ST., SUITE 3000
CHARLOTTE, NC 28202-1942
                                                Suite 500
                                                LAS VEGAS, NV 89169-5914
                                                                                               3715 LAKESIDE DR, STE A
                                                                                               RENO, NV 89509-5349
                                                                                                                             (&)

DC SOLAR DISTRIBUTION, INC.   %$'               DC SOLAR FREEDOM, INC.   %$'                   DC SOLAR SOLUTIONS, INC.   %$'
4901 PARK ROAD                                  4901 PARK ROAD                                 4901 PARK ROAD
BENICIA, CA 94510-1190                          BENICA, CA 94510-1190                          BENICIA, CA 94510-1190



DOUBLE JUMP, INC.   %$'                         ECI FUEL SYSTEMS             (&)               EXIDE TECHNOLOGIES    %$'
200 S. VIRGINIA, 8TH FLOOR                      C/O JEANETTE E. MCPHERSON                      130000 DEEFIELD PKWY, BLDG 200
RENO, NV 89501-2403                             Schwartzer & McPherson Law Firm                MILTON, GA 30004-8532
                                                2850 South Jones Blvd., Suite 1
                                                Las Vegas, NV 89146-5640

FEI INVESTORS I, LLC  (&)                       FELDERSTEIN FITZGERALD WILLOUGHBY & PASCUZZI   FIRST REPUBLIC BANK
C/O TIMOTHY S. CORY                             500 CAPITOL MALL, SUITE 2250   (&)                 ,1&
1333 NORTH BUFFALO DRIVE, SUITE 210             SACRAMENTO, CA 95814-4760
LAS VEGAS, NV 89128-3636


FRANCHISE TAX BOARD (cc)                        GLASSRATNER ADVISORY & CAPITOL GROUP LLC       GREEN ENERGY CONCEPTS, INC.
FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
                                                425 CALIFORNIA STREET, SUITE 900
                                                SAN FRANCISCO, CA 94104-2117      '83          ATTN: TIM EARNHARD, VP
                                                                                               5831 ORR ROAD
PO BOX 2952                                                                                    CHARLOTTE, NC 28213-6319
SACRAMENTO, CA 95812-2952

HANCOCK WHITNEY EQUIPMENT FINANCE AND LEASIN    HARRIS LAW PRACTICE LLC
                                                                               (&)             HERITAGE BANK OF COMMERCE
C/O LOUIS M. BUBALA III
                              (&)               6151 LAKESIDE DR., STE 2100                    C/O SETH ADAMS / WOODBURN AND WEDGE
                                                                                                                     (&)
50 W. LIBERTY ST., STE 700                      RENO, NV 89511-8541                            PO BOX 2311
RENO, NV 89501-1947                                                                            RENO, NV 89505-2311


INTERNATIONAL SPEEDWAY CORPORATION              ISM CONNECT                   %$'              JLE ENTERPRISES, LLC       (&)
C/O BARNES & THORNBURG LLP                      MUSHKIN CICA COPPEDGE / DAWN CICA              C/O LAW OFFICE OF HAYES & WELSH
655 W. BROADWAY, STE 900                        4495 S. PECOS RD.                              199 N. ARROYO GRANDE BLVD, STE 200
SAN DIEGO, CA 92101-8484                        LAS VEGAS, NV 89121-5082                       HENDERSON, NV 89074-1609


LONE OAK FUND, LLC   (&)                        MANDALAY BAY, LLC                              MELAND BUDWICK, P.A.  (&)
c/o John Samberg                                3950 Las Vegas Boulevard                       3200 SOUTHEAST FINANCIAL CTR
Wolf Rifkin Shapiro Schulman &Rabkin            LAS VEGAS, NV 89119-1006                       200 SO BISCAYNE BLVD
200 S. Virginia St. Ste. 470                                                                   MIAMI, FL 33131-5340
Reno, NV 89501-2402
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NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY      PARDEE SOLAR 1, LLC                           PS BUSINESS PARKS, L.P.
BART K LARSEN / KOLESAR & LEATHAM
                               (&)
                                                C/O RICHARD ESTERKIN / MORGAN LEWIS.....      C/O ADAM PERNSTEINER / LEWSI BRIABOIS...
400 SO RAMPART BLVD, STE 400                    300 S GRAND AVE, 22ND FLR                     6385 S. RAINBOW BLVD., STE 600
LAS VEGAS, NV 89145-5725                        LOS ANGELES, CA 90071-3132                    LAS VEGAS, NV 89118-3201


SECURITIES AND EXCHANGE COMMISSION              SKADDEN, ARPS, MEAGHER, SLATE & FLOM LLP      SMISC HOLDINGS, LLC
                                                                                                                       (&)
                                                                         (&)
NEW YORK REGIONAL OFFICE                        300 S. GRANVE AVENUE, SUITE 3400              C/O KIAH T. FORD IV
BROOKFIELD PLACE                                LOS ANGELES, CA 90071                         401 SOUTH TRYON ST., SUITE 2000
200 VESEY ST, STE 400                                                                         CHARLOTTE, NC 28202-1934
NEW YORK, NY 10281-1004

SOLAR ECLIPSE INVESTMENT FUND (IV, V, VI, X,    SOLARMORE MANAGEMENT SERVICES, INC.           SOLARSENSE DCS I, LLC
C/O HOLLAND & HARt LLP / TIMOTHY A LUKAS        C/O NATHAN G. KANUTE           (&)            C/O HOLLEY DRIGGS WALCH / R. HOLLEY
5441 KIETZKE LN, 2ND FLR    (&)                 50 W. LIBERTY ST., STE 510                    400 S 4TH ST, FLR 3          (&)
RENO, NV 89511-3026                             RENO, NV 89501-1961                           LAS VEGAS, NV 89101-6201


STERLING MADISON COMPANY                        SUN TRUST EQUIPMENT FINANCE & LEASING CORP.   T-MOBILE USA, INC. (sb)
871 COLEMAN AVE., STE 102
SAN JOSE, CA 95110-1831
                                                C/O MEGAN N. ADEYEMO
                                                2200 ROSS AVE., SUITE 4100W
                                                                                 (&)          T-MOBILE USA, INC.
                                                                                              PO BOX 53410
                                                DALLAS, TX 75201-7902                         BELLEVUE, WA 98015-3410


THE SHERWIN-WILLIAMS COMPANY                    TRANS LEASE, INC.                             U.S. TRUSTEE - RN - 7 7        (&)
C/O ASHLEY C. NIKKEL        (&)                 c/o JOHNSON & GUBLER, P.C.                    300 BOOTH STREET, STE 3009
PARSONS BEHLE & LATIMER                         8831 W. SAHARA AVE                            RENO, NV 89509-1362
50 W. LIBERTY ST., SUITE 750                    LAS VEGAS, NV 89117-5865
RENO, NV 89501-1970

UNITED BANK
                        (&)                     UNITED FINANCIAL BANCORP, INC.                UNITED STATES OF AMERICA
                                                                                                                             (&)
C/O TRICIA M. DARBY
4777 CAUGHLIN PARKWAY
                                                C/O TRICIA M. DARBY
                                                4777 CAUGHLIN PARKWAY
                                                                         (&)                  C/O GREG ADDINGTON
                                                                                              ASSISTANT U.S. ATTORNEY
RENO, NV 89519-0906                             RENO, NV 89519-0906                           400 SOUTH VIRGINIA ST., STE 900
                                                                                              RENO, NV 89501-2121
                                                                          '83                                              (&)
VALLEY NATIONAL BANK        (&)                 WERTLIEB LAW CORP                             XTREME MANUFACTURING, LLC
C/O ROBERT M. CHARLES JR.                       15332 ANTIOCH STREET, UNIT 802                c/o FOX ROTHSCHILD LLP / B AXELROD
ONE EAST LIBERTY ST., SUITE 300                 PACIFIC PALISADES, CA 90272-3603              1980 FESTIVAL PLAZA DR, STE 700
RENO, NV 89501-2128                                                                           LAS VEGAS, NV 89135-2961


ZALANTA RESORT AT THE VILLAGE ASSOCIATION       United States Bankruptcy Court                140 Mason Circle, LLC     %$'
C/O EDMOND BUDDY MILLER
1610 MONTCLAIR AVENUE, SUITE C
                                  (&)           300 Booth Street
                                                Reno, NV 89509-1360
                                                                     (&)                      135 Mason Circle
                                                                                              Concord, CA 94520-8542
RENO, NV 89509-3453


2190 BROOKWOOD AVENUE
SANTA ROSA, CA 95404-7018   '83                 25274 NETWORK PLACE
                                                CHICAGO, IL 60673-1252
                                                                          '83                 254 E. Hacienda Ave.
                                                                                              ChargePoint, Inc.
                                                                                              c/o General Counsel
                                                                                              254 E. Hacienda Ave.
                                                                                              Campbell, CA 95008-6617


                                                                             '83
2750 MAXWELL WAY, LLC                           39209 TREASURY CENTER                         4021 PIKE LANE, LLC
By and through its Officers/Directors           CHICAGO, IL 60694-9200                        By and through its Officers/Directors
                               '83
Jeff Carpoff and Paulette Carpoff                                                             Jeff Carpoff and Paulette Carpoff
30 Pebble Dunes Ct.
Las Vegas, NV 89141-6069
                                                                                              30 Pebble Dunes Ct.
                                                                                              Las Vegas, NV 89141-6069
                                                                                                                           '83
                   Case 19-50102-gs   Doc 2811       Entered 07/27/21 10:18:53         Page 10 of 67

4533 ANDREWS ST SUITE A
                               '83
                                       475 Channel Road, LLC
                                                                  %$'               4901 PARK ROAD            %$'
N LAS VEGAS, NV 89081-2708             4901 Park Road                               BENICIA, CA 94510-1190
                                       Benicia, CA 94510-1190




                                                                     '83
7975 Orchestra Ave                     929 COLORADO AVE                             A Valdivia Landscaping
1401 Mineral Ave.                      SANTA MONICA, CA 90401-2716                  1115 Juniper Ave.
7975 Orchestra Ave                                                                  South Lake Tahoe, CA 96150-8122
Las Vegas, NV 89123-0401


ABS National Auto Services Inc         ACE                                          ACE SIERRA TOW
9000 Executive Park Drive              436 Walnut Street                            ACE SIERRA CORP.
Suite A-115                            Philadelphia, PA 19106-3703                  4579 PACHECO BLVD
Knoxville, TN 37923-4653                                                            MARTINEZ, CA 94553-2233


ADHI-Solar, LLC     (&)                ADVANCED MONITORING INC.                     AEDG                     %$'
c/o Sallie Armstrong, Esq.             1354 S. PARKSIDE PLACE                       1055 Westlakes Drive, Suite 140
McDonald Carano LLP                    ONTARIO CA 91761-4555                        Berwyn, PA 19312-2404
100 W. Liberty Street, 10th Floor
Reno, NV 89501-1989

AHERN RENTALS, INC.
C/O FOX ROTHSCHILD LLP
                          (&)          AHERN RENTALS, INC.
                                       C/O ROX ROTHSCHILD LLP
                                                                                    AIG Inc.
                                                                                    PO Box 601148
                                                                                                            '83
ATTN: BRETT A. AXELROD                 AMANDA A. HUNT                               Pasadena, CA 91189-1148
1980 FESTIVAL PLAZA DR, #700           1980 FESTIVAL PLAZA DRIVE, SUITE 700
LAS VEGAS, NV 89135-2961               LAS VEGAS, NV 89135-2961

AIG Private Client Group
PO Box 601148
                                       ALHAMBRA SIERRA SPRINGS
                                       P.O. BOX 660579
                                                                                    ALLY BANK
                                                                                    C/O RICK R. HSU
                                                                                                     (&)
Pasadena, CA 91189-1148                DALLAS, TX 75266-0579                        4785 CAUGHLIN PARKWAY
                                                                                    RENO, NV 89519-0906


AMAC Construction and Restoration      AMAC Construction/ McDouglass Group, Inc.    ANNIE Z. LI
Horner Law Group, P.C.
800 S. Broadway
                           (&)         800 S. Broadway, Suite 200
                                       Walnut Creek, California 94596-5227
                                                                              '83   THE WALT DISNEY COMPANY
                                                                                    500 S BUENA VISTA ST
Suite 200                                                                           BURBANK, CA 91521-1245
Walnut Creek, CA 94596-5227

APS                                    APS          &+1*                            ARIZONA DEPARTMENT OF REVENUE
PO BOX 60015                           PO Box 2906                                  Office of the Arizona Attorney General
PRESCOTT, AZ 86304-6015                Phoenix, AZ 85062-2906                       c/o Tax, Bankruptcy and Collection Sct
                                                                                    2005 N Central Ave, Suite 100
                                                                                    Phoenix, AZ 85004-1546

ARIZONA DEPT OF REVENUE                ASI Lloyds                                   AT&T
1600 WEST MONROE STREET                PO Box 33018                                 PO Box 5025
PHOENIX, AZ 85007-2650                 Saint Petersburg, FL 33733-8018              Carol Stream, IL 60197-5025



AT&T                                   AT&T Mobility                                AT&T Mobility II LLC
c/o Bankruptcy                         PO Box 6463                                  C/O AT&T SERVICES INC.
4331 Communications Dr., Floor 4W      Carol Stream, IL 60197-6463                  KAREN A. CAVAGNARO PARALEGAL
Dallas, TX 75211-1300                                                               ONE AT&T WAY, SUITE 3A104
                                                                                    BEDMINSTER, NJ 07921-2693
                   Case 19-50102-gs        Doc 2811       Entered 07/27/21 10:18:53       Page 11 of 67

AT&T UVERSE - Buena Park                    ATLANTA MOTOR SPEEDWAY, LLC                AVD Security                 '83
PO Box 5014                                 By and through its Registered Agent        1300 Galaxy Way, Unit 21
Carol Stream, IL 60197-5014                 David M. Waldroup                          Concord, CA 94520-4964
                                            2200 Keys Ferry Court
                                            McDonough, GA 30253-3372

AX Transportation LLC                       Advanced Voice & Data Inc                  Aguilera, Daniel          '83
8350 Eastgate Rd.                           1300 Galaxy Way                            362 Willowcreek Ln
Henderson, NV 89015-0104                    Suite 21                                   Martinez, CA 94553-4135
                                            Concord CA 94520-4964


Ahern Rentals, Inc.                         Ahern Rentals, Inc.                        (p)STATE OF ALABAMA DEPARTMENT OF REVENUE
1401 Mineral Ave.                           PO Box 271390                              P O BOX 320001
Las Vegas, NV 89106-4342                    Las Vegas, NV 89127-1390                   MONTGOMERY AL 36132-0001



Alderwood Property Condo Association        Alexander & Associates                     Allstate Fire Equipment
c/o Union Bank Lockbox
PO Box 45413
                           1509            147 Old Bernal Ave., Suite 20
                                            Pleasanton, CA 94566-7013
                                                                                       5040 Sobb Ave
                                                                                       Las Vegas, NV 89118-2816
San Francisco, CA 94145-0143


Ally Detroit Center
500 Woodward Ave
                                            Ally Financial
                                            Tyler Lambert
                                                             %$'                       Alpine Power Systems, Inc.
                                                                                       Dept 77783
Detroit, MI 48226-3416                      PO Box 360902                              PO Box 77000
                                            Bloomington, MN 55436-0902                 Detroit, MI 48277-0783


AmTrust North America                       AmTrust North America       '83            AmTrust North America Inc
800 Superior Ave                            800 Superior Ave                           PO Box 6939
Cleveland, H 44114-2601                     Cleveland, OH 44114-2601                   Cleveland, OH 44101-1939



Amato, Lance M.   '83                       Amato, Priscilla      '83                  Americrown Daytona Speedway
1035 Marie Ave                              1035 Marie Ave                             1800 West International Speedway
Martinez, CA 94553-3520                     Martinez, CA 94553-3520                    PO Box 2801
                                                                                       Daytona, FL 32114-1216


Andre Espinosa                              Andre Espinosa                             Andrew Raber              '83
Eastern District of California, Criminal    Eastern District of California, Criminal   2546 Alabaster Avenue
Robert T Matsui United States Courthouse    Robert T. Matsui United States Courthous   Orlando, FL 32833-4309
501 I Street, Suite 10-100                  501 I Street, Suite 10-100
Sacramento, CA 95814-7306                   Sacramento, CA 95814-7306

Annie Z. Li                                 Antara Ltd                                 Anthony Brunson
Skadden Arps, Slate, Meagher                Jerry Sprecher                             2025 S 84th Avenue
& Flom LLP & Affiliates    '83              11155 Pentland Downs Street                Tolleson, AZ 85353-8924
300 South Grand Avenue                      Las Vegas, NV 89141-4361
Los Angeles, CA 90071-3109

Anthony Paoli                               B RILEY ADVISORY SERVICES                  BAKER & HOSTETLER LLP
15 Pheasant Ridge Drive                     GLASSRATNER ADVISORY & CAPITOL GROUP LLC   200 SOUTH ORANGE AVENUE
Henderson, NV 89014-2110                    425 CALIFORNIA STREET, SUITE 900           SUITE 2300
                                            SAN FRANCISCO, CA 94104-2117               ORLANDO, FL 32801-3432
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BAY AREA SCREENPRINT, INC.                 BEI Construction Inc                  BENICIA INDUSTRIAL PARK, LLC
By and through its Officers/Directors
Jeff Carpoff and Paulette Carpoff
                                           1101 Marina Village Parkway
                                           Suite 100
                                                                                 C/O MATTHEW C. ZIRZOW
                                                                                 LARSON & ZIRZOW, LLC      (&)
30 Pebble Dunes Ct.
Las Vegas, NV 89141-6069     '83           Alameda CA 94501-6475                 850 E. BONNEVILLE AVE.
                                                                                 LAS VEGAS, NV 89101-7031

                                                                                                           '83
                           (&)
BENICIA INVESTMENT, LLC                    BPXpress                              BRETT STUBBS
C/O MATTHEW C. ZIRZOW                      4740 E. 2nd St., Ste. #29             3104 MARSALA DRIVE
LARSON & ZIRZOW, LLC                       Benicia, CA 94510-1024                PITTSBURG CA 94565-7993
850 E. BONNEVILLE AVE.
LAS VEGAS, NV 89101-7031

BRIAN T. PETERSON                          BRISTOL MOTOR SPEEDWAY, LLC           Barry Hacker
925 4TH AVE., SUITE 2900                   By and through its Registered Agent   c/o Adam Schwartz
SEATTLE, WA 98104-1158                     CT Corporation System                 Homer Bonner
                                           300 Montvue Road                      330 South Rampart Boulevard, #360
                                           Knoxville, TN 37919-5510              Las Vegas, NV 89145-5754

Bay Alarm Company                          Bay Area Drainage, Inc.               Bayliss Innovative Services Inc
PO Box 7137                                86 Buckingham Drive                   2873 Richard Court
San Francisco, CA 94120-7137               Moraga, CA 94556-2407                 Concord, CA 94520-5515



Bayliss Innovative Services Inc            Beal, Steven P.    '83                Bello, Robert W.      '83
825 Westview Court                         1 Vintage Ct                          821 W Kristal Way
Martinez, CA 94553-3372                    Port Chester, NY 10573-5504           Phoenix, AZ 85027-5516



Benecia Police Department Alarm Program    Benicia Investment LLC                Bertolami Engineering
PO Box 398902                              Benicia Industrial LLC                1940 Oak Park Blvd.
San Francisco, CA 94139-8902               c/o Kirk Giberson                     Pleasant Hill, CA 94523
                                           Hefner Law
                                           2150 River Plaza Drive, Suite 450
                                           Sacramento, CA 95833-4136

                                                                      '83
Big Ass Fans                               Black, Alexavier G.                   Boulder Exterminators, Inc.
PO Box 638767                              146 Fig Tree Ln Apt 8c                PO Box 17000
Cincinnatti, OH 45263-8767                 Martinez, CA 94553-6836               South Lake Tahoe, CA 96151-7000



Brandon Spencer
2407 W. Darrow St.
                                           Brandy Boy Properties, LLC
                                           4901 Park Road
                                                                         %$'     Brent Reckert
                                                                                 1722 Dixon St.
Phoenix, AZ 85041-6420                     Benicia, CA 94510-1190                Redondo Beach, CA 90278-2823



Brent Reckert        &+1*                  Brett Stubbs        '83               Briones, Aniceto T.
5269 Bindewald Road                        3104 Marsala Drive                    1716 Andrews Circle
Torrance, CA 90505-4314                    Bay Point, CA 94565-7993              Suisun City, CA 94585-6315



Briones, Eugene T.        '83              Buenrostro, Jessica M.     %$'        Buhler, Benjamin F.       '83
917 Hareiqun Way                           501 Danrose Dr                        106 Moss Ln
Suisun City, CA 94585-2917                 American Cyn, CA 94503-1326           Napa, CA 94558-1973
                   Case 19-50102-gs            Doc 2811       Entered 07/27/21 10:18:53           Page 13 of 67

Burns & Wilcox                                  C. L. Raffety CPA K.E. Coleman, MBA            C. L. Raffety, CPA
101 California Street                           Tax Collector                                  Treasurer - Tax Collector
Suite 975                                       PO Box 678002                                  PO Box 678002
San Francisco, CA 94111-5839                    Placerville, CA 95667-8002                     Placerville, CA 95667-8002


CA Construction
127 DeNormandie Way
                                                CALIFORNIA DEPARTMENT OF TAX AND FEE ADMINIS
                                                SPECIAL OP BRANCH, MIC: 55
                                                                                               CANDACE C CARLYON
                                                                                               CARLYON CICA CHTD.
                                                                                                                   (&)
Martinez, CA 94553-3006                         PO BOX 942879                                  265 E. WARM SPRINGS RD, STE 107
                                                SACRAMENTO, CA 94279-0001                      LAS VEGAS, NV 89119-4230


CARRIE SUE BODEN-CARPOFF aka   '83              CAT5 RESOURCES LLC                             CCWD
CAROLINE SUE BODEN-CARPOFF, et al.              PO BOX 202056                                  PO Box 1430
15 Cascada                                      DALLAS, TX 75320-2056                          Suisun City, CA 94585-4430
Rancho Santa Margarita, CA 92688-3040


CDRL NUTRITIONAL, INC.                          CED                                            CHARLOTTE MOTOR SPEEDWAY LLC
By and through its Registered Agent             PO Box 398847                                  5555 CONCORD PARKWAY SOUTH
Peter Rosselli                                  San Francsisco, CA 94139-8847                  CONCORD, NC 28027-4600
140 Mason Circle, Suite K
Concord, CA 94520-1260


                                                                                                                         (&)
CHARTER COMMUNICATIONS                          CHERYL M. LOTT                                 CHIP GANASSI RACING LLC
PO BOX 94188                                    1000 WILSHIRE BLVD., SUITE 1500                C/O RICK R. HSU
PALATINE IL 60094-4188                          LOS ANGELES, CA 90017-1730                     4785 CAUGHLIN PARKWAY
                                                                                               RENO, NV 89519-0906


CHIP GANASSI RACING WITH FELIX SABATES, INC.    CHRISTINA W. LOVATO     (&)                    CHRISTOPHER J. FONG, ESQ.
C/O RICK R. HSU
4785 CAUGHLIN PARKWAY    (&)                    PO BOX 18417
                                                RENO, NV 89511-0417
                                                                                               NIXON PEABODY LLP
                                                                                               55 WEST 46TH ST.
RENO, NV 89519-0906                                                                            NEW YORK, NY 10036-4277


CITY OF BENICIA                                 CITY WIDE PEST CONTROL INC                     CLARK HILL PLC
                                                                                                                '83
250 EAST L STREET                               22405 N 18TH DRIVE                             130 E. Randolph Street, Suite 3900
BENICIA, CA 94510-3285                          PHOENIX , AZ 85027-1355                        Chicago, IL 60601-6317



CODY PEPPER
3413 CHINACANDLE CT
                        %$'                     CODY PEPPER
                                                3415 CHINACANDLE CT
                                                                                               COMCAST BUSINESS
                                                                                               PO BOX 60533
N LAS VEGAS, NV 89032                           N LAS VEGAS, NV 89032-7878                     CITY INDUSTRY, CA 91716-0533



CRAIG WEINER, ESQ.                              CRANBROOK REALTY INVESTMENT FUND L.P.          CROSS CAMPUS INC
REENA JAIN, ESQ.                                4701 SISK ROAD                                 929 COLORADO AVE
1251 Avenue of the Americas, 37th Floor         SUITE 101                                      SANTA MONICA, CA 90401-2716
New York, New York 10020-1104                   MODESTO, CA 95356-9320


CRS Commercial Real Estate                      CSE Insurance Group                            CTBC Bank       %$'
1450 Maria Lane, #200                           PO Box 60289                                   Alex Rodela
Walnut Creek, CA 94596-5362                     Los Angeles, CA 90060-0289                     801 S. Figueroa St., Ste 2300,
                                                                                               Los Angeles, CA 90017-5657
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California Choice
PO Box 7088
                                           California Retaining Walls Co.
                                           865 Teal Drive
                                                                                          California Speedway, LLC
                                                                                          Mark R. Owens, Esq.        '83
Orange CA 92863-7088                       Benicia, CA 94510-1249                         Barnes & Thornburg LLP
                                                                                          11 South Meridian Street
                                                                                          Indianapolis, IN 46204-3535

(p)OFFICE OF THE UNITED STATES TRUSTEE     Candace Carlyon
                                                              (&)                         Carpoff, Jeffrey P.       '83
300 BOOTH STREET
SUITE 3009
                         (&)               Clark Hill PLC
                                           3800 Howard Hughes Pkwy, Suite 500
                                                                                          30 Pebble Dunes Ct
                                                                                          Las Vegas, NV 89141-6069
RENO NV 89509-1360                         Las Vegas, NV 89169-5914


Carpoff, Lauren                            Carpoff, Matthew P.      '83                   Carpoff, Paulette L.      '83
315 Summerhill Ln                          84 Carolina Cherry Dr                          30 Pebble Dunes Ct
Martinez, CA 94553-9718                    Las Vegas, NV 89141-6091                       Las Vegas, NV 89141-6069



Cellco Partnership dba Verizon Wireless    Central Florida Expressway Authority           Charge It Spot LLC
William M Vermette                         PO Box 585070                                  111 S Independence Mall E Ste 920
22001 Loudoun County PKWY                  Orlando, FL 32858-5070                         Philadelphia, PA 19106-2549
Ashburn, VA 20147-6122


Charge Point, Inc.                         ChargeIt Mobility   %$'                        ChargePoint, Inc.
c/o Legal Department                       2901 Bayview Dr.                               c/o General Counsel
254 East Hacienda Ave.                     Fremont, CA 94538-6520                         254 E. Hacienda Ave.
Campbell, CA 95008-6617                                                                   Campbell, CA 95008-6617


Chargepoint Inc                            Charles Lomeli, Tax Collector                  Charter Communications    &+1*
Dept LA 24104                              Solano County Treasury                         PO Box 790086
Padadena CA 91185-4104                     675 Texas Street, Suite 1900                   St. Louis, MO 63179-0086
                                           Fairfield, CA 94533-6337


Chip Ganassi Racing     %$'                Chip Ganassi Racing With Felix Sabates, Inc.   Chip Ganassi Racing, LLC
c/o Jim Voyles
Voyles Vaiana
                                           Mark R. Owens, Esq.
                                           Barnes & Thornburg LLP
                                                                       '83                8500 Westmoreland Drive
                                                                                          Concord, NC 28027-7571
141 E. Washington Street, Suite 300        11 South Meridian Street
Indianapolis, Indiana 46204-3676           Indianapolis, IN 46204-3535

Choice Builder                             Christopher Helms    '83                       Christopher Soper              '83
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Orange, CA 92863-7405                      Concord, NC 28027-6279                         Chandler, AZ 85225-8724



Church, Ian B.         '83                 Cintas First Aid                               Cintas Uniforms
125 Near Ct # 706                          PO BOX 631025                                  PO Box 29059
Walnut Creek, CA 94596-5674                CINCINNATI, OH 45263-1025                      Phoenix, AZ 85038-9059



City of Benicia                            City of Buena Park                             City of Martinez
PO Box 398515                              PO Box 5009                                    525 Henrietta St.
San Francisco, CA 94139-8515               Buena Park, CA 90622-5009                      Martinez, CA 94553-2394
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City of Scottsdale                           Clark County Treasurer                  Clark Hill PLC
PO Box 52799                                 500 S Grand Central Pkwy, 1st Floor     Attn: Scott N. Schreiber, Esq.
Phoenix, AZ 85072-2799                       Las Vegas, NV 89155-4502                130 E. Randolph Street
                                                                                     Suite 3900
                                                                                     Chicago, IL 60601-6317

Coast Building Products                      Coast Landscape Management Corp.        Cody Pepper                %$'
PO Box 534446
Atlanta, GA 30353-4446
                                             103 Camino Oruga
                                             Napa, CA 94558-6215
                                                                         %$'         3267 Phantom Rock St.
                                                                                     Las Vegas, NV 89135-2138



Cole, William L.   '83                       Comcast Business           %$'          Concept Services Inc       %$'
117 St Nazaire Ct                            PO Box 34744                            2710 Tam Oshanter Drive
Martinez, CA 94553-7210                      Seattle, WA 98124-1744                  El Dorado Hills CA 95762
                                                                                     Ally Detroit Center
                                                                                     500 Woodward Ave
                                                                                                                '83
                                                                                     Detroit, MI 48226-3416
Contra Costa County Tax Collector            Contra Costa Dept. of Development       Cox Communications
PO Box 7002                                  30 Muir Road                            6205-B Peachtree Dunwoody Road NE
San Francisco, CA 94120-7002                 Martinez, CA 94553-4601                 Atlanta, GA 30328-4524



Cox Communications
PO Box 53248
                          %$'                Cox Communications
                                             PO Box 53262             %$'
                                                                                     Cox Communications
                                                                                     PO Box 79175
Phoenix, AZ 85072-3248                       Phoenix, AZ 85072-3262                  Phoenix, AZ 85062-9175



Cranbrook Realty Investment Fund LP          Cranbrook Realty Investment Fund LP     Crestmark Bank Corp
Amy N. Tirre, Esq.
3715 Lakeside Drive, Suite A
                            (&)              Julie Rome-Banks, Binder & Malter LLP
                                             2775 Park Avenue
                                                                                     Attn: Larry Pearce
                                                                                     5480 Corporate Drive, Suite 350
Reno, NV 89509                               Santa Clara, CA 95050-6004              Troy, MI 48098-2642
Cranbrook Realty Investment Fund LP
Binder & Malter, LLP 89509-5349
DANIEL RAMIREZ
5450 CONCORD BLVD APT P1
                                             DAVID C. NEU
                                             925 FOURTH AVENUE
                                                                                     DC Solar Freedom, Inc.
                                                                                     4901 Park Road
                                                                                                                %$'
CONCORD, CA 94521-2401                       SUITE 2900                              Benicia, CA 94510-1190
                                             SEATTLE, WA 98104-1158


(p)DIRECTV LLC                               DISH                                    DMV
ATTN BANKRUPTCIES                            Box 94063                               PO Box 825393
PO BOX 6550                                  Palatine, IL 60094-4063                 Sacramento CA 94232-5393
GREENWOOD VILLAGE CO 80155-6550


DV VNB Community Renewables Fund III, LLC    DV VNB Community Renewables Fund, LLC   Dan N. Schneringer
c/o Valley National Bank                     c/o Valley National Bank                6 Sunset Way Suite 108
Attn: Ronald H. Janis, Esq.                  Attn: Ronald H. Janis, Esq.             Henderson, NV 89014-2050
1455 Valley Road                             1455 Valley Road
Wayne, NJ 07470-8448                         Wayne, NJ 07470-8448

Dan Schneringer                              Daniel Briggs                           Daniel Briggs   &+1*
1005 Ferry Street #4                         2206 Versailles Ct.                     291 Saddle Run
Martinez, CA 94553-1656                      Henderson, NV 89074-5301                Henderson, NV 89012-2645
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Daniel Ramirez
                            %$'         Daniel Ruiz                %$'            Darlington Raceway of South Carolina,LLC
1591 Ellis Street #118
Concord, CA 94520-2762
                                        322 Shoreline Dr.
                                        Pittsburg, CA 94565-2282
                                                                                  Mark R. Owens, Esq.
                                                                                  Barnes & Thornburg LLP
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                                        11 South Meridian Street
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Dept. of Employment Training & Rehab    Dept. of Employment, Training & Rehab     Desvernine, Kenneth G.    '83
Employment Security Division
500 E Third Street
                                        Employment Security Division
                                        500 East Third Street
                                                                       '83        2640 Carondelet Ct
                                                                                  Concord, CA 94518-3509
Carson City, NV 89713-0002              Carson City, NV 89713-0002


Direct Line Tele Response               Distribution Funding II LLC               Distribution Funding II, LLC    '83
2847 Shattuck Ave                       300 S Orange Ave                          Marita S. Erbeck, Faegre Drinker
Berkeley, CA 94705-1037                 Suite 1110                                600 Campus Drive
                                        Orlando, FL 32801-5400                    Florham Park, NJ 07932-1044

                 '83
Do, Michael A.                          Dog Blue Properties, LLC      %$'         Donald Bailey            %$'
2206 Versailles Ct                      4901 Park Road                            3926 Rocky Point Dr.
Henderson, NV 89074-5301                Benicia, CA 94510-1190                    Antioch, CA 94509-6902



Dora Dog Properties, LLC      %$'       Dudley Ventures          %$'              Duke Energy
200 S. Virginia, 8th Floor              Barb Beaudoin, CFO                        P.O. Box 1004
Reno, NV 89501-2403                     22 E. Jackson Street                      Charlotte NC 28201-1004
                                        Phoenix, AZ 85004-2442


Dwulet & Dwulet                         Dwulet Family Partners                    EBMUD
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Walnut Creek, CA 94596-4521             Walnut Creek, CA 94596-4521               Oakland, CA 94649-0001




                                                                 '83
ECI FUEL SYSTEMS                        ECI Fuel Systems                          ECI Fuel Systems
C/O SCHWARTZER & MCPHERSON LAW FIRM     1794 West 11th Street                     David Mitchell
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LAS VEGAS, NV 89146-5640                                                          Upland, CA 91786-3504


EDCO                                    EFFICIENT ENERGY DISTRIBUTION, INC.       EMEDCO
PO Box 5398                             By and through its Registered Agent       39209 TREASURY CENTER
Buena Park, CA 90622-5398               Patrick Moore                             CHICAGO, IL 60694-9200
                                        5048 Wittenmeger Ct.
                                        Antioch, CA 94531-7810

EMERGING SOLAR TECHNOLOGY LLC           ERIC A. BROWNDORF                   '83   ERICA S. WEISGERBER
by and through its Registered Agent     1125 ATLANTIC AVENUE, THIRD FLOOR         919 THIRD AVE
Thomas Godfrey                          ATLANTIC CITY, NJ 08401-4806              NEW YORK, NY 10022-3902
3 Bristol Drive
Michigan City, IN 46360-1977
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EVAN AHERN
C/O WILLIAM M. NOALL
                          (&)               EVEN BECK COREN
                                            919 NORTH MARKET STREET SUITE 1300
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                                                                                  1098 FOSTER CITY BLVD
GARMAN TURNER GORDON LLP                    WILMINGTON, DE 19801-3092             SUITE 106-806
7251 AMIGO STREET, SUITE 210                                                      FOSTER CITY, CA 94404-2300
LAS VEGAS, NV 89119-4302

EVENTWRIGHT, LLC
By and Through its Registered Agent
                                            EXIDE TECHNOLOGIES
                                            C/O ALLEN J. GUON
                                                                    (&)           EXIDE TECHNOLOGIES
                                                                                  C/O BRETT A. AXELROD
                                                                                                            (&)
Rick Belgarde                               321 N. CLARK STREET, SUITE 800        1980 FESTIVAL PLAZA DR., SUITE 700
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San Francisco, CA 94103-4426

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                                            Reno, NV 89501-1989                   Reno, NV 89501-1989

Elvidge, Ron                                Endres, David W.         %$'          Exide Technologies   (&)
1343 Locust St Ste 204                      501 E N St Spc 28                     Robert M. Fishman
Walnut Creek, CA 94596-4521                 Benicia, CA 94510-3585                Allen J. Guon
                                                                                  Fox Rothschild LLP
                                                                                  321 N. Clark Street, Suite 800
                                                                                  Chicago, IL 60654-4766
Exide Technologies          (&)             FEI INVESTORS I, LLC      (&)         FLORIDA DEPARTMENT OF REVENUE
dba GNB Industrial Power                    c/o Cory Reade Dows and Shafer        5050 W TENNESSEE ST
Allen Guon, Fox Rothschild LLP              1333 North Buffalo Drive, Suite 210   TALLAHASSEE, FL 32399-0125
321 N. Clark St, Suite 1600                 Las Vegas, NV 89128-3636
Chicago, IL 60654-4614

FOLIUM BIOSCIENCES, LLC
C/O Ricardo Calzada II, Registered Agent
                                            FOU DOG PROPERTIES, LLC
                                            c/o Members and Managers
                                                                          '83     Fallbrook Capital Securities
                                                                                  Craig Sheftell
615 Wooten Rd., Suite 100                   Jeffrey and Paulette Carpoff          26610 Agoura Road
Colorado Springs, CO 80915-3523             30 Pebble Dunes Ct.                   Calabasas, California 91302-3823
                                            Las Vegas, NV 89141-6069

Family Security Locksmith                   Fastenal 0579   '83                   Fastenal 0579-0580-Vending
40 Emshee Lane                              PO Box 1286                           PO Box 1286
Martinez, CA 94553-3610                     Winona, MN 55987-7286                 Winona, MN 55987-7286



Fastenal 0580-Vending
Po Box 1286
                          '83               Fastenal Company
                                            2001 Theurer Blvd.
                                                                                  Fastrak
                                                                                  PO Box 26925
Winona, MN 55987-7286                       Winona, MN 55987-9902                 San Francisco, CA 94126-6925



FedEx                                       Felicia Shepard    1509              Fernando Cruz    '83
Dept LA                                     811 Brown St. #A                      118 Sharon Pl
PO BOX 21415                                Martinez, CA 94553-2567               Bay Point CA 94565-1542
PASADENA, CA 91185-1415


Ferrellgas                                  Firstar Development, LLC              Floyd Johnson        &+1*
PO Box 88086                                Jill L. Nicholson, Esq.               15670 W Carmen Drive
Chicago,IL 60680-1086                       Foley & Lardner LLP                   Surprise, AZ 85374-8800
                                            321 N. Clark St., Suite 3000
                                            Chicago, IL 60654-4762
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Floyd Johnson                             Foremost                                   Foremost Insurance
17746 W. Post Dr.                         PO Box 0915                                3249 Mt. Diablo Ct. #211
Surprise, AZ 85388-3112                   Carol Stream, IL 60132-0915                Lafayette, CA 94549-4000



Franchise Tax Board
Bankruptcy Section MS A340
                             '83          Franchise Tax Board
                                          PO Box 942857
                                                                                     Fred’s Floor Coverings
                                                                                     5520 Michigan Blvd.
PO Box 2952                               Sacramento, CA 94257-0501                  Concord, CA 94521-4045
Sacramento CA 95812-2952


GAVIN C. GAUKROGER                        GEICO              %$'                     GEICO Corporation
350 E. LAS OLAS BLVD., SUITE 1000         c/o Chad Golder                            Attn: Jonathan Shafner
FORT LAUDERDALE, FL 33301-4215            Munger Tolles & Olson                      5260 Western Avenue
                                          1155 F Street, NW                          Chevy Chase, MD 20815-3799
                                          Washington, D.C. 20004-1343

GEORGE CUNNINGHAM
C/O LARSON & ZIRZOW, LLC     (&)          GO GREEN STUDIO RENTALS, INC.
                                          By and through its Officers
                                                                                     GREEN ENERGY CONCEPTS, INC.
                                                                                     C/O CONSTANCE L. YOUNG
                                                                                                                   (&)
850 E. BONNEVILLE AVE.                    Matthew Carpoff and Lauren Carpoff         ONE WELLS FARGO CENTER, SUITE 3500
LAS VEGAS, NV 89101-7031                  11920 S. Highlands Parkway, Suite 103      301 SOUTH COLLEGE ST.
                                          Las Vegas, NV 89141-3273                   CHARLOTTE, NC 28202-6000

GREEN ENERGY CONCEPTS, INC.  1509        Gehring III, William J.     '83            Generator Joe, Inc.
C/O ROBERT KINAS                          5509 Southbrook Dr                         Carle, Mackie, Power & Ross, LLP
3883 HOWARD HUGHES PARKWAY, STE 1100      Clayton, CA 94517-1030                     100 B Street, Suite 400
LAS VEGAS, NV 89169-0965                                                             Santa Rosa, CA 95401-6376


Genze Bike Trailer   %$'                  GlassRatner                 '83            Grant, Perry L.      '83
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Fremont, CA 94538-6520                    Suite 900                                  Rio Vista, CA 94571-2278
                                          San Francisco, CA 94104-2117


Graybar Electric Co., Inc.                Great American Insurance Group             Green Energy Concepts, Inc.  (&)
11505 Dublin Blvd.                        301 E 4th Street                           Constance L. Young
Dublin, CA 94568-2854                     Cincinnatti, OH 45202-4245                 Womble Bond Dickinson ? US, LLP
                                                                                     One Wells Fargo Center, Suite 3500
                                                                                     301 S. College Street
                                                                                     Charlotte, NC 28202-6000
Green Energy Concepts, Inc.
Industrial Battery & Charger, Inc.
                                          Green Leaf A/C & Heating
                                          106 Green Pasture
                                                                                     Guile Mosher
                                                                                     2838 McClellan Court         '83
Moretz Law Group                          Hutto, TX 78634-4000                       Martinez, CA 94553-3475
300 McGill Ave NW, Suite 100
Concord, NC 28027-6150

HALO MANAGEMENT SERVICES, LLC             HANCOCK WHITNEY EQUIPMENT FINANCE          HANCOCK WHITNEY EQUIPMENT FINANCE

140 Mason Circle, Suite K    '83
By and through Officer, Peter Rosselli    AND LEASING, LLC
                                          C/O DAIVD F. WAGUESPACK
                                                                      (&)            AND LEASING, LLC
                                                                                     C/O DAIVD F. WAGUESPACK
                                                                                                                (&)
Concord, CA 94520-1260                    ENERGY CENTRE - 1100 POYDRAS ST., STE 31   ENERGY CENTRE-1100 POYDRAS ST, #310
                                          NEW ORLEANS, LA 70163                      NEW ORLEANS, LA 70163

HCI SYSTEMS, INC.                         HEADWAYS HAIR AND DAY SPA, INC.            (p)HERC RENTALS INC
1354 S. PARKSIDE PLACE                    By and through its Officers/Directors      ATTN BANKRUPTCY
ONTARIO CA 91761-4555                     Jeff Carpoff and Paulette Carpoff          27500 RIVERVIEW CENTER BLVD 2ND FLOOR
                                          30 Pebble Dunes Ct.           '83          BONITA SPRINGS FL 34134-4328
                                          Las Vegas, NV 89141-6069
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Halo Management Services               Hancock Whitney Equipment Finance and Leasin   Hanover Insurance Group     %$'
Attn: Michael Stepanian
2905 Lake East Dr., Ste 150
                               %$'     Kaempfer Crowell
                                       Attn: Louis M. Bubala, III
                                                                      (&)             440 Lincoln Street
                                                                                      Worcester, MA 01653-0001
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                                       Reno, NV 89501-1947
Hanover Insurance Group                Harris & Sloan Consulting Engineers, Inc.      Hendrick Automotive Group
PO Box 580045
Charlotte, NC 28258-0045
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                                       Sacramento, CA 95833-4211
                                                                      %$'             7630 Hendrick Auto Plz Nw
                                                                                      Concord, NC 28027-8334



Heritage Bank of Commerce
1990 N California Blvd #100
                                       Heritage Bank of Commerce
                                       Carmen Ponce
                                                                      &+1*            (p)THE HERTZ CORPORATION
                                                                                      8501 WILLIAMS ROAD
Walnut Creek CA 94596-3711             101 Ygnacio Valley Road, Ste 100               ESTERO FL 33928-3325
                                       Walnut Creek, CA 94596-7025


Hireright LLC                          Horan, Michael J.                              Hughes Net
PO Box 847891                          304 S Jones Blvd. #7436                        PO BOX 96874
Dallas, TX 75284-7891                  Las Vegas, NV 89107-2623                       Chicago,IL 60693-6874



ILYSE M HOMER                          INTERNATIONAL SPEEDWAY CORPORATION, ET AL.     ISM CONNECT
1450 BRICKELL AVE., STE 1900
MIAMI, FL 33131-3453
                                       C/O RICK R. HSU
                                       4785 CAUGHLIN PARKWAY
                                                                (&)                   MUSHKIN & COPPEDGE
                                                                                      6070 S EASTERN AVE, STE 270
                                       RENO, NV 89519-0906                            LAS VEGAS, NV 89119-3169


ISM Connect             %$'            Indoor Environmental Services Corp.            Internal Revenue Service
Mushkin Cica Coppedge                  1512 Silica Avenue                             P.O. Box 7346
Attn: Dawn M. Cica, Esq.               Sacramento, CA 95815-3312                      Philadelphia, PA 19101-7346
4495 S. Pecos Rd.
Las Vegas, NV 89121-5083

International Speedway Corp            International Speedway Corporation             International Speedway Corporation
PO Box 2801
Daytona Beach, FL 32120-2801
                                       Mark R. Owens, Esq.
                                       Barnes & Thornburg LLP     '83
                                                                                      Rick R. Hsu
                                                                                      4785 Caughlin Parkway   (&)
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                                       Concord, CA 94520-8465                         Las Vegas, Nevada 89145-5725


JCB CONSULTING, INC.          '83      JEANETTE E. MCPHERSON, ESQ.    (&)             JEFF & PAULETTE CARPOFF
fka J&C CONSULTING, INC.               SCHWARTZER & MCPHERSON LAW FIRM                C/O PARKINSON PHINNEY, LLP
By and through its Registered Agent    2850 S JONES BLVD., STE. 1                     3600 AMERICAN RIVER DR, STE 145
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18301 Von Karman Avenue, Suite 950
Irvine, CA 92612-0190
JEFF CARPOFF
2905 LAKE EAST DR., STE 150
                               %$'     JEFF CARPOFF
                                       C/O SEGAL & ASSOCIATES
                                                                                      JG ENERGY SOLUTIONS LLC
                                                                                      1422 CHALFONT DR
Las Vegas, Nv 89117-2384               400 CAPITOL MALL, SUITE 2550                   SCHAUMBURG, IL 60194-2732
                                       SACRAMENTO, CA 95814-4410
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JQ Yu Construction, Inc.
                           %$'              JULIE E. RAVIS                        Jason Rieger              '83
1089 Shary Circle                           STEVENS & LEE                         5172 Equestrian Way
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                                            READINGS, PA 19601-3501


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PO Box 2036                                 5383 Stonehurst Dr.                   116 Bascom Court
Martinez, CA 94553-0203                     Martinez, CA 94553-9642               Greer, SC 29650-5338



John Teal          '83                      Johnson Jr, Anthony P.                Jonathan Booth
116 Bascom Court                            1100 Farmington Dr Apt 68             PO Box 53
Greet, SC 29650-5338                        Vacaville, CA 95687-6789              Lafayette CA 94549-0053



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Joseph Garrett    '83                       Juan Manuel Garcia                    KATHRYN S. DIEMER
                                                                                                            '83
14610 Freeman Ave.                          2208 Mount Whitney Dr.                55 S MARKET STREET, SUITE 1420
Lawndale CA 90260-1608                      Pittsburg CA 94565-4458               SAN JOSE, CA 95113-2365



KENTUCKY MOTOR SPEEDWAY, LLC                KEYBANK NATIONAL ASSOCIATION          KEYBANK NATIONAL ASSOCIATION
By and through its Registered Agent         C/O HOLLY S. STOBERSKI         (&)    C/O J. COLIN KNISLEY
Matthew Hinton CPA
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                           %$'              DUANE MORRIS LLP
                                            100 NORTH CITY PARKWAY, SUITE 1560
                                                                                  DUANE MORRIS LLP
                                                                                  30 SOUTH 17TH STREET
Owensboro, KY 42301                         LAS VEGAS, NV 89106-4617              PHILADELPHIA, PA 19103-4196

KEYBANK NATIONAL ASSOCIATION                KEYBANK NATIONAL ASSOCIATION          (p)KMH SYSTEMS INC
C/O JONATHAN M. PETRAKIS                    C/O LAWRENCE J. KOTLER                ATTN ACCOUNTS RECEIVABLE
DUANE MORRIS LLP                            DUANE MORRIS LLP                      PO BOX 575
30 SOUTH 17TH STREET                        30 SOUTH 17TH STREET                  MOUNT PROSPECT IL 60056-0575
PHILADELPHIA, PA 19103-4196                 PHILADELPHIA, PA 19103-4196

KMH SYSTEMS, INC.          '83              Kaempfer Crowell                      Kansas Department of Revenue
By and through its Receiver, Sandor Jaco    1980 Festival Plaza Dr Ste 650        PO Box 12005
c/o Adam Phillip Silverman, Esq.            Las Vegas, NV 89135-2958              Topeka, KS 66601-2005
Adelman & Gettleman, Ltd.
53 West Jackson Boulevard, Suite 1050
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Kansas Speedway                             Kansas Speedway Corporation           Karmann, Jordan A.       '83
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Daytona Beach, FL 32120-2801
                                            Mark R. Owens, Esq.
                                            Barnes & Thornburg LLP
                                                                           '83    114 Jeffry Ranch Ct
                                                                                  Clayton, CA 94517-1022
                                            11 South Meridian Street
                                            Indianapolis, IN 46204-3535

Karmann, Robert A.     '83                  Ken Carpoff                           Kennick, David E.        '83
114 Jeffry Ranch Ct                         1901 Yardley Court                    129 Hilltop Dr
Clayton, CA 94517-1022                      Concord, CA 94521-1633                Vallejo, CA 94591-4271
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Kevin Khasigian  '83                        Kevin Khasigian                            Kirk E. Giberson           '83
Eastern District of California, Criminal    Eastern District of California, Criminal   Hefner Stark & Marois
Robert T Matsui United States Courthouse    Robert T. Matsui United States Courthous   2150 River Plaza Drive, Suite 450
501 I Street, Suite 10-100                  501 I Street, Suite 10-100                 Sacramento, CA 95833-4136
Sacramento, CA 95814-7306                   Sacramento, CA 95814-7306

                           '83
Krotov, Vladyslav S.
217 Lucinda Ln
                                            (p)LAW OFFICES OF ARI J LAUER
                                            2125 OAK GROVE ROAD
                                                                                       LOAN OAK FUND, LLC
                                                                                       C/O SIMON ARON
                                                                                                            (&)
Pleasant Hill, CA 94523-4565                SUITE 210                                  WOLF, RIFKIN, SHAPIRO ET AL.
                                            WALNUT CREEK CA 94598-2521                 11400 WEST OLYMPIC BLVD., 9TH FL.
                                                                                       LOS ANGELES, CA 90064-1582

LSV Production Services    %$'              LUMINARY DIFFUSION SYSTEMS, LLC            LV STADIUM EVENTS COMPANY, LLC
628 Middlegate Road                         By and through its Registered Agent        c/o Michael Bernstein, Esq.  '83
Henderson, NV 89011-4618                    Kevin Liske                                Arnold & Porter
                                            10593 Sunblowcr Ave                        601 Massachusetts Ave., NW
                                            Las Vegas, NV 89135-2306                   Washington, DC 20001-5369

LVWD           '83                          Las Vegas Valley Water District            Legacy Framers, Inc.
PO Box 2921                                 PO Box 2921                                980 Garcia Avenue, Suite C
Phoenix, AZ 85062-2921                      Phoenix, AZ 85062-2921                     Pittsburg, CA 94565-5046



Leiw, Yaophuong                             Les Schwab                                 Lester Construction
824 Scaulp Lane                             625 Contra Costa Blvd.                     2515 Gold Run Ct.
Suisun City, CA 94585-2014                  Concord, CA 94523-1514                     Valley Springs, CA 95252-9218




                                                                                                                    %$'
Lexington Insurance Company                 Liberty Mutual Insurance                   Liberty Mutual Insurance
99 High Street                              PO Box 2839                                PO Box 85834
Floor 24                                    New York, NY 10116-2839                    San Diego, CA 92186-5834
Boston, MA 02110-2320


Liberty Utilities                           Lithia of Concord Inc                      Lloyds of London (USA)
California Pacific Electric Co.             PO Box 1647                                42 West 54th Street
PO Box 80374                                Medford, OR 97501-0249                     14th Floor
City of Industry, CA 91716-8374                                                        New York, NY 10019-5405


Lopez, Jonathan           '83               MARTINEZ CLIPPERS BASEBALL CORP.           MARTINEZ EDUCATION FOUNDATION
5660 Rosscommon Way                         By and through its Officers/Directors      Attn: Rochelle Badgley
Antioch, CA 94531-8646                      Jeff Carpoff and Paulette Carpoff          PO Box 933
                                            30 Pebble Dunes Ct.
                                            Las Vegas, NV 89141-6069
                                                                       '83             Martinez, CA 94553-0093


MICHAEL B. NISHIYAMA
                          '83               MICHAEL I. GOLDBERG, ESQ.                  MIKE HUIE
39510 PASEO PADRE PARKWAY, SUITE 300        201 E. Las Olas, Suite 1800                2795 DESERT FOOTHILLS BLVD, APT 317
FREMONT, CA 94538-4741                      Fort Lauderdale, FL 33301-4442             BULLHEAD, AZ 86429-5861



MY CHI                                      Majestic Runway Partners II LLC            Majestic Runway Partners II, LLC
919 THIRD AVE                               13191 Crossroads Parkway                   Michael DiGiacomo
NEW YORK, NY 10022-3902                     Sixth Floor                                1 E. Washington Street, Suite 2300
                                            City of Industry CA 91746-3421             Phoenix, AZ 85004-2555
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Marajo, James J.                       Maricopa County Treasurer               Marieiro, David J.        '83
714 W 2nd St Apt 3                     PO Box 52133                            2609 Star Tree Ct
Antioch, CA 94509-1170                 Phoenix, AZ 85072-2133                  Martinez, CA 94553-4349



Mark Prest         &+1*                Mark Prest                              Mark Scott Construction, Inc.
1907 Winsted Court                     848 Ainsley Place SE                    2835 Contra Costa Blvd.
Charlotte NC 28262-9126                Concord, NC 28025-0065                  Pleasant Hill, CA 94523-4221



Marriott                 %$'           Matthew W. Quall     (&)                Media Temple
10400 Fernwood road                    Matthew R. Dardenne                     8520 National Blvd # A
Bethesda MD 20817-1118                 Quall Cardot LLP                        Culver City, CA 90232-2418
                                       205 East River Park Circle, Suite 110
                                       Fresno, CA 93720-1572

                           '83
                                                                   (&)
Mertz, Rick A.                         MetaBank                                MetaBank
2398 Shady Lane Ave Ext                Dickinson Wright PLLC                   c/o William Novotny
Kannapolis, NC 28081-3012              Attn: Brian R. Irvine                   Dickson Wright PLLC
                                       100 West Liberty Street                 1850 North Central Ave. #1400
                                       Suite 940                               Phoenix, AZ 85004-4568
                                       Reno, NV 89501-1991
Michael James Horan      &+1*          Michael Lawrence    '83                 Michael Newell                 %$'
7436 Rainford Street                   205 W Main Street                       8840 Country Scene Way #202
Las Vegas, NV 89148-1833               Warsaw, KY 41095-9303                   Las Vegas, NV 89117-5556



Michigan Business Tax                  Michigan International Speedway, LLC    Midwest-REA TCF, LLC and CRA TCF 16, LLC
430 W Allegan St
Lansing, MI 48933-1592
                                       Mark R. Owens, Esq.
                                       Barnes & Thornburg LLP      '83
                                                                               c/o Sallie Armstrong, Esq.
                                                                               McDonald Carano LLP            (&)
                                       11 South Meridian Street                100 W. Liberty Street, 10th Floor
                                       Indianapolis, IN 46204-3535             Reno, NV 89501-1989

Mike Huie              %$'             Miracle Method of Contra Costa          Miranda, John             '83
1120 Buchanan Rd.                      Alameda, Inc.                           819 Park Ave Apt 1
Antioch, CA 94509-4221                 5702 Marsh Drive, Suite J               S Pasadena, CA 91030-2775
                                       Pacheco, CA 94553-5646


Montage Services Inc      '83          Montage Services, Inc.     '83          Montage Services, Inc.
41 West Shore Road                     41 West Shore Road                      Scott S. Wentz
Belvedere, CA 94920-2461               Tiburon, CA 94920-2461                  41 West Shore Road
                                                                               Tiburon, CA 94920-2461


Moreno, Christian V.     %$'           Muller, Blake A.    '83                 NASCAR Media Group LLC
4152 Camelback Dr.                     598 Falls Way                           PO Box 2875
Vallejo, CA 94589                      Fairfield, CA 94534-6654                Daytona Beach, FL 32120-2875



NEIL WERTLIEB                          NEVADA SPEEDWAY, LLC                    NEW HAMPSHIRE MOTOR SPEEDWAY, INC.
15332 ANTIOCH STREET, UNIT 802         By and through its Registered Agent     By and through its Registered Agent
PACIFIC PALISADES, CA 90272-3603       The Corporation Trust Company           CT Corporation System
                                       Corporation Trust Center                2 1/2 Beacon Street
                                       1209 Orange Street                      Concord, NH 03301-4447
                                       Wilmington, DE 19801-1196
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NIXON PEABODY LLP                         NORTHWESTERN MUTUAL LIFE INS CO.             NULEAF CAPITAL INVESTORS GROUP LLC
ATTN: DIANE GERARD                        PO BOX 578                                   By and through its Registered Agent
50 JERICHO QUADRANGLE SUITE 300           APPLE VALLEY, CA 92307-0010                  Puoy K. Premsrirut, Esq., Inc.
JERICHO NY 11753-2728                                                                  Attn: Kami DeSavio
                                                                                       520 S Fourth St 2nd FL
                                                                                       Las Vegas, NV 89101-6520
NV Energy                                 NV Energy                                    Napa County - Lake Berryessa RID
6226 W Sahara Ave                         PO Box 30150                                 1195 3rd St. Ste B10
Las Vegas, NV 89146-3060                  Reno, NV 89520-3150                          Napa, CA 94559-3035



Napa County Tax Collector   '83           Napa County Treasurer-Tax Collector          Napa Valley Media           '83
1195 Third St., Ste. 108                  1195 Third St Ste 108                        127 Summerbrooke Circle
Napa, CA 94559-3050                       Napa, CA 94559-3035                          Napa, CA 94558-7022



Napa Valley Media                         National Construction Rentals, Inc.          Native Sons Landscaping, Inc.
Attn: James Raymond                       1300 Business Center Drive                   25 Beta Court, Suite L
127 Summerbrooke Circle                   San Leandro, CA 94577-2242                   San Ramon, CA 94583-1245
Napa, CA 94558-7022


Neal Jacobson     (&)                     NetJet Sales, Inc.                           Network Solutions          %$'
Securities and Exchange Commission        PO Box 933300                                12808 Gran Bay Parkway
New York Regional Office                  Atlanta, GA 31193-3300                       West Jacksonville, FL 32258-4468
Brookfield Place
200 Vesey Street, Suite 400
New York, NY 10281-1004
Nevada Department of Taxation             Nevada Department of Taxation                Nevada Department of Taxation, Bankruptcy Se
Bankruptcy Section
4600 Kietzke Ln
                                          Bankruptcy Section
                                          555 E. Washington Ave., #1300
                                                                                       555 E. Washington Ave., #1300
                                                                                       Las Vegas, NV 89101-1046
                                                                                                                        '83
Suite L-235                               Las Vegas, NV 89101-1046
Reno, NV 89502-5045

Nevada Energy
                  '83                     Nevada Power Company dba NV Energy           Nicholas Esno     '83
PO Box 30150                              Attn: Susana Garcia                          6560 Darby Ave.
Reno, NV 89520-3150                       PO Box 10100                                 Las Vegas, NV 89146-6518
                                          Reno, NV 89520-0024


No Drugs Inc.                             Northwestern Mutual Life Insurance Company   Novogradac & Company LLP       %$'
3225 Seldon Ct                            Shea Larsen, c/o Bart K. Larsen, Esq.        PO Box 7833
Fremont, CA 94539-5625                    1731 Village Center Circle, Suite 150        San Francisco, CA 94120-7833
                                          Las Vegas, NV 89134-0517


O’Reilly Auto Enterprises LLC             OAKHURST GOLF, LLC dba     '83               OFFICE DEPOT
PO Box 9464                               OAKHURST COUNTRY CLUB,                       DEPT 11-6900870236
Springfield, MO 65801-9464                By and Through its Manager CourseCo., In     PO BOX 9001036
                                          Attn: Michael Sharp, Registered Agent        LOUISVILLE, KY 40290-1036
                                          5341 Old Redwood Hwy, Ste 202
                                          Petaluma, CA 94954-7127
OREILLY AUTOMOTIVE STORES INC.            Oakhurst Country Club     '83                Obel, Heidi A.            '83
ATTN: CREDIT                              1001 Peacock Creek Drive                     2271 Yale St
POB 1156                                  Clayton, CA 94517-2201                       Martinez, CA 94553-3361
SPRINGFIELD MO 65801-1156
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Ontario Refrigeration Services Inc.        Orkin Services of California, Inc.         Oscar Jimenez              '83
635 S Mountain Ave                         PO Box 7161                                4051 Calimesa Street
Ontario, CA 91762-4114                     Pasadena, CA 91109-7161                    Las Vegas, NV 89115-2334



P.O. BOX 21415            '83              P.O. BOX 409211          '83               P.O. BOX 631025              '83
PASADENA, CA 91185-1415                    ATLANTA, GA 30384-9211                     CINCINNATI, OH 45263-1025




(p)PACIFIC GAS & ELECTRIC COMPANY          PACIFIC STATES PETROLEUM                   PACIFIC STATES PETROLEUM    &+1*
PO BOX 8329                                C/O CONTINENTAL COMMERCIAL GROUP           C/O CONTINENTAL COMMERCIAL GROUP
STOCKTON CA 95208-0329                     1111 N BRAND BLVD STE 401                  317 S. BRAND BLVD
                                           GLENDALE, CA 91202-3071                    GLENDALE CA 91204-1701


PANDA BEAR INTERNATIONAL, LIMITED          PANDA SOLAR SOLUTIONS, LLC                 PATRICIA M. ADCROFT
By and through its Officer/Director        By and through its Officers/Directors      620 SOUTH TRYON STREET, SUITE 800
Jeff Carpoff
30 Pebble Dunes Ct.
                            '83                                           '83
                                           Jeff Carpoff and Paulette Carpoff
                                           30 Pebble Dunes Ct.
                                                                                      CHARLOTTE, NC 28202-1842

Las Vegas, NV 89141-6069                   Las Vegas, NV 89141-6069

PATRICK MOORE
2810 Lone Tree Way, Suite 8   '83
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                                           2905 LAKE EAST DR., STE 150
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                                                                                      c/o LAW OFFICE OF WILLIAM PORTANOVA
Antioch, CA 94509-4956                     Las Vegas, Nv 89117-2384                   400 CAPITOL MALL #1100
                                                                                      SACRAMENTO, CA 95814-4434


PDM Steel Services Centers Inc             PG&E                                       PLATEPASS LLC
PO Box 740967                              PO Box 997300                              25274 NETWORK PLACE
Los Angeles, CA 90074-0967                 Sacramento, CA 95899-7300                  CHICAGO, IL 60673-1252



PLDSPE LLC
Marita S. Erbeck, Faegre Drinker
                                           PLDSPE LLC
                                           NATALIE EDWARDS, PROLOGIS
                                                                                      PO BOX 650690
                                                                                      DALLAS, TX 75265-0690    '83
600 Campus Drive              '83          1800 WAZEE STREET, SUITE 500
Florham Park, NJ 07932-1044                DENVER CO 80202-2526


PO BOX 9001036
                            '83            PO BOX 936257            '83               PROGRESSIVE CASUALTY INSURANCE
LOUISVILLE, KY 40290-1036                  ATLANTA, GA 31193-6257                     C/O MICHAEL M. PARKER
                                                                                      111 W HOUSTON ST, STE 1800
                                                                                      SAN ANTONIO, TX 78205-1111


PROGRESSIVE CASUALTY INSURANCE
C/O MICHAEL M. PARKER
                                   &+1*    PS Business Parks LP-Southern California
                                           PO Box 849407
                                                                                      Pacific Coast Propane, LLC
                                                                                      PO Box 353
300 CONVENT STREET, SUITE 2100             Los Angeles CA 90084-9407                  Ontario, CA 91762-8353
SAN ANTONIO, TX 78205-3720


Pacific Links International                Pacific Metal Fab, LLC                     Pacific Metal Fabrication LLC
1 Robert Trent Jones Street                c/o Lance LeFever                          311 Chambers Street
Las Vegas, NV 89141-6038                   Thorp, Purdy, Jewett, Urness & Wilk        Eugene, OR 97402-4487
                                           1011 Harlow Road, Suite 300
                                           Springfield, OR 97477-1187
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                                                                 '83                                         %$'
                                %$'
Pacific States Petroleum Inc                Pardee Solar 1 LLC                        Park Road LLC
PO Box 2389                                 Thomas, Alexander, Forrester & Sorensen   4901 Park Road
Pleasant Hill, CA 94523-0089                14 27th Avenue                            Benicia, CA 94510-1190
                                            Venice, CA 90291-4304


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                                                                                      Walnut   Creek, CA 94596-5227


Peoples United Bank, N.A. Peoples United    Perriera, Shannon L.       %$'            Peter Schaaf           '83
Josef Mintz, Blank Rome LLP                 77 Solano Sq # 335                        35 E Lakeview Ave
130 N. 18th Street - One Logan Square       Benicia, CA 94510-2712                    Columbus, OH 43202-1214
Philadelphia, PA 19103-2768


Phoenix Motor Speedway
7602 S Avondale Blvd
                          %$'               Phoenix Speedway, LLC
                                            Mark R. Owens, Esq.        '83
                                                                                      Premier Waste Services Inc.
                                                                                      2454 S 7th Ave
Avondale AZ 85323                           Barnes & Thornburg LLP                    Phoenix, AZ 85007-4314
                                            11 South Meridian Street
                                            Indianapolis, IN 46204-3535

Priscilla Amato     %$'                     Professional Account Management LLC       Progressive Casualty Insurance Company
135 Marie Ave
Martinez CA 94553
                                            PO Box 2182
                                            Milwaukee, WI 53201-2182
                                                                                      c/o Andrew Layden, Esq.
                                                                                      200 S. Orange Avenue, Suite 2300  (&)
                                                                                      Orlando, FL 32801-3455


RB Painting                                 REED SMITH LLP                            RENEWABLE MANAGEMENT SERVICES, INC.
1385 Palm Ave.                              101 SECOND STREET, SUITE 1800             By and through its Officers/Directors
Martinez, CA 94553-2070                     SAN FRANCISCO, CA 94105-3659              Jeff Carpoff and Paulette Carpoff
                                                                                      30 Pebble Dunes Ct.             '83
                                                                                      Las Vegas, NV 89141-6069

RENEWABLE WASTE SOLUTIONS, LLC
By and through its Registered Agent
                                            ROLLIN ALEXANDER MCGHEE
                                            220 UPTOWN WEST DRIVE
                                                                                      RYAN A. WITTHANS
                                                                                      FINESTONE HAYES LLP
                                                                                                                (&)
The Corporation Trust Company               CHARLOTTE, NC 28208-3553                  456 MONTGOMERY ST, FLR 20
Corporation Trust Center                                                              SAN FRANCISCO, CA 94104-1233
1209 Orange Street
Wilmington, DE 19801-1196
Radian Generation LLC
5821 Fairview Road
                                            Radian Generation LLC
                                            c/o Trodella & Lapping LLLP
                                                                                      Reed Smith LLP
                                                                                      PO Box 39000
                                                                                                          %$'
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Charlotte, NC 28209-3649                    San Francisco, CA 94133-4608


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Torrance, CA 90505-4314                     Phoenix, AZ 85062-8829                    Phoenix, AZ 85062-8829



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Trodella & Lapping LLP
540 Pacific Ave.
                                            2306 Reading Hills Ave
                                            Henderson NV 89052-5836
                                                                                      600 E Laburnum Ave
                                                                                      Richmond, VA 23222-2253
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San Francisco, CA 94133-4608
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Richmond International Raceway         Richmond International Speedway, LLC     Ricky Proctor             '83
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                                                                                Gilbert AZ 85298-0628
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                                       Indianapolis, IN 46204-3535

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                                       Rieger, Nichole T.
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                                                                '83             Robert Amato
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4601 W 142nd St.                       521 Boyd Rd.                             1521 Colwood Dr
Hawthorne CA 90250-6834                Pleasant Hill, CA 94523-3210             Petaluma, CA 94954-3713



SANDRA SARKISSIAN, SUCCESSOR TTEE      (p)SCHENKER INC                          SETH FREEMAN
OF THE SAM SARKASSIAN AND SANDRA       ATTN LEGAL COLLECTIONS                   425 CALIFORNIA STREET SUITE 900
SARKASSIAN LIVING TRUST DATED          1305 EXECUTIVE BLVD SUITE 200            SAN FRANCISCO, CA 94104-2117
SEPTEMBER 4, 1997                      CHESAPEAKE VA 23320-3676
7047 Vista Del Mar Ln
Playa Del Rey, CA 90293-7636
SHARON Z. WEISS                        SIRIUS LIGHT TOWERS, LLC                 SKADDEN, ARPS, MEAGHER, SLATE & FLOM LLP
120 BROADWAY, SUITE 300                By and through its Managers              300 S. GRAND AVENUE, SUITE 3400
SANTA MONICA, CA 90401-2386            Jeff Carpoff and Paulette Carpoff        LOS ANGELES, CA 90071-3137
                                       30 Pebble Dunes Ct.
                                       Las Vegas, NV 89141-6069
                                                                  '83

SMA SOLAR TECHNOLOGY AMERICA LLC.      SMI                                      SMISC HOLDINGS, LLC
HUIGIN XY, FINANCE DIRECTOR            Naysan Grey                              By and through its Registered Agent
6020 WEST OAKS BLVD STE 300            Las Vegas Motor Speedway                 CT Corporation System
ROCKLIN CA 95765-5472                  7000 Las Vegas Blvd. N.                  160 Mine Lake Ct, Suite 200
                                       Las Vegas, NV 89115-1708                 Raleigh, NC 27615-6417

SOLARMORE INVESTMENTS, INC.            SOLARSENSE DCS I, LLC                    SOLIGENT DISTRIBUTION LLC
By and through its Officer/Director    C/O ROBERT LAPOWSKY                      1400 N MCDOWELL BLVD., SUITE 201
c/o Patrick Moore
2810 Lone Tree Way, Suite 8
                               '83     620 FREEDOM BUSINESS CENTER, SUITE 200
                                       KING OF PRUSSIA, PA 19406-1330
                                                                                PETALUMA, CA 94954-6553

Antioch, CA 94509-4956

SOLIGENT DISTRIBUTION LLC
1500 VALLEY HOUSE DR           %$'     SOUTH CAROLINA DEPARTMENT OF REVENUE
                                       POB 12265
                                                                                SOUTHERN CALIFORNIA EDISON COMPANY
                                                                                1551 W. SAN BERNARDINO RD
SUITE 210                              COLUMBIA SC 29211-2265                   COVINA CA 91722-3407
ROHNERT PARK, CA 94928-4938


SPARKS POWER INC          %$'          SPARKS POWER INC.                        SPARKS POWER, INC.
110 SW CENTRAL AVE.                    By and through its Registered Agent      14280 WALL RD
AMITE CITY, LA 70422-2711              United States Corporation Agents, Inc.   INDEPENDENCE, LA 70443-2166
                                       1100 Poydras Street, Suite 2900
                                       New Orleans, LA 70163-2900
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SPEEDWAY SONOMA, LLC                        SRP                                    SRP - CUSTOMER CREDIT SERV. ISB232
By and through its Registered Agent         PO Box 80062                           PO BOX 52025
The Corporation Trust Company               Prescott, AZ 86304-8062                PHOENIX, AZ 85072-2025
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801-1196
STATE OF FLORIDA - DEPARTMENT OF REVENUE    SUNTRUST BANK NOW TRUST                SUSTAINABLE CAPITAL FINANCE, INC.
FREDERICK F. RUDZIK, ESQ                    ATTN: WILLIAM KRUEGER                  By and through its Registered Agent
PO BOX 6668                                 401 E. JACKSON STREET SUITE 2000       Dan Holloway
TALLAHASSEE, FL 32314-6668                  TAMPA FL 33602-5248                    99 Almaden Boulevard, Suite 720
                                                                                   San Jose, CA 95113-1605

Sandoval, Lucas      '83                    Saravia, Oscar D.         '83          Schaaf, Peter            '83
2004 Smith Peak Ct                          62 Entrada Cir                         35 E Lakeview Ave
Antioch, CA 94531-8332                      American Cyn, CA 94503-3111            Columbus, OH 43202-1214



Schaer Design                               Schenker Inc      &+1*                 Scottsdale Insurance Company
2200 Adeline St Ste 335                     150 Albany Avenue                      8877 N Gainey Center Drive
Oakland, CA 94607-2321                      Freeport, NY 11520-4702                Scottsdale, AZ 85258-2108



Sean Cutolo         '83                     Sean Macias               '83          Secretary of the Treasury   '83
9623 Grapeland Ave                          908 Estudillo Street                   1500 Pennsylvania Ave NW
Las Vegas NV 89148-4206                     Martinez, CA 94553-1620                Washington, DC 20220-0001



Secretary of the Treasury                   Securities and Exchange Commission     Securities and Exchange Commission
1500 Pennsylvania Ave. NW
Washington, D.C. 20220-0001
                                            Los Angeles Regional Office
                                            444 South Flower Street
                                                                           '83     Los Angeles Regional Office
                                                                                   444 South Flower Street, Suite 900
                                            Suite 900                              Los Angeles, California 90071-2934
                                            Los Angeles, CA 90071-2934

Shadd A. Wade, Esq.                         Shaun Rang     %$'                     Sherwin Williams
ZBS Law, LLP                                861 Ruth Dr.                           1241 Diamond Way
9435 West Russell Road, Suite 120           Pleasant Hill, CA 94523-1939           Concord, CA 94520-5209
Las Vegas, Nevada 89148-5608


Simon Teed                    '83           Snap On Tools                          Social Security Administration
1145 N. Hight Street #703                   2203 Center Avenue                     Office of the REgional Chief Counsel
Columbus, OH 43201-2488                     Martinez, CA 94553-5408                Region IX
                                                                                   160 spear St, Ste 800
                                                                                   San Francisco, CA 94105-1545

                                                                                                                               3
Social Security Administration
Office of the Regional Chief Counsel, Re
                                            Solano County Dept of Resource Mgmt
                                            675 Texas Street
                                                                                   Solar Eclipse Fund Holding IX, LLC
                                                                                   c/o Lisa Schweitzer                    '8
160 Spear Street, Suite 800    '83          Suite 5500                             Cleary Gottlieb Steen & Hamilton LLP
San Francisco, CA 94105-1545                Fairfield, CA 94533-6341               One Liberty Plaza
                                                                                   New York, NY 10006-1404

Solar Eclipse Fund IX, LLC    (&)           Solar Eclipse Fund IX, LLC             Solar Eclipse Inv Fund X LLC; -XV; -XXII
c/o James Patrick Shea & Bart K. Larsen
Kolesar & Leatham
                                            c/o Lisa Schweitzer
                                            Cleary Gottlieb Steen & Hamilton LLP
                                                                                   Steven Thomas
                                                                                   14 27th Avenue            '83
400 South Rampart Blvd., Suite 400          One Liberty Plaza                      Venice, CA 90291-4304
Las Vegas, NV 89145-5725                    New York, NY 10006-1404
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Solar Eclipse Inv Fund XXVI -XXX -XXXIV     Solar Eclipse Investment Fund III, LLC       Solar Eclipse Investment Fund IV
Gonzalo Dorta         '83                   Steven W. Thomas, Esq.
                                                                    '83                  4901 Park Road          %$'
334 Minorca Avenue                          14 27th Avenue                               Benicia, CA 94510-1190
Miami, FL 33134-4304                        Venice, CA 90291-4304


Solar Eclipse Investment Fund VII           Solar Eclipse Investment Fund VII, LLC and   Solar Eclipse Investment Fund VIII
4901 Park Road            %$'               Solar Eclipse Investment Fund XIV, LLC       4901 Park Road            %$'
Benicia, CA 94510-1190                      c/o Curtis C. Jung, Manager          '83     Benicia, CA 94510-1190
                                            888 S. Figueroa Street, Suite 720
                                            Los Angeles, CA 90017-5306

Solar Eclipse Investment Fund VIII, LLC     Solar Eclipse Investment Fund XII            Solar Eclipse Investment Fund XIV
c/o Curtis C. Jung
Jung & Yuen
                    '83                     4901 Park Road
                                            Benicia, CA 94510-1190
                                                                    %$'                  4901 Park Road
                                                                                         Benicia, CA 94510-1190
                                                                                                                   %$'
888 S. Figueroa Street, Suite 720
Los Angeles, CA 90017-5306

Solar Eclipse Investment Fund XVI           Solar Eclipse Investment Fund XVII, LLC      Solar Eclipse Investment Fund XVIII
                       %$'                                                                                         %$'
                                                                 '83
4901 Park Road                              Thomas, Alexander, Forrester & Sorensen      4901 Park Road
Benicia, CA 94510-1190                      14 27th Avenue                               Benicia, CA 94510-1190
                                            Venice, CA 90291-4304


Solar Eclipse Investment Fund XVIII, LLC    Solar Eclipse Investment Fund XX, LLC        Solar Eclipse Investment Fund XXII
Steven Thomas
Thomas, Alexander, Forrester & Sorensen
                                            c/o Renewable Energy Alternatives, LLC
                                            P.O. Box 639
                                                                                         4901 Park Road
                                                                                         Benicia, CA 94510-1190
                                                                                                                 %$'
14 27th Avenue         '83                  Dexter, MO 63841-0639
Venice, CA 90291-4304

Solar Eclipse Investment Fund XXIII         Solar Eclipse Investment Fund XXIX           Solar Eclipse Investment Fund XXVI
4901 Park Road
Benicia, CA 94510-1190
                          %$'               4901 Park Road
                                            Benicia, CA 94510-1190
                                                                       %$'               4901 Park Road
                                                                                         Benicia, CA 94510-1190
                                                                                                                    %$'


                                                                                                                    %$'
Solar Eclipse Investment Fund XXVII         Solar Eclipse Investment Fund XXVII, LLC     Solar Eclipse Investment Fund XXX
4901 Park Road
Benicia, CA 94510-1190
                          %$'               c/o Curtis C. Jung
                                            Jung & Yuen, LLP
                                                                                         4901 Park Road
                                                                                         Benicia, CA 94510-1190
                                            888 S. Figueroa Street, Suite 720
                                            Los Angeles, CA 90017-5306

Solar Eclipse Investment Fund XXX II        Solar Eclipse Investment Fund XXX III        Solar Eclipse Investment Fund XXXII, LLC
4901 Park Road            %$'               4901 Park Road           %$'                 c/o Curtis C. Jung    '83
Benicia, CA 94510-1190                      Benicia, CA 94510-1190                       Jung & Yuen, LLP
                                                                                         888 S. Figueroa Street, Suite 720
                                                                                         Los Angeles, CA 90017-5306

Solar Eclipse Investment Fund XXXIV         Solar Eclipse Investment Fund XXXV, LLC      Solar Eclipse Investment Funds VI, XII, and
4901 Park Road           %$'                c/o Curtis C. Jung, Manager  '83             Steven Thomas     '83
Benicia, CA 94510-1190                      Jung & Yuen, LLP                             Thomas, Alexander, Forrester & Sorrenson
                                            888 S. Figueroa Street, Suite 720            14 27th Avenue
                                            Los Angeles, CA 90017-5306                   Venice, CA 90291-4304

Solarmore Management Services, Inc.         South Tahoe Public Utility                   South Tahoe Refuse
Snell & Wilmer, LLP                         1275 Meadow Crest Drive                      2140 Ruth Ave
Attn: Nathan G. Kanute, Esq.(&)             South Lake Tahoe, CA 96150-7401              South Lake Tahoe, CA 96150-4357
50 West Liberty Street
Suite 510
Reno, NV 89501-1961
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Southern California Edison                   Southern Nevada Pest Control                  Southwest Gas Corporation
PO Box 300                                   4301 Production Way                           Attn: Bankruptcy Desk
Rosmead, CA 91770-0300                       Las Vegas, NV 89115-0183                      P.O. Box 1498
                                                                                           Victorville, CA 92393-1498


Sparks Power Inc        %$'                  Spray Net USA       %$'                       Stanford, Charles L.      '83
PO Box 1048                                  37105 Galileo Lane                            431 Gonzaga Ave
Independence, LA 70443-1048                  Murrieta, CA 92563-2828                       Vallejo, CA 94589-2138



Star Coach Race Tours LLC                    Stat Med Urgent Care                          Steve Thompson
4010 Albritton Road                          839 Cowan Rd                                  204 Sheldon Lake Dr.
St. Cloud FL 34772-7730                      Burlingame, CA 94010-1204                     Georgetown, TX 78633-5453



Steven Sanderson        '83                  Steven, Ferrone & Bailey Engineering Co.      Stillwater Insurance Company
                                                                                                                           %$'
2310 N Crest Ave.                            PO Box 815                                    PO Box 45123
Martinez, CA 94553-2813                      Concord, CA 94522-0815                        Jacksonville, FL 32232-5123



Stillwater Insurance Company                 Strafella, Richard J.    '83                  Strickland, Brian R.      '83
PO Box 45126                                 2306 Reading Hills Ave                        1556 Beechwood Dr
Jacksonville, FL 32232-5126                  Henderson, NV 89052-5836                      Martinez, CA 94553-5304



Suburban Propane LP                          Sun Trust Equipment Finance & Leasing Corp.   SunTrust Equipment Finance & Leasing Corp.
PO Box 12027
Fresno, CA 93776-2027
                                             Gordon & Rees LLP
                                             Attn: Megan Adeyemo
                                                                      (&)                  Jeffrey R. Dutson - King & Spalding LLP
                                                                                           1180 Peachtree Street NE
                                             555 Seventeenth Street, Suite 3400            Atlanta, GA 30309-3531
                                             Denver, CO 80202-3937

Sunbelt Rentals                              Suntrust Equipment Finance & Leasing Corp     Suntrust Equipment Finance & Leasing Corp
PO BOX 409211                                PO BOX 4418                                   PO BOX 79194
ATLANTA, GA 30384-9211                       Atlanta, GA 30302-4418                        Baltimore, MD 21279-0194



Superior Court of California, Napa County    Synter Resource Group LLC                     T Mobile/T-Mobile USA Inc
1111 Third St                                5935 Rivers Ave Ste 102                       by American InfoSource as agent
Napa, CA 94559-3001                          N Charleston, SC 29406-6071                   4515 N. Santa Fe Ave
                                                                                           Oklahoma City, OK 73118-7901


T Mobile/T-Mobile USA Inc                    TAMMY MORRIS                                  TEMPE CHRYSLER JEEP DODGE RAM
by American InfoSource as agent              3668 HOWE ROAD                                7975 S AUTOPLEX LOOP RD
PO Box 248848                                FILMORE, CA 93015-9722                        TEMPE, AZ 85284-1023
Oklahoma City, OK 73124-8848


TERROIR WINERY FUND, L.P.,                   TERSUDA, LLC
                                                                      '83                  TEXAS MOTOR SPEEDWAY, INC
by and through its Registered Agent          By and through its Registered Agent,          By and through its Registered Agent
CORPORATION SERVICE COMPANY
251 LITTLE FALLS DRIVE
                                             Hendrix Investment Group, LLC
                                             Attn: Alisha Hendrix
                                                                                           Lewis Smith
                                                                                           5135 North Freeway        %$'
WILMINGTON, DE 19808-1674                    7135 W Ann Rd, Ste 120                        Houston, TX 77022-1736
                                             Las Vegas, NV 89130-3871
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TOWBIN DODGE RAM                            TPX Communications                         TRACY M. O’STEEN       (&)
275 AUTOMALL DRIVE                          PO Box 509013                              CARLYON CICA CHTD.
HENDERSON, NV 89014-6707                    San Diego, CA 92150-9013                   265 E. WARM SPRINGS STE 107
                                                                                       LAS VEGAS, NV 89119-4230


TRENT ECHARD                                Talladega Superspeedway                    Talladega Superspeedway, LLC
4773 WILLIAM FLYNN HIGHWAY
ALLISON PARK, PA 15101-2401
                                            PO Box 2801
                                            Daytona Beach, FL 32120-2801
                                                                                       Mark R. Owens, Esq.
                                                                                       Barnes & Thornburg LLP
                                                                                                                '83
                                                                                       11 South Meridian Street
                                                                                       Indianapolis, IN 46204-3535

Tamra Hardin               %$'              Tara Farnsworth                            Terrell Battery Corp
90 Windhover Way Unit B                     1934 E Camelback Road, Suite 120-493       PO Box 21365
Martinez CA 94553                           Phoenix, AZ 85016-4126                     Phoenix, AZ 85036-1365



Tesla Solar                                 Texas Workforce Commission                 The Boulders Casitas Condo Assoc.
PO Box 3500                                 Regulatory Integrity Division              PO Box 105260
Draper, UT 84020-3500                       Erin C. Reid, Accounts Examiner IV         Atlanta, GA 30348-5260
                                            Special Actions Unit
                                            101 E. 15th Street, Room 556

                                                                                                         (&)
                                            Austin, TX 78778-0001
The Hartford                                The Sherwin-Williams Company               Therese Scheuer
PO Box 660916                               c/o Rew R. Goodenow        (&)             Securities and Exchange Commission
Dallas, TX 75266-0916                       Parsons Behle & Latimer                    New York Regional Office
                                            50 W. Liberty St., Suite 750               Brookfield Place
                                            Reno, NV 89501-1970                        200 Vesey Street, Suite 400
                                                                                       New York, NY 10281-1004
Timothy A. Lukas, Esq.    (&)               Todd Rasmussen             %$'             Todd Rothbard
HOLLAND & HART LLP                          1224 Deerpark Dr. #44                      100 Saratoga Avenue #200
5441 Kietzke Lane, Second Floor             Fullerton, CA 92831-2245                   Santa Clara CA 95051-7337
Reno, Nevada 89511-2094


Total Quality Logistics, LLC                Toyota Industries Commercial Finance Inc   Toyota Industries Commercial Finance, Inc.
Attn: Joseph B. Wells, Asst. Corp. Couns    PO Box 660926                              Charles S. Stahl, Jr.
4289 Ivy Pointe Blvd.                       Dallas, TX 75266-0926                      Swanson, Martin & Bell, LLP
Cincinnati, OH 45245-0002                                                              2525 Cabot Drive, Suite 204
                                                                                       Lisle, IL 60532-3628

Toyota Material Handling                    Tracy M. O?Steen  (&)                      Trans Lease Inc
David Mills                                 Clark Hill PLC                             PO Box 172686
PO Box 660926                               3800 Howard Hughes Pkwy, Suite 500         Denver CO 80217-2686
Dallas, TX 75266-0926                       Las Vegas, NV 89169-5914


Translease, Inc.                            Travelers Personal Insurance               Tutt’s Truck Outfitters Inc
Justin Montgomery                           PO Box 660307                              2691 East Leland Road
1400 W 62nd Avenue                          Dallas, TX 75266-0307                      Pittsburg, CA 94565-5106
Denver, CO 80221-2400


ULINE Inc
PO Box 88741
                                            UNITED BANK
                                            C/O BLANK ROME LLP
                                                                 '83                   UNITED FINANCIAL BANCORP, INC.
                                                                                       C/O BLANK ROME LLP
Chicago, IL 60680-1741                      ONE LOGAN SQUARE                           ONE LOGAN SQUARE
                                            130 NORTH 18TH STREET                      130 NORTH 18TH STREET
                                            PHILADELPHIA, PA 19103-2768                PHILADELPHIA, PA 19103-2768
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UNITED RENTALS
4533 ANDREWS ST SUITE A      '83            UNITED RENTALS, INC.
                                            6125 LAKEVIEW ROAD #300
                                                                                     UNITED RENTALS, INC.
                                                                                     CYNTHIA HUDDLESTON
N LAS VEGAS, NV 89081-2708                  CHARLOTTE, NC 28269-2616                 10330 DAVID TAYLOR DR
                                                                                     CHARLOTTE NC 28262-2334


UNITED RENTALS, INC.       &+1*             UPS Freight Inc                          US Tower Corp.
CYNTHIA HUDDLESTON                          PO BOX 650690                            1099 West Ropes Ave.
6125 LAKEVIEW ROAD #300                     DALLAS, TX 75265-0690                    Woodlake, CA 93286-1806
CHARLOTTE, NC 28269-2616


USB DC SOLAR FUND I, LLC                    USB DC SOLAR FUND II, LLC                USLI
By and through its Officer/Director         By and through its Officer/Director      3160 Crow Canyon Road
Jeffrey Carpoff
30 Pebble Dunes Ct.
                           '83              Jeffrey Carpoff
                                            30 Pebble Dunes Ct.
                                                                        '83          Suite 330
                                                                                     San Ramon, CA 94583-1159
Las Vegas, NV 89141-6069                    Las Vegas, NV 89141-6069

Uline Shipping Supplies                     United Parcel Service                    United States Attorney        %$'
12575 Uline Drive                           28013 Network Pl                         100 W. Liberty Street #600
Pleasant Prairie, WI 53158-3686             Chicago, IL 60673-1280                   Reno, NV 89501-1930



United States Attorney’s Office             United States Trustee      (&)           United States of America     (&)
ATTN: Civil Process Clerk                   300 Las Vegas Blvd South #4300           Greg Addington, Assistant U.S. Attorney
501 Las Vegas Blvd. South, Suite 1100       Las Vegas, NV 89101-5803                 Bruce R. Thompson Federal Courthouse and
Las Vegas, NV 89101-6521                                                             400 South Virginia Street, Suite 900
                                                                                     Reno, NV 89501-2121

                                                                                                                   (&)
                                                                        %$'
Upper Valley Disposal & Recycling           VALLEY NATIONAL BANK                     VALLEY NATIONAL BANK
PO Box 45091                                C/O CHRISTOPHER J. FONG                  C/O JEANETTE E. MCPHERSON
San Francisco, CA 94145-0091                55 WEST 46TH STREET                      SCHWARTZER & MCPHERSON LAW FIRM
                                            NEW YORK, NY 10036-4276                  2850 S. JONES BLVD., SUITE 1
                                                                                     LAS VEGAS, NV 89146-5640

VAN C. DURRER II      (&)                   Van C. Durrer, II       (&)              Verducci Event Productions
SKADDEN, ARPS, SLATE, MEAGHER & FLOM        Skadden Arps, Slate, Meagher             2824 8th St.
300 S. GRAND AVE., STE. 3400                & Flom LLP & Affiliates                  Berkeley, CA 94710-2707
LOS ANGELES, CA 90071-3137                  300 South Grand Avenue
                                            Los Angeles, CA 90071-3109

Verizon Wireless                            Vintage Valley                           Virginia Department of Taxation
PO Box 660108                               11411 Southern Highlands Pkwy, Ste 120   1957 Westmoreland St
Dallas, TX 75266-0108                       Las Vegas, NV 89141-3266                 Richmond, VA 23230-3225



W. DONALD GIESEKE     (&)                   WB PHOTOGRAPHY                           WEX Fleet
18124 WEDGE PKWY                            2190 BROOKWOOD AVENUE                    PO Box 6293
STE 518                                     SANTA ROSA, CA 95404-7018                Carol Stream, IL 60197-6293
RENO, NV 89511-8134


WHOLE HEMP COMPANY, LLC
C/O Ricardo Calzada II, Registered Agent
                                            WILLIAM P. RUBLEY
                                            1415 MARLTON PIKE EAST
                                                                         '83         WaterLogic USA Inc.
                                                                                     PO Box 31001-2417
615 Wooten Rd., Suite 100                   CHERRY HILL PLAZE, STE 205               Pasadena, CA 91110-2417
Colorado Springs, CO 80915-3523             CHERRY HILL, NJ 08034-2210
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Wei Neng Huang                                      Wei-Lun Huang                                        West Unified Communications
15437 Jutland Street                                1473 Morton Ave                                      PO Box 281866
San Leandro, CA 94579-2224                          Los Altos, CA 94024-6828                             Atlanta, GA 30384-1866



Western State Petroleum Inc                         Wilde, Steven R.        '83                          William Anderson      '83
450 S 15th Ave                                      127 Macklin Dr                                       615 D Street
Phoenix AZ 85007-3398                               Cotati, CA 94931-5382                                Martinez CA 94553-3205



William Novotny         '83                         Williamson County Tax Office                         Xtreme Manufacturing LLC
Dickson Wright PLLC                                 904 S. Main St.                                      8350 Eastgate Rd.
1850 North Central Avenue                           Georgetown, TX 78626-5829                            Henderson, NV 89015-0104
Suite 1400
Phoenix, AZ 85004-4568

Zach Christman               '83                    Zalanta                  '83                         Zalanta Association
21891 Constancia                                    PO Box 105007                                        PO Box 105007
Mission Viejo, CA 92692-1017                        Atlanta, GA 30348-5007                               Atlanta, GA 30348-5007




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Alabama Department of Revenue                       Cameron M. Gulden                                    DIRECTV LLC
50 N Ripley St                                      Office of the U.S. Trustee                           ATTN BANKRUPTCIES
Montgomery, AL 36130-1001                           300 Booth Street, #3009                              PO BOX 6550
                                                    Reno, NV 89101                                       GREENWOOD VILLAGE CO 80155-6550
                                                    Edward M. McDonald
                                                    Office of the U.S. Trustee
(d)Direct TV                                        HERC RENTALS INC                                     Hertz
PO Box 6550                                         ATTN BANKRUPTCY                                      8501 Williams Road
GreenWood Village, CO 80155                         27500 RIVERVIEW CENTER BLVD                          Estero, FL 33928
                                                    2ND FLOOR
                                                    BONITA SPRINGS FL 34134-4328

KMH SYSTEMS INC                                     (d)KMH Systems, Inc.                                 (d)KMH Systems, Inc.
ATTN ACCOUNTS RECEIVABLE                            6900 Poe Avenue                                      PO Box 575
PO BOX 575                                          Dayton, OH 45414                                     Mount Prospect, IL 60056
MOUNT PROSPECT IL 60056-0575


LAW OFFICES OF ARI J LAUER                          PACIFIC GAS & ELECTRIC COMPANY                       (d)PG&E
2125 OAK GROVE ROAD                                 PO BOX 8329                                          P O BOX 8329
SUITE 210                                           STOCKTON CA 95208-0329                               C/O BANKRUPTCY/C2HX
WALNUT CREEK CA 94598-2521                                                                               STOCKTON, CA 95208


(d)PG&E                                              SCHENKER INC                                        (d)Schenker, Inc.
P O BOX 8329                                         ATTN LEGAL COLLECTIONS                              Attn. Carline Dewey
C/O BANKRUPTCY/C2HX                                  1305 EXECUTIVE BLVD SUITE 200                       1305 Executive Blvd., Suite 200
STOCKTON, CA 95208                                   CHESAPEAKE VA 23320-3676                            Chesapeake, VA 23320
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(d)THE HERTZ CORPORATION
8501 WILLIAMS ROAD
ESTERO FL 33928-3325




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)ADHI-SOLAR, LLC                                  (u)AMAC CONSTRUCTION AND RESTORATION                 (u)BAY AREA DRAINAGE, INC.




(u)BAYLISS INNOVATIVE SOLUTIONS, INC.               (u)BENICIA INDUSTRIAL PARK, LLC                      (u)BENICIA INVESTMENT, LLC




(u)CA GLOBAL PARTNERS, INC.                         (u)CHIP GANASSI RACING LLC                           (u)CHIP GANASSI RACING WITH FELIX SABATES, IN




(u)CTBC BANK CORP. (USA)                            (u)DFA, LLC                                          (u)EAST WEST BANK




(u)EVANS, NELSON & COMPANY, CPA’S                   (u)FALLBROOK CAPITAL SECURITIES                      (u)KEYBANK NATIONAL ASSOCIATION
                                                                                                         c/o Duane Morris LLP




(u)KING SOLARMAN (INDION) FUND I, LLC               (u)KING SOLARMAN (INDION) FUND II, LLC               (u)KING SOLARMAN, INC.
NA, NA 0                                            NA, NA 0                                             NA, NA 0




(u)MAJESTIC RUNWAY PARTNERS II, LLC                 (u)MARTINEZ EDUCATION FOUNDATION                     (u)METABANK
                                                                                                         DICKINSON WRIGHT PLLC
                                                                                                         100 W LIBERTY, STE 940
                                                                                                         RENO


(u)Nevada Speedway, LLC                              (u)PROGRESSIVE CASUALTY INSURANCE COMPANY           (u)SOLAR ECLIPSE FUND IX, LLC
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(u)SOLAR ECLIPSE INVESTMENT FUND XXVI, XXVIII    (u)SUSTAINABLE CAPITAL FINANCE         (u)TIMOTHY NELSON, CPA




(u)U.S. TOWER CORP.                              (u)WINSHESTER CONSULTING GROUP, LLC    (u)1098 FOSTER CITY BLVD
                                                                                        SUITE 106-806




(u)2200 ADELINE STREET #335                      (u)4555 E. ELWOOD STREET               (d)A Valdivia Landscaping
                                                 SUITE 105                              1115 Juniper Ave.
                                                                                        South Lake Tahoe, CA 96150-8122



(d)ABS National Auto Services Inc                (d)ACE                                 (d)ADHI-Solar, LLC
9000 Executive Park Drive                        436 Walnut Street                      c/o Sallie Armstrong, Esq.
Suite A-115                                      Philadelphia, PA 19106-3703            McDonald Carano LLP
Knoxville, TN 37923-4653                                                                100 W. Liberty Street, 10th Floor
                                                                                        Reno, NV 89501-1989

(d)ALHAMBRA SIERRA SPRINGS                       (u)ALLSTATE FIRE EQUIPMENT             (d)ALLY BANK
PO BOX 660579                                    5040 SOBB AVENUE                       C/O RICK R. HSU
DALLAS, TX 75266-0579                                                                   4785 CAUGHLIN PARKWAY
                                                                                        RENO, NV 89519-0906


(d)ALLY BANK                                     (d)AMAC Construction and Restoration   (u)APPLE VALLEY, CA 92307
PO BOX 130424                                    Horner Law Group, P.C.
ROSEVILLE, MN 55113-0004                         800 S. Broadway
                                                 Suite 200
                                                 Walnut Creek, CA 94596-5227

(d)ARIZONA DEPT OF REVENUE                       (d)ASI Lloyds                          (d)AT&T
1600 WEST MONROE STREET                          PO Box 33018                           c/o Bankruptcy
PHOENIX, AZ 85007-2650                           Saint Petersburg, FL 33733-8018        4331 Communications Dr., Floor 4W
                                                                                        Dallas, TX 75211-1300


(u)AT&T UVERSE - BUENA PARK                      (u)ATLANTA, GA 30384-1866              (d)Advanced Voice & Data Inc
PO BOX 5014                                                                             1300 Galaxy Way
                                                                                        Suite 21
                                                                                        Concord CA 94520-4964


(d)Ahern Rentals, Inc.                           (d)Alexander & Associates              (d)AmTrust North America Inc
PO Box 271390                                    147 Old Bernal Ave., Suite 20          PO Box 6939
Las Vegas, NV 89127-1390                         Pleasanton, CA 94566-7013              Cleveland, OH 44101-1939



(d)Americrown Daytona Speedway                   (d)Andrew Raber                        (d)Antara Ltd
1800 West International Speedway                 2546 Alabaster Avenue                  Jerry Sprecher
Po Box 2801                                      Orlando, FL 32833-4309                 11155 Pentland Downs Street
Daytona, FL 32114-1216                                                                  Las Vegas, NV 89141-4361
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(d)Anthony Brunson                     (d)B.H. CAPTIAL VENTURES, LLC                   (u)B.H. Capital Ventures, LLC
2025 S 84th Avenue                     C/O SAMUEL SCHWARTZ                             Brownstein Hyatt Farber Schreck, LLP
Tolleson, AZ 85353-8924                BROWNSTEIN HYATT..                              Attn: Samuel A. Schwartz, Esq.
                                       100 N CITY PKWY, STE 1600                       Attn: Connor H. Shea, Esq.
                                       LAS VEGAS, NV 89106-4614                        100 North City Parkway
                                                                                       Suite 1600
(u)BAY ALARM COMPANY                   (d)BEI Construction Inc                         (d)BENICIA INDUSTRIAL PARK, LLC
                                       1101 Marina Village Parkway                     C/O MATTHEW C. ZIRZOW
                                       Suite 100                                       LARSON & ZIRZOW, LLC
                                       Alameda CA 94501-6475                           850 E. BONNEVILLE AVE.
                                                                                       LAS VEGAS, NV 89101-7031

(d)BENICIA INVESTMENT, LLC             (u)BERKELEY, CA 94710                           (u)BERWYN, PA 19312
C/O MATTHEW C. ZIRZOW
LARSON & ZIRZOW, LLC
850 E. BONNEVILLE AVE.
LAS VEGAS, NV 89101-7031

(u)BIG LIFT MATERIAL HANDLING          (d)BPXpress                                     (d)BRETT STUBBS
1315 E GIBSON LANE                     4740 E. 2nd St., Ste. #29                       3104 MARSALA DRIVE
BUILDING E-2                           Benicia, CA 94510-1024                          PITTSBURG CA 94565-7993



(d)Barry Hacker                        (d)Bay Area Drainage, Inc.                      (d)Bayliss Innovative Services Inc
c/o Adam Schwartz                      86 Buckingham Drive                             2873 Richard Court
Homer Bonner                           Moraga, CA 94556-2407                           Concord, CA 94520-5515
330 South Rampart Boulevard, #360
Las Vegas, NV 89145-5754

(d)Bayliss Innovative Services Inc     (d)Benicia Investment LLC                       (d)Boulder Exterminators, Inc.
825 Westview Court                     Benicia Industrial LLC                          PO Box 17000
Martinez, CA 94553-3372                c/o Kirk Giberson - Hefner Law                  South Lake Tahoe, CA 96151-7000
                                       2150 River Plaza Drive, Suite 450
                                       Sacramento, CA 95833-4136

(d)Brandon Spencer                     (d)Burns & Wilcox                               (d)CA Construction
2407 W. Darrow St.                     101 California Street                           127 DeNormandie Way
Phoenix, AZ 85041-6420                 Suite 975                                       Martinez, CA 94553-3006
                                       San Francisco, CA 94111-5839


(d)CAL PROCESS SERVERS                 (u)CALABASAS, CA 91302-3823                     (u)CALIFORNIA DEPARTMENT OF TAX AND FEE ADMIN
14271 JEFFREY ROAD, #308                                                               PO BOX 942879
IRVINE, CA 92620-3405



(u)CAROL STREAM, IL 60197-5014         (u)CARSON CITY, NV 89706                        (d)CHARLOTTE MOTOR SPEEDWAY LLC
                                                                                       5555 CONCORD PARKWAY SOUTH
                                                                                       CONCORD, NC 28027-4600



(d)CHARLOTTE MOTOR SPEEDWAY, LLC       (d)CHIP GANASSI RACING WITH FELIX SABATES, IN   (d)CHRISTOPHER J. FONG, ESQ.
C/O KIAH T. FORD IV                    C/O RICK R. HSU                                 NIXON PEABODY LLP
401 SOUTH TRYON ST., SUITE 3000        4785 CAUGHLIN PARKWAY                           55 WEST 46TH ST.
CHARLOTTE, NC 28202-1942               RENO, NV 89519-0906                             NEW YORK, NY 10036-4277
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(u)CINTAS FIRST AID                           (d)CITY OF BENICIA                             (d)CITY WIDE PEST CONTROL INC
                                              250 EAST L STREET                              22405 N 18TH DRIVE
                                              BENICIA, CA 94510-3285                         PHOENIX, AZ 85027-1355



(d)CLARK HILL PLC                             (u)CORNELIUS, NC 28031                         (d)CRANBROOK REALTY INVESTMENT FUND LP
130 E. Randolph Street, Suite 3900                                                           C/O LAW OFFICES OF AMY N TIRRE, APC
Chicago, IL 60601-6317                                                                       3715 LAKESIDE DR, STE A
                                                                                             RENO, NV 89509-5349


(u)CROSS CAMPUS INC                           (d)CRS Commercial Real Estate                  (d)California Retaining Walls Co.
                                              1450 Maria Lane, #200                          865 Teal Drive
                                              Walnut Creek, CA 94596-5362                    Benicia, CA 94510-1249



(d)Cellco Partnership dba Verizon Wireless    (d)Charge Point, Inc.                          (d)Charles Lomeli, Tax Collector
William M Vermette                            c/o Legal Department                           Solano County Treasury
22001 Loudoun County PKWY                     254 East Hacienda Ave.                         675 Texas Street, Suite 1900
Ashburn, VA 20147-6122                        Campbell, CA 95008-6617                        Fairfield, CA 94533-6337


(d)Chip Ganassi Racing, LLC                   (d)Christopher Helms                           (d)Christopher Soper
8500 Westmoreland Drive                       42 2nd Street NW                               1909 E Ray Road, Suite 9-181
Concord, NC 28027-7571                        Concord, NC 28027-6279                         Chandler, AZ 85225-8724



(d)City of Benicia                            (d)City of Martinez                            (d)Clark County Treasurer
PO Box 398515                                 525 Henrietta St.                              500 S Grand Central Pkwy, 1st Floor
San Francisco, CA 94139-8515                  Martinez, CA 94553-2394                        Las Vegas, NV 89155-4502



(d)Contra Costa County Tax Collector          (d)Contra Costa Dept. of Development           (d)Cox Communications
PO box 7002                                   30 Muir Road                                   6205-B Peachtree Dunwoody Road NE
San Francisco, CA 94120-7002                  Martinez, CA 94553-4601                        Atlanta, GA 30328-4524



(d)Cox Communications                         (d)Crestmark Bank Corp                         (d)DC Solar Distribution, Inc.
PO Box 79175                                  Attn: Larry Pearce                             4901 Park Road
Phoenix, AZ 85062-9175                        5480 Corporate Drive, Suite 350                Benicia, CA 94510-1190
                                              Troy, MI 48098-2642


(d)DC Solar Solutions, Inc.                   (u)DEPT 11-6900870236                          (u)DEPT LA
4901 Park Road
Benicia, CA 94510-1190



(u)DOS HERNANS LLC                            (d)DV VNB Community Renewables Fund III, LLC   (d)DV VNB Community Renewables Fund, LLC
                                              c/o Valley National Bank                       c/o Valley National Bank
                                              Attn: Ronald H. Janis, Esq.                    Attn: Ronald H. Janis, Esq.
                                              1455 Valley Road                               1455 Valley Road
                                              Wayne, NJ 07470-8448                           Wayne, NJ 07470-8448
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(d)Dan N. Schneringer                       (d)David Johnson                                (d)DeBolt Civil Engineering
6 Sunset Way Suite 108                      8 Corte Del Sol                                 811 San Ramon Vallet Blvd.
Henderson, NV 89014-2050                    Benicia, CA 94510-2209                          Danville, CA 94526-4025



(d)Dept. of Employment, Training & Rehab    (d)Distribution Funding II LLC                  (d)Double Jump, Inc.
Employment Security Division                300 S Orange Ave                                200 S. Virginia, 8th Floor
500 East Third Street                       Suite 1110                                      Reno, NV 89501-2403
Carson City, NV 89713-0002                  Orlando, FL 32801-5400


(d)Duke Energy                              (u)EAST BAY TIRE CO.                            (d)ECI FUEL SYSTEMS
PO Box 1004                                 2200 HUNTINGTON DR.                             C/O JEANETTE E. MCPHERSON
Charlotte NC 28201-1004                     UNIT C                                          Schwartzer & McPherson Law Firm
                                                                                            2850 South Jones Blvd., Suite 1
                                                                                            Las Vegas, NV 89146-5640

(d)ECI FUEL SYSTEMS                         (d)ECI Fuel Systems                             (u)EMEDCO
C/O SCHWARTZER & MCPHERSON LAW FIRM         David Mitchell
2850 S. JONES BLVD., SUITE 1                1794 W. 11th Street
LAS VEGAS, NV 89146-5640                    Upland, CA 91786-3504


(u)EVENTWRIGHT                              (d)EXIDE TECHNOLOGIES                           (d)EXIDE TECHNOLOGIES
                                            C/O ALLEN J. GUON                               C/O BRETT A. AXELROD
                                            321 N. CLARK STREET, SUITE 800                  1980 FESTIVAL PLAZA DR., SUITE 700
                                            CHICAGO, IL 60654-4766                          LAS VEGAS, NV 89135-2961


(d)East West Bancorp, Inc.                  (d)East West Bank                               (u)Exide Technologies
c/o Sallie Armstrong, Esq.                  c/o Sallie Armstrong, Esq.                      Brett A. Axelrod
McDonald Carano LLP                         McDonald Carano LLP                             Amanda A. Hunt
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Reno, NV 89501-1989                         Reno, NV 89501-1989                             One Summerlin
                                                                                            1980 Festival Plaza Drive, Suite 700
(u)FAIRFIELD, CA 94533                      (u)FEDEX                                        (u)FEI INVESTORS I LLC
                                                                                            26610 AGOURA HILLS
                                                                                            SUITE 120



(d)FEI INVESTORS I, LLC                     (d)FELDERSTEIN FITZGERALD WILLOUGHBY & PASCUZ   (u)FOSTER CITY, CA 94404
C/O TIMOTHY S. CORY                         500 CAPITOL MALL, SUITE 2250
1333 NORTH BUFFALO DRIVE, SUITE 210         SACRAMENTO, CA 95814-4760
LAS VEGAS, NV 89128-3636


(d)FRANCHISE TAX BOARD (cc)                 (d)Family Security Locksmith                    (d)Fernando Cruz
FRANCHISE TAX BOARD                         40 Emshee Lane                                  118 Sharon Pl
BANKRUPTCY SECTION MS A340                  Martinez, CA 94553-3610                         Bay Point CA 94565-1542
PO BOX 2952
SACRAMENTO, CA 95812-2952

(d)Foremost Insurance                       (d)Fred?s Floor Coverings                       (d)GEICO Corporation
3249 Mt. Diablo Ct. #211                    5520 Michigan Blvd.                             Attn: Jonathan Shafner
Lafayette, CA 94549-4000                    Concord, CA 94521-4045                          5260 Western Avenue
                                                                                            Chevy Chase, MD 20815-3799
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(d)GREEN ENERGY CONCEPTS, INC.           (d)Great American Insurance Group               (d)Green Energy Concepts, Inc.
ATTN: TIM EARNHARD, VP                   301 E 4th Street                                Constance L. Young
5831 ORR ROAD                            Cincinnatti, OH 45202-4245                      Womble Bond Dickinson ? US, LLP
CHARLOTTE, NC 28213-6319                                                                 One Wells Fargo Center, Suite 3500
                                                                                         301 S. College Street
                                                                                         Charlotte, NC 28202-6000
(d)Green Energy Concepts, Inc.           (u)Green Energy Concepts, Inc.                  (d)Green Leaf A/C & Heating
Industrial Battery & Charger, Inc.       Robert R. Kinas                                 106 Green Pasture
Moretz Law Group                         Blakeley E. Griffith                            Hutto, TX 78634-4000
300 McGill Ave NW, Suite 100             Charles E. Gianelloni
Concord, NC 28027-6150                   Snell & Wilmer, L.L.P.
                                         3883 Howard Hughes Parkway, Suite 1100
(d)Guile Mosher                          (d)HANCOCK WHITNEY EQUIPMENT FINANCE AND LEAS   (u)HANCOCK WHITNEY EQUIPMENT FINANCING
2838 McClellan Court                     C/O LOUIS M. BUBALA III                         228 ST. CHARLES AVE
Martinez, CA 94553-3475                  50 W. LIBERTY ST., STE 700
                                         RENO, NV 89501-1947


(d)HARRIS LAW PRACTICE LLC               (u)HERC RENTALS INC                             (d)HERITAGE BANK OF COMMERCE
6151 LAKESIDE DR., STE 2100                                                              C/O SETH ADAMS / WOODBURN AND WEDGE
RENO, NV 89511-8541                                                                      PO BOX 2311
                                                                                         RENO, NV 89505-2311


(d)Halo Management Services              (u)Hancock Whitney Equipment Finance and Leas   (d)Heritage Bank of Commerce
Attn: Michael Stepanian                  Carver Darden Koretzky Tessier Finn Blos        1990 N California Blvd #100
2905 Lake East Dr., Ste 150              Attn: David F. Waguespack                       Walnut Creek CA 94596-3711
Las Vegas, NV 89117-2384                 Energy Centre
                                         1100 Poydras Street
                                         Suite 3100
(d)INTERNATIONAL SPEEDWAY CORPORATION    (d)INTERNATIONAL SPEEDWAY CORPORATION, ET AL.   (d)Indoor Environmental Services Corp.
C/O BARNES & THORNBURG LLP               C/O RICK R. HSU                                 1512 Silica Avenue
655 W. BROADWAY, STE 900                 4785 CAUGHLIN PARKWAY                           Sacramento, CA 95815-3312
SAN DIEGO, CA 92101-8484                 RENO, NV 89519-0906


(d)Internal Revenue Service              (d)International Speedway Corp                  (d)Iteknique
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Philadelphia, PA 19101-7346              Daytona Beach, FL 32120-2801                    Suite 1090
                                                                                         Concord, CA 94520-8465


(d)JEANETTE E. MCPHERSON, ESQ.           (d)JG Energy Solutions, LLC                     (d)JLE ENTERPRISES, LLC
SCHWARTZER & MCPHERSON LAW FIRM          1422 Chalfont Dr.                               C/O LAW OFFICE OF HAYES & WELSH
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LAS VEGAS, NV 89146-5640                                                                 HENDERSON, NV 89074-1609


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                                         Las Vegas, NV 89117-2384


(d)Jonathan Booth                        (d)Jorge Cordova Martinez                       (d)Joseph Garrett
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Lafayette CA 94549-0053                  Bay Point CA 94565-1412                         Lawndale CA 90260-1608
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(d)Juan Manuel Garcia                  (d)KEYBANK NATIONAL ASSOCIATION               (d)KEYBANK NATIONAL ASSOCIATION
2208 Mount Whitney Dr.                 C/O J. COLIN KNISLEY                          C/O JONATHAN M. PETRAKIS
Pittsburg CA 94565-4458                DUANE MORRIS LLP                              DUANE MORRIS LLP
                                       30 SOUTH 17TH STREET                          30 SOUTH 17TH STREET
                                       PHILADELPHIA, PA 19103-4196                   PHILADELPHIA, PA 19103-4196

(d)KEYBANK NATIONAL ASSOCIATION        (d)Kansas Speedway                            (d)Ken Carpoff
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PHILADELPHIA, PA 19103-4196

(u)LAS VEGAS, NV 89109                 (u)LAS VEGAS, NV 89118                        (u)LAW OFFICES OF ARI J. LAUER
                                                                                     2125 OAK GROVE ROAD




(d)LOAN OAK FUND, LLC                  (d)LONE OAK FUND, LLC                         (d)Las Vegas Valley Water District
C/O SIMON ARON                         c/o John Samberg                              PO Box 2921
WOLF, RIFKIN, SHAPIRO ET AL.           Wolf Rifkin Shapiro Schulman &Rabkin          Phoenix, AZ 85062-2921
11400 WEST OLYMPIC BLVD., 9TH FL.      200 S. Virginia St. Ste. 470
LOS ANGELES, CA 90064-1582             Reno, NV 89501-2402

(d)Legacy Framers, Inc.                (d)Les Schwab                                 (d)Lester Construction
980 Garcia Avenue, Suite C             625 Contra Costa Blvd.                        2515 Gold Run Ct.
Pittsburg, CA 94565-5046               Concord, CA 94523-1514                        Valley Springs, CA 95252-9218



(d)Lexington Insurance Company         (d)Lloyds of London (USA)                     (d)MANDALAY BAY, LLC
99 High Street                         42 West 54th Street                           3950 Las Vegas Boulevard
Floor 24                               14th Floor                                    LAS VEGAS, NV 89119-1006
Boston, MA 02110-2320                  New York, NY 10019-5405


(u)MARTINEZ, CA 94553-0709             (d)MELAND BUDWICK, P.A.                       (u)MILWAUKEE, WI 53201-2182
                                       3200 SOUTHEAST FINANCIAL CTR
                                       200 SO BISCAYNE BLVD
                                       MIAMI, FL 33131-5340


(d)Majestic Runway Partners II LLC     (u)Majestic Runway Partners II, LLC           (d)Mark Prest
13191 Crossroads Parkway               Ballard Spahr LLP                             848 Ainsley Place SE
Sixth Floor                            Attn: Abran E. Vigil                          Concord, NC 28025-0065
City of Industry CA 91746-3421         Michael A. DiGiacomo
                                       1980 Festival Plaza Drive
                                       Suite 900
(d)Mark Scott Construction, Inc.       (d)Matthew W. Quall                           (d)MetaBank
2835 Contra Costa Blvd.                Matthew R. Dardenne                           Dickinson Wright PLLC
Pleasant Hill, CA 94523-4221           Quall Cardot LLP                              Attn: Brian R. Irvine
                                       205 East River Park Circle, Suite 110         100 West Liberty Street
                                       Fresno, CA 93720-1572                         Suite 940
                                                                                     Reno, NV 89501-1991
(d)Michael Lawrence                    (d)Midwest-REA TCF, LLC and CRA TCF 16, LLC   (d)Miracle Method of Contra Costa
205 W Main Street                      c/o Sallie Armstrong, Esq.                    Alameda, Inc.
Warsaw, KY 41095-9303                  McDonald Carano LLP                           5702 Marsh Drive, Suite J
                                       100 W. Liberty Street, 10th Floor             Pacheco, CA 94553-5646
                                       Reno, NV 89501-1989
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(d)Montage Services, Inc.                    (u)NEVADA DEPARTMENT OF TAXATION                (u)NEW ORLEANS, LA 70130
41 West Shore Road                           1550 COLLEGE PARKWAY
Tiburon, CA 94920-2461



(u)NORTHWESTERN MUTUAL LIFE INS CO.          (d)NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY   (d)NV Energy
PO BOX 578                                   BART K LARSEN / KOLESAR & LEATHAM               6226 W Sahara Ave,
                                             400 SO RAMPART BLVD, STE 400                    Las Vegas, NV 89146-3060
                                             LAS VEGAS, NV 89145-5725


(d)Napa County - Lake Berryessa RID          (d)Napa Valley Media                            (d)National Construction Rentals, Inc.
1195 3rd St. Ste B10                         127 Summerbrooke Circle                         1300 Business Center Drive
Napa, CA 94559-3035                          Napa, CA 94558-7022                             San Leandro, CA 94577-2242



(d)Native Sons Landscaping, Inc.             (d)Neal Jacobson                                (d)Nevada Department of Taxation
25 Beta Court, Suite L                       Securities and Exchange Commission              Bankruptcy Section
San Ramon, CA 94583-1245                     New York Regional Office                        4600 Kietzke Ln
                                             Brookfield Place                                Suite L-235
                                             200 Vesey Street, Suite 400                     Reno, NV 89502-5045
                                             New York, NY 10281-1004
(d)Nicholas Esno                             (u)OAKLAND, CA 94607                            (u)OFFICE DEPOT
6560 Darby Ave.
Las Vegas, NV 89146-6518



(d)OFFICE OF THE UNITED STATES TRUSTEE       (d)Oakhurst Country Club                        (d)Oscar Jimenez
300 BOOTH STREET                             1001 Peacock Creek Drive                        4051 Calimesa Street
SUITE 3009                                   Clayton, CA 94517-2201                          Las Vegas, NV 89115-2334
RENO NV 89509-1360


(u)P.O. BOX 7137                             (u)PALATINE, IL 60055                           (u)PHOENIX, AZ 85034




(u)PHOENIX, AZ 85040                         (u)PLATEPASS LLC                                (u)PLDSPE LLC




(u)PO BOX 1709                               (u)PO BOX 5                                     (u)PROFESSIONAL ACCOUNT MANAGEMENT LLC
                                                                                             PO BOX 2182




(d)PROGRESSIVE CASUALTY INSURANCE COMPANY    (d)PS BUSINESS PARKS, L.P.                      (d)Pacific Links International
C/O MICHAEL M. PARKER                        C/O ADAM PERNSTEINER / LEWSI BRIABOIS...        1 Robert Trent Jones Street
300 CONVENT STREET, SUITE 2100               6385 S. RAINBOW BLVD., STE 600                  Las Vegas, NV 89141-6038
SAN ANTONIO, TX 78205-3720                   LAS VEGAS, NV 89118-3201
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(d)Pacific Metal Fabrication LLC             (d)Pardee Solar 1 LLC                           (d)Paulette Carpoff
311 Chambers Street                          Thomas, Alexander, Forrester & Sorensen         1901 Yardly Ct.
Eugene, OR 97402-4487                        14 27th Avenue                                  Concord, CA 94521-1633
                                             Venice, CA 90291-4304


(d)Paulette Carpoff                          (d)Paymon Hifai, Esq.                           (d)Peoples United Bank, N.A. Peoples United
2905 Lake East Dr                            Horner Law Group, P.C.                          Josef Mintz, Blank Rome LLP
Suite 150                                    800 S. Broadway, Suite 200                      130 N. 18th Street - One Logan Square
Las Vegas, NV 89117-2384                     Walnut Creek, CA 94596-5227                     Philadelphia, PA 19103-2768


(d)Progressive Casualty Insurance Company    (d)RB Painting                                  (d)REED SMITH LLP
c/o Andrew Layden, Esq.                      1385 Palm Ave.                                  101 SECOND STREET, SUITE 1800
200 S. Orange Avenue, Suite 2300             Martinez, CA 94553-2070                         SAN FRANCISCO, CA 94105-3659
Orlando, FL 32801-3455


(d)ROLLIN ALEXANDER MCGHEE                   (d)Radian Generation LLC                        (d)Richmond International Raceway
220 UPTOWN WEST DRIVE                        5821 Fairview Road                              600 East Laburnum Avenue
CHARLOTTE, NC 28208-3553                     Suite 201                                       Richmond, VA 23222-2253
                                             Charlotte, NC 28209-3649


(d)Ricky Proctor                             (d)Robert Salazar                               (d)Ronald Stier
5132 S McMinn Drive                          The Tax Solutions Group                         4601 W 142nd St.
Gilbert AZ 85298-0628                        1123 Olive Drive                                Hawthorne CA 90250-6834
                                             Davis, CA 95616-4720


(d)Ryan Guidry                               (u)SACRAMENTO, CA 94279-7072                    (u)SAN FRANCISCO, CA 94120-7137
521 Boyd Rd.
Pleasant Hill, CA 94523-3210



(u)SCHAER DESIGN                             (d)SECURITIES AND EXCHANGE COMMISSION           (u)SHADY HARBOUR LLC
                                             NEW YORK REGIONAL OFFICE                        19810 WEST CATAWBA AVE
                                             BROOKFIELD PLACE                                SUITE G
                                             200 VESEY ST, STE 400
                                             NEW YORK, NY 10281-1004

(d)SMI                                       (d)SOLAR ECLIPSE INVESTMENT FUND-IV, V, VI, X   (d)SOLARMORE MANAGEMENT SERVICES, INC.
Naysan Grey                                  C/O HOLLAND & HART LLP / TIMOTHY A LUKAS        C/O NATHAN G. KANUTE
Las Vegas Motor Speedway                     5441 KIETZKE LN, 2ND FLR                        50 W. LIBERTY ST., STE 510
7000 Las Vegas Blvd. N.                      RENO, NV 89511-3026                             RENO, NV 89501-1961
Las Vegas, NV 89115-1708

(u)SOLARSENSE DCS I LLC                      (d)SOLARSENSE DCS I, LLC                        (d)SOLARSENSE DCS I, LLC
1055 WESTLAKES DRIVE                         C/O HOLLEY DRIGGS WALCH / R. HOLLEY             C/O ROBERT LAPOWSKY
SUITE 140                                    400 S 4TH ST, FLR 3                             620 FREEDOM BUSINESS CENTER, SUITE 200
                                             LAS VEGAS, NV 89101-6201                        KING OF PRUSSIA, PA 19406-1330


(d)SOLIGENT DISTRIBUTION LLC                 (u)SOMAY HOLDINGS LLC                           (u)SP AUTOMOTIVE
1400 N MCDOWELL BLVD., SUITE 201             360 EAST DESERT INN RD
PETALUMA, CA 94954-6553                      UNIT #1802
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(u)STANLEY SECURITY SOLUTIONS                 (u)STE 210                                    (d)STERLING MADISON COMPANY
DEPT CH 10651                                                                               871 COLEMAN AVE., STE 102
                                                                                            SAN JOSE, CA 95110-1831



(u)SUITE 115                                  (u)SUITE 312                                  (d)SUN TRUST EQUIPMENT FINANCE & LEASING CORP
                                                                                            C/O MEGAN N. ADEYEMO
                                                                                            2200 ROSS AVE., SUITE 4100W
                                                                                            DALLAS, TX 75201-7902


(u)SUNBELT RENTALS                            (d)Sean Cutolo                                (d)Sean Macias
                                              9623 Grapeland Ave                            908 Estudillo Street
                                              Las Vegas NV 89148-4206                       Martinez, CA 94553-1620



(d)Secretary of the Treasury                  (d)Securities and Exchange Commission         (d)Shadd A. Wade, Esq.
1500 Pennsylvania Ave. NW                     Los Angeles Regional Office                   ZBS Law, LLP
Washington, D.C. 20220-0001                   444 South Flower Street, Suite 900            9435 West Russell Road, Suite 120
                                              Los Angeles, California 90071-2934            Las Vegas, Nevada 89148-5608


(d)Shaun Rang                                 (d)Sherwin Williams                           (d)Simon Teed
861 Ruth Drive                                1241 Diamond Way                              1145 N. Hight Street #703
Pleasant Hill CA 94523-1939                   Concord, CA 94520-5209                        Columbus, OH 43201-2488



(d)Snap On Tools                              (d)Social Security Administration             (d)Solano County Dept of Resource Mgmt
2203 Center Avenue                            Office of the Regional Chief Counsel          675 Texas Street
Martinez, CA 94553-5408                       Region IX                                     Suite 5500
                                              160 Spear St, Ste 800                         Fairfield, CA 94533-6341
                                              San Francisco, CA 94105-1545

(d)Solar Eclipse Fund Holding IX, LLC         (d)Solar Eclipse Fund IX, LLC                 (d)Solar Eclipse Inv Fund X LLC; -XV; -XXII
c/o Lisa Schweitzer                           c/o Lisa Schweitzer                           Steven Thomas
Cleary Gottlieb Steen & Hamilton LLP          Cleary Gottlieb Steen & Hamilton LLP          14 27th Avenue
One Liberty Plaza                             One Liberty Plaza                             Venice, CA 90291-4304
New York, NY 10006-1404                       New York, NY 10006-1404

(d)Solar Eclipse Inv Fund XXVI -XXX -XXXIV    (d)Solar Eclipse Investment Fund III, LLC     (d)Solar Eclipse Investment Fund VII, LLC and
Gonzalo Dorta                                 Steven W. Thomas, Esq.                        Solar Eclipse Investment Fund XIV, LLC
334 Minorca Avenue                            14 27th Avenue                                c/o Curtis C. Jung, Manager
Miami, FL 33134-4304                          Venice, CA 90291-4304                         888 S. Figueroa Street, Suite 720
                                                                                            Los Angeles, CA 90017-5306

(d)Solar Eclipse Investment Fund VIII, LLC    (d)Solar Eclipse Investment Fund XVII, LLC    (d)Solar Eclipse Investment Fund XVIII, LLC
c/o Curtis C. Jung                            Thomas, Alexander, Forrester & Sorensen       Steven Thomas
Jung & Yuen                                   14 27th Avenue                                Thomas, Alexander, Forrester & Sorensen
888 S. Figueroa Street, Suite 720             Venice, CA 90291-4304                         14 27th Avenue
Los Angeles, CA 90017-5306                                                                  Venice, CA 90291-4304

(d)Solar Eclipse Investment Fund XX, LLC      (d)Solar Eclipse Investment Fund XXVII, LLC   (d)Solar Eclipse Investment Fund XXXII, LLC
c/o Renewable Energy Alternatives, LLC        c/o Curtis C. Jung                            c/o Curtis C. Jung
PO Box 639                                    Jung & Yuen, LLP                              Jung & Yuen, LLP
Dexter, MO 63841-0639                         888 S. Figueroa Street, Suite 720             888 S. Figueroa Street, Suite 720
                                              Los Angeles, CA 90017-5306                    Los Angeles, CA 90017-5306
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(d)Solar Eclipse Investment Fund XXXV, LLC      (d)Solar Eclipse Investment Funds VI, XII, an   (u)SolarSense DCS I, LLC
c/o Curtis C. Jung, Manager                     Steven Thomas                                   Holley Driggs Walch Fine Puzey Stein & T
Jung & Yuen, LLP                                Thomas, Alexander, Forrester & Sorrenson        Attn: Richard F. Holley, Esq.
888 S. Figueroa Street, Suite 720               14 27th Avenue                                  Mary Langsner, Ph.D.
Los Angeles, CA 90017-5306                      Venice, CA 90291-4304                           400 South Fourth Street
                                                                                                Third Floor
(u)SolarSense DCS I, LLC                        (d)Soligent Distribution, LLC                   (d)South Tahoe Public Utility
Stevens & Lee                                   1400 N McDowell Blvd., Suite 201                1275 Meadow Crest Drive
Attn: Robert Lapowsky                           Petaluma, CA 94954-6553                         South Lake Tahoe, CA 96150-7401
Evan B. Coren
620 Freedom Business Center
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(d)South Tahoe Refuse                           (d)Southern California Edison                   (d)Southern Nevada Pest Control
2140 Ruth Ave                                   PO Box 300                                      4301 Production Way
South Lake Tahoe, CA 96150-4357                 Rosmead, CA 91770-0300                          Las Vegas, NV 89115-0183



(d)Southwest Gas Corporation                    (d)Sparks Power                                 (d)Star Coach Race Tours LLC
Attn: Bankruptcy Desk                           110 SW Central Ave.                             4010 Albritton Road
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(d)Steve Thompson                               (d)Steven Sanderson                             (d)Sun Trust Equipment Finance & Leasing Corp
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Georgetown, TX 78633-5453                       Martinez, CA 94553-2813                         Attn: Megan Adeyemo
                                                                                                555 Seventeenth Street, Suite 3400
                                                                                                Denver, CO 80202-3937

(d)Suntrust Equipment Finance & Leasing Corp    (d)T-MOBILE USA, INC. (sb)                      (d)TAMMY MORRIS
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Atlanta, GA 30302-4418                          PO BOX 53410                                    FILMORE, CA 93015-9722
                                                BELLEVUE, WA 98015-3410


(d)TEMPE CHRYSLER JEEP DODGE RAM                (d)THE SHERWIN-WILLIAMS COMPANY                 (d)TOWBIN DODGE RAM
7975 S AUTOPLEX LOOP RD                         C/O ASHLEY C. NIKKEL                            275 AUTOMALL DRIVE
TEMPE, AZ 85284-1023                            PARSONS BEHLE & LATIMER                         HENDERSON, NV 89014-6707
                                                50 W. LIBERTY ST., SUITE 750
                                                RENO, NV 89501-1970

(d)TRANS LEASE, INC.                            (d)Talladega Superspeedway                      (d)Tara Farnsworth
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8831 W. SAHARA AVE                              Daytona Beach, FL 32120-2801                    Phoenix, AZ 85016-4126
LAS VEGAS, NV 89117-5865


(d)Terrell Battery Corp                         (d)Tesla Solar                                  (d)The Sherwin-Williams Company
PO Box 21365                                    PO Box 3500                                     c/o Rew R. Goodenow
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                                                                                                50 W. Liberty St., Suite 750
                                                                                                Reno, NV 89501-1970

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End of Label Matrix
Mailable recipients 731
Bypassed recipients 378
Total               1109
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                   (;+,%,7&
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$GYHUVDU\3URFHHGLQJ'HIHQGDQW6HUYLFH/LVW

&KULVWLQD:/RYDWR       (&)                 &KULVWLQD:/RYDWR    (&)                   -RKQ0LUDQGD (&)
FR-HIIUH\/+DUWPDQ(VT                  FR0LFKDHO6%XGZLFN(VT.HYLQ&       FR-DPHV'*UHHQH(VT
:HVW3OXPE/DQH6WH%                    3DXOH(VTDQG6RORPRQ%*HQHW(VT      6RXWK-RQHV%OYG6WH
5HQR19                                6%LVFD\QH%OYG6XLWH            /DV9HJDV19
                                               0LDPL)/

-RKQ0LUDQGD (&)                              -RKQ0LUDQGD      (&)                        '&6RODU6ROXWLRQV,QF'RXEOH-XPS
FR-DFN$5DLVQHU(VT                     FR5HQH V5RXSLQLDQ(VT                   ,QF'&6RODU'LVWULEXWLRQ,QF
UG$YHQXHWK)OU                      0DGLVRQ$YHQXH6XLWH               FR-HIIUH\/+DUWPDQ(VT (&)
1HZ<RUN1<                            1HZ<RUN1<                           :HVW3OXPE/DQH6WH%
                                                                                             5HQR19

'RUD'RJ3URSHUWLHV//&
69LUJLQLDWK)ORRU
                              %$'              'RJ%OXH3URSHUWLHV//&%UDQG\%R\
                                               3URSHUWLHV//&&KDQQHO5RDG//&
                                                                                             0DVRQ&LUFOH//&
                                                                                             0DVRQ&LUFOH
                                                                                                                        %$'
5HQR19                                3DUN5RDG//&
                                               3DUN5RDG
                                                                    %$'                      &RQFRUG&$

                                               %HQLFLD&$

0DQGDOD\%D\//&                             0DQGDOD\%D\//&                            0DQGDOD\%D\//& (&)
FR(ULF$%URZQGRUI(VT                   FR(GZDUG$&RUPD(VTDQG:LOOLDP3    FR*UHJRU\$ODQ.UDHPHU(VT
$WODQWLF$YHQXH7KLUG)O                5XEOH\(VT                                 :&KDUOHVWRQ%OYG6XLWH
$WODQWLF&LW\1-                       0DUOWRQ3LNH(DVW                       /DV9HJDV19
                                               &KHUU\+LOO3OD]H6WH
                                               &KHUU\+LOO1-
)RX'RJ3URSHUWLHV//&                       2DNKXUWV*ROI//&                           2DNKXUWV*ROI//&
FR-HIIUH\DQG3DXOHWWH&DUSRII              %\DQG7KURXJKLWV0DQDJHU&RXUVH&R        %\DQG7KURXJKDQ\2IILFHU'LUHFWRU
3HEEOH'XQHV&W
/DV9HJDV19
                          '83                  ,QF$WWQ0LFKDHO6KDUS5HJLVWHUHG$JHQW
                                               2OG5HGZRRG+Z\6WH
                                                                                             $WWQ0LFKDHO6KDUS5HJLVWHUHG$JHQW
                                                                                             3HDFRFN&UHHN'ULYH
                                               3HWDOXPD&$                           &OD\WRQ&$

0DUWLQH](GXFDWLRQ)RXQGDWLRQ                 +DOR0DQDJHPHQW6HUYLFHV//&                6RODUPRUH,QYHVWPHQWV,QF
FR-HDQHWWH(0F3KHUVRQ
6-RQHV%OYG
                           (&)                 %\DQGWKURXJK2IILFHU3HWHU5RVVHOOL
                                               0DVRQ&LUFOH6XLWH.
                                                                                             %\DQGWKURXJKLWV2IILFHU'LUHFWRU
                                                                                             FR3DWULFN0RRUH
/DV9HJDV19                           &RQFRUG&$                            /RQH7UHH:D\6XLWH
                                                                                             $QWLRFK&$

3DWULFN0RRUH                                 5HQHZDEOH0DQDJHPHQW6HUYLFHV,QF          1XOHDI&DSLWDO,QYHVWRUV*URXS//&
/RQH7UHH:D\6XLWH   '83             %\DQGWKURXJKLWV2IILFHUV'LUHFWRUV        2JRQQD0%URZQ(VT (&)
$QWLRFK&$                             -HII&DUSRIIDQG3DXOHWWH&DUSRII            +RZDUG+XJKHV3NZ\6XLWH
                                               3HEEOH'XQHV&W      '83                 /DV9HJDV19
                                               /DV9HJDV19

5HQHZDEOH:DVWH6ROXWLRQV//&                6XVWDLQDEOH&DSLWDO)LQDQFH,QF            )ROLXP%LRVFLHQFHV//&
%\DQGWKURXJKLWV0DQDJHU-HII&DUSRII       FR/DUV(YHQVHQ(VT      (&)              :KROH+HPS&RPSDQ\//& (&)
3HEEOH'XQHV&W    '83                    +LOOZRRG'UQG)OU                   FR0HODQLH'0RUJDQ(VT
/DV9HJDV19                           /DV9HJDV19                          9LOODJH&HQWHU&LUFOH6XLWH
                                                                                             /DV9HJDV19

8QLWHG6WDWHVRI$PHULFDHWDO               60,6&+ROGLQJV//&HWDO (&)              6DQGUD6DUNLVVLDQ6XFFHVVRU7UXVWHHHWDO
FR%RULV.XNVR(VT           (&)           FR7KRPDV+)HOO(VT3DWULFN-6KHD    FR/RXLV0%XEDOD,,,    (&)
86'HSWRI-XVWLFH7D['LYLVLRQ             6R)RXUWK6W6WH                   :/LEHUW\6W6XLWH
32%R[                                    /DV9HJDV19                          5HQR19
:DVKLQJWRQ'&

/%$5HDOW\)XQG,,&RPSDQ\,//&             /%$5HDOW\)XQG,,&RPSDQ\,//&            .LQJ6RODUPDQ,QF.LQJ6RODUPDQ
FR05\DQ3LQNVWRQ(VTDQG0LFKDHO         FR7DOLWKD%*UD\.R]ORZVNL(VT           ,QGLRQ )XQG,//&.LQJ6RODUPDQ
5\DQ3LQNVWRQ(VT       (&)                 $PLJR6WUHHW6WH (&)                ,QGLRQ )XQG,,//&
0LVVLRQ6W6WH                     /DV9HJDV19                          FR&KULVWRSKHU3DWULFN%XUNH(VT
6DQ)UDQFLVFR&$                                                                     3OXPDV6W           (&)
                                                                                             5HQR19
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.LQJ6RODUPDQ,QF.LQJ6RODUPDQ ,QGLRQ       &KLDQJ/LDQ&XQJ (&)                       &KLDQJ/LDQ&XQJ
)XQG,//&.LQJ6RODUPDQ ,QGLRQ )XQG,,     FR&KULVWRSKHU3DWULFN%XUNH(VT        FR0LFKDHO%1LVKL\DPD(VT
//&FR.DWKU\Q6'LHPHU(VTDQG$OH[DQGHU    3OXPDV6W                              3DVHR3DGUH3DUNZD\6WH
- /HZLFNLHWDO                                5HQR19                             )UHHPRQW&$
60DUNHW6WUHHW6WH
6DQ-RVH&$

'&79DOOH\'ULYH&$/3 (&)                       '&79DOOH\'ULYH&$/3                     .0+6\VWHPV,QF
FR-DPLH3'UHKHU(VT                        FR0DULWD6(UEHFN(VT                 %\DQGWKURXJKLWV5HJLVWHUHG$JHQW
:/LEHUW\6WUHHW6XLWH                 &DPSXV'ULYH                           5HJLVWHUHG$JHQWV,QF
5HQR19                                   )ORUKDP3DUN1-                     (*ROI5RDG6XLWH$
                                                                                              6FKDXPEHUJ,/

.0+6\VWHPV,QF                                0DWWKHZ&DUSRII/DXUHQ&DUSRII           3ULVFLOOD$PDWR5REHUW$PDWR3DXOD

                                                                                              FR6DPLHO$6FKZDUW](VT (&)
%\DQGWKURXJKLWV5HFHLYHU6DQGRU              FR6DPXHO$6FKZDUW](VT               -RUGDQ
-DFREVRQFR$GDP3KLOOLS6LOYHUPDQ(VT       (DVW%ULGJHU$YHQXH (&)
:HVW-DFNVRQ%OYG6XLWH                /DV9HJDV19                        (DVW%ULGJHU$YHQXH
&KLFDJR,/                                                                            /DV9HJDV19

6LULXV/LJKW7RZHUV//&                         6LUXLV/LJKW7RZHUV//&                   /RQH2DN)XQG//& (&)
%\DQGWKURXJKLWV5HJLVWHUHG$JHQW              %\DQGWKURXJKLWV0DQDJHUV-HII&DUSRII   FR6LPRQ$URQ(VT
&RUSRUDWH&DSLWDO,QF    %$'                    DQG3DXOHWWH&DUSRII '83                   :2O\PSLF%OYGWK)O
:6DKDUD$YHQXH                            3HEEOH'XQHV&W                        /RV$QJHOHV&$
/DV9HJDV19                              /DV9HJDV19

/RQH2DN)XQG//&         (&)                   -&%&RQVXOWLQJ,QF                      &DUULH6XH%RGHQ&DUSRII
FR-RKQ06DPEHUJ(VT                        %\DQGWKURXJKLWV5HJLVWHUHG$JHQW       &DVFDGD
69LUJLQLD6W6WH                       $GDP,0LOOHU                             5DQFKR6DQWD0DUJDULWD&$
5HQR19                                   9RQ.DUPDQ$YHQXH6XLWH
                                                  ,UYLQH&$

%D\VKRUH6HOHFW,QVXUDQFH                        &KDPSLRQ6HOHFW,QVXUDQFH                  (QHQVWHLQ3KDP *ODVV
   ,1&                                              ,1&                                       FR)UDQN&*LOPRUH(VT+DQQDK(
                                                                                              :LQVWRQ(VT
                                                                                              :DVKLQJWRQ6WUHHW
                                                                                                                     (&)
                                                                                              5HQR19

/96WDGLXP(YHQWV&RPSDQ\//&                   7HUVXGD//&                               7HUVXGD//&
FR0LFKDHO%HUQVWHLQ(VT                      %\DQGWKURXJKLWV5HJLVWHUHG$JHQW       (OOLRW6%OXW(VT
0DVVDFKXVHWWV$YH1:                       +HQGUL[,QYHVWPHQW*URXS//&$WWQ       %OXW/DZ*URXS$3&
:DVKLQJWRQ'&                             $OLVKD+HQGUL[                             6WK6W
                                                  :$QQ5G6WH                     /DV9HJDV19
                                                  /DV9HJDV19
3ULVFLOOD$PDWR                                  1 6WHSKHQ9RNVKRUL(VT                   (ULF<DHFNHO(VT
6RXWKSRUW/DQH                                 9RNVKRUL/DZ*URXS                          6XOOLYDQ <DHFNHO/DZ*URXS
%HOOD9LVWD$UNDQVDV                      :LOVKLUH%OYG6XLWH             UG$YHQXH
                                                  /RV$QJHOHV&$                       6DQ'LHJR&$
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                   (;+,%,7'
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/LWLJDWLRQ3DUWLHV6HUYLFH/LVW

6RODUPRUH0DQDJHPHQW6HUYLFHV,QF       6WHYH:LOGH                                 +DOR0DQDJHPHQW6HUYLFHV//&
FR1DWKDQLHO*X\.DQXWH(VT            FR(YDQ61DGHO(VT                     FR)UDQN6FRWW0RRUH(VT
:/LEHUW\6W6XLWH (&)          0RQWJRPHU\6WWK)ORRU               0RQWJRPHU\6W6XLWH
5HQR19                            6DQ)UDQFLVFR&$                     6DQ)UDQFLVFR&$


6FRWW:HQW]                               'LDQD.HUVKDZ                               'LDQD.HUVKDZ
5DLQD<HH                                 FR&KDUOHV/+DVWLQJV(VT               FR6XVDQ/\QQ$SSOHWRQ(VT
FR'HQQLV-XVWLQ.HOO\(VT             )HDWKHU5LYHU'U6XLWH$             32%R[
%XVK6WUHHW6L[WK)ORRU              6WRFNWRQ&$                          'LDEOR&$
6DQ)UDQFLVFR&$

&DUVRQ7UDLOHU,QF                      $OYDUH] 0DUVDO9DOXDWLRQ6HUYLFHV//&    $OYDUH] 0DUVDO9DOXDWLRQ6HUYLFHV
FR-HQQLIHU77DJJDUW(VT             FR0LFKDHO-RKQ3URFWRU(VT              FR-R\FH&/L(VT
:LOVKLUH%OYG6XLWH            $QGUHZ$EUDP(VEHQVKDGH(VT              5DJHVK.7DQJUL(VT
/RV$QJHOHV&$                     :LOOLDP+HQU\+XWWLQJHU(VT               /HLGHVGRUII6W
                                           (DVWUG6W                             6DQ)UDQFLVFR&$
                                           /RV$QJHOHV&$
%DUU\+DFNHU                              %DUU\+DFNHU                                9LVWUD,QWHUQDWLRQDO([SDQVLRQ 86$ ,QF
FR$GDP/6FKZDUW](VT                FR/DQGRQ'DYLG%DLOH\(VT               FR7HUU\/:LW(VT           '83
)RXU6HDVRQV7RZHU                   )XOWRQ$YHQXH6XLWH                &DOLIRUQLD6WUHHWQG)ORRU
%ULFNHOO$YHQXH6XLWH         6DFUDPHQWR&$                        6DQ)UDQFLVFR&$
0LDPL)/

5DGLXV**( 86$ ,QF                    0RQWDJH6HUYLFHV,QF                      +HULWDJH%DQNRI&RPPHUFH
FR7HUU\/:LW(VT                    FR'HQQLV-XVWLQ.HOO\(VT               FR5REHUW6$GGLVRQ(VT
&DOLIRUQLD6WUHHWQG)ORRU          %XVK6WUHHW6L[WK)ORRU                &KHU\O0/RWW(VT
6DQ)UDQFLVFR&$                   6DQ)UDQFLVFR&$                     :LOVKLUH%OYG6XLWH
                                                                                        /RV$QJHOHV&$

$KHUQ5HQWDOV,QF                        $KHUQ5HQWDOV,QF                          &DUULH&DUSRII%RGHQ
FR'ZLJKW&UDLJ'RQRYDQ(VT            FR-RVHSK$0LODQR(VT                  FR&RUH\$DURQ0LOOHU(VT
-DHPLQ&KDQJ(VT                        &RQVWHOODWLRQ%RXOHYDUG6XLWH    9RQ.DUPDQ$YHQXH6XLWH
&DOLIRUQLD6WUHHW6XLWH         /RV$QJHOHV&$                       ,UYLQH&$
6DQ)UDQFLVFR&$

0DUVKDOO 6WHYHQV,QF                 &RKQ5H]QLFN&DSLWDO0DUNHWV//&            )DOOEURRN&DSLWDO6HFXULWLHV&RUSRUDWLRQ
FR-DPHV5)HOWRQ(VT                 FR/DXUHQ'HHE(VT                       FR3DWULFN-6RPHUV(VT3UL\D'
9HQWXUD%OYG6XLWH           69HUPRQW$YH6XLWH               6ULYLYDVDQ(VT5REHUW('XJGDOH(VT
(QFLQR&$                          7RUUDQFH&$                          6KDXQD(:RRGV(VT
                                                                                        6DQWD0RQLFD%RXOHYDUG6XLWH
                                                                                        /RV$QJHOHV&$
1L[RQ3HDERG\//&                        )RUUHVW'DYLG0LOOHU                        6RODU(FOLSVH,QYHVWPHQW)XQG,,,//&HWDO
FR(ULF+0DF0LFKDHO(VT              FR(ULF+0DF0LFKDHO(VT                FR(PLO\$OH[DQGHU(VTDQG0DUN
%DWWHU\6W                           %DWWHU\6W                             )RUUHVWHU(VT/XNH0DUWLQ(VT6WHSKHQ
6DQ)UDQFLVFR&$                   6DQ)UDQFLVFR&$                     6RUHQVHQ(VT6WHYHQ7KRPDV(VT
                                                                                        WK$YHQXH
                                                                                        9HQLFH&$
&RKQ5H]QLFN//3                           &RKQ5H]QLFN//3                            &RKQ5H]QLFN&DSLWDO0DUNHWV6HFXULWLHV
FR(IUHQ&RPSHDQ(VT
DQG7UDQJ7UDQ(VT
                                           FR6WHSKHQ7XOO\(VT
                                           (DVW7KRXVDQG2DNV%RXOHYDUG
                                                                                        //&
                                                                                        FR/DXUHQ'HHE(VT
                                                                                                                '83
6RXWK/DNH$YHQXH6XLWH         6XLWH                                   6RXWK9HUPRQW$YHQXH6XLWH
3DVDGHQD&$                        :HVWODNH9LOODJH&$                  7RUUDQFH&$

&RKQ5H]QLFN&DSLWDO0DUNHWV6HFXULWLHV    $OYDUH] 0DUVDO9DOXDWLRQ6HUYLFHV//&   )RUUHVW'DYLG0LOGHU
//&                                       FR.HUULQ.OHLQ(VT                      1L[RQ3HDERG\//3
                                                                                        FR1LFROH$OODQ(VTDQG%DLOH\+HDSV(VT
FR-RVK/HZLQ(VT                      DQG-RKQ0RRQ(VT                         (ULF0DF0LFKDHO(VT(OOLRW3HWHUV(VT
DQG6FRWW6KHUPDQ(VT                   $YHQXHRIWKH$PHULFDV                 %HQMDPLQ5RWKVWHLQ(VT'HHYD6KDK(VT
WK6WUHHW1:6XLWH            1HZ<RUN1<                          %DWWHU\6WUHHW
$WODQWD*$                                                                      6DQ)UDQFLVFR&$
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)ROH\ /DUGQHU//3                            %U\DQ&DYH/HLJKWRQ3DLVQHU//3                  %U\DQ&DYH/HLJKWRQ3DLVQHU//3
FR1HJDK'DLO\(VT                          FR&DVH\0F&UDFNHQ(VT                        FR0DWWKHZ.DKQ(VT
DQG6FRWW*DUQHU(VT                         DQG.HYLQ5RVHQ(VT                            0LVVLRQ6WUHHW6XLWH
$GDP/H%HUWKRQ(VT                          6RXWK*UDQG$YHQXH                           6DQ)UDQFLVFR&$
6RXWK)ORZHU6WUHHWWK)ORRU            /RV$QJHOHV&$
/RV$QJHOHV&$
0LOHV 6WRFNEULGJH3&                      )DOOEURRN&DSLWDO6HFXULWLHV&RUSRUDWLRQ         5DGLXV**(,QF
FR7-RKQ)LW]JLEERQV(VT                  )DOOEURRN&UHGLW)LQDQFH//                      FR.DUHQ%REURZ(VT
DQG(GLWK0DWWKDL(VT                        FR5REHUW'XJGDOH(VTDQG3DWULFN           6RXWK)LJXHURD6WUHHWWK)ORRU
6RXWK*UDQG$YHQXH6XLWH             6RPHUV(VT6KDXQD:RRGV(VT                 /RV$QJHOHV&$
/RV$QJHOHV&$                          6DQWD0RQLFD%RXOHYDUG6XLWH
                                                /RV$QJHOHV&$
5DGLXV**(,QF                               5DGLXV**(,QF                                 1RYRJUDGDF &RPSDQ\//3
FR7HUU\:LW(VT                            FR3KLOOLS-REH(VT                           FR$P\&KRH(VT
&DOLIRUQLD6WUHHWQG)ORRU               0DGLVRQ$YHQXHQG)ORRU                    DQG'DYLG(LVHQ(VT
6DQ)UDQFLVFR&$                        1HZ<RUN1<                               $GDP/H%HUWKRQ(VT
                                                                                                  6RXWK)ORZHU6WUHHWWK)ORRU
                                                                                                  /RV$QJHOHV&$
0DUVKDOO 6WHYHQV,QF
FR-DPHV)HOWRQ(VT
                                                $KHUQ5HQWDOV,QF
                                                FR0KDUH0RXUDGLDQ(VT
                                                                                                  $KHUQ5HQWDOV,QF
                                                                                                  FR.HYLQ6XWHKDOO(VT
                                                                                                                            (&)
DQG<L6XQ.LP(VT                           DQG-RVHSK8QJDUR,,(VT                      )HVWLYDO3OD]D'ULYH6XLWH
9HQWXUD%RXOHYDUG6XLWH            &RQVWHOODWLRQ%RXOHYDUG6XLWH         /DV9HJDV19
(QFLQR&$                               /RV$QJHOHV&$

$KHUQ5HQWDOV,QF                            0RQWDJH6HUYLFHV,QF                           6RODU(FOLSVH,QYHVWPHQW)XQG,,,//&
FR'ZLJKW'RQRYDQ(VT                       FR'HQQLV.HOO\(VT                           FR6WHSKHQ6RUHQVHQ(VT
&DOLIRUQLD6WUHHW6XLWH              DQG0DWWKHZ/HUQHU(VT                         WK$YHQXH     '83
6DQ)UDQFLVFR&$                        0RQWJRPHU\6WUHHW6XLWH                9HQLFH&$
                                                6DQ)UDQFLVFR&$

6RODU(FOLSVH,QYHVWPHQW)XQG,,,//&         +HULWDJH%DQNRI&RPPHUFH                        &7%&%DQN&RUS 86$ 
FR$OIRQVR/3RLUH(VT                     FR-DPHV01HXGHFNHU(VT                     FR0DUN50F'RQDOG(VT
2OLYHU5RDG6XLWH                    7ZR(PEDUFDGHUR&HQWHUWK)ORRU                :LOVKLUH%RXOHYDUG
)DLUILHOG&$                       6DQ)UDQFLVFR&$                     /RV$QJHOHV&$


1HLO/XULDDVUHFHLYHUIRU                   6RODU(FOLSVH,QYHVW)XQG,,,//&DQG6RODU   9LVWD,QWHUQDWLRQDO([SDQVLRQ 86$ ,QF
6RODU(FOLSVH,QYHVWPHQW)XQG,9//&DQG      (FOLSVH,QYHVW)XQG9,,//&6RODU(FOLSVH     FR-DPHV/HH(VT
6RODU(FOLSVH,QYHVWPHQW)XQG9//&6RODU    ,QYHVWPHQW)XQG9,,,//&6RODU(FOLSVH         6RXWKHDVW6HFRQG6WUHHW6XLWH
(FOLSVH,QYHVWPHQW)XQG9,//&HWDO        ,QYHVWPHQW)XQG;,9//&HWDO                 0LDPL)/
3RQFHGH/HRQ%RXOHYDUG                   7ZHQW\VHYHQWK$YHQXH
&RUDO*DEOHV)/                         9HQLFH&$

9LVWD,QWHUQDWLRQDO([SDQVLRQ 86$ ,QF       &RKQ5H]QLN&DSLWDO0DUNHWV6HFXULWLHV//&        &RKQ5H]QLN&DSLWDO0DUNHWV6HFXULWLHV//&
FR7HUU\/:LW(VT                         FR'DQLHO61HZPDQ(VT                       FR6FRWW16KHUPDQ(VT
&DOLIRUQLD6WUHHWQG)ORRU               DQG0HJDQ.LOLVVDQO\(VT                       $ODQWLF6WDWLRQ
6DQ)UDQFLVFR&$                        2QH%LVFD\QH7RZHU                               6HYHQWHHWK6WUHHW1:6XLWH
                                                6RXWK%LVFD\QH%RXOHYDUGVW)ORRU           $WODQWD*$
                                                0LDPL)/
1RYRJUDGDF &RPSDQ\//3                       %DUU\+DFNHU                                     $KHP5HQWDOV,QF
FR&KULVWRSKHU:/HH(VT                   FR$GDP/6FKZDUW](VTDQG$QGUHZ5        FR$GDP/DPE(VT
6RXWKHDVW6HFRQG6WUHHW6XLWH        +HUURQ(VT$QGUHZ9LWDOL,,,(VT           DQG-RVHSK$'H0DULD(VT
0LDPL)/                                )RXU6HDVRQV7RZHU                          2QH%LVFD\QH7RZHU6XLWH
                                                %ULFNHOO$YHQXH                             6RXWK%LVFD\QH%RXOHYDUG
                                                0LDPL)/                                  0LDPL)/
$KHP5HQWDOV,QF                             &RKQ5H]QLFN//3                                  &RKQ5H]QLFN//3
FR-DHPLQ&KDQJ(VT                         FR(IUHQ$&RPSHDQ(VT                        FR*DU\56KHQGHOO(VT
&DOLIRUQLD6WUHHW6XLWH              DQG7UDQJ77UDQ(VT                          DQG0DWW7RUQLQFDVD(VT
6DQ)UDQFLVFR&$                        6RXWK/DNH$YHQXH6XLWH                10LOLWDU\7UDLO6XLWH
                                                3DVDGHQD&$                               %RFD5DWRQ)/
                  Case 19-50102-gs                Doc 2811          Entered 07/27/21 10:18:53               Page 52 of 67


&RKQ5H]QLFN//3                                   $OYDUH] 0DUVDO9DOXDWLRQ6HUYLFHV//&        3HRSOH¶V8QLWHG%DQN1$DQG
FR6WHSKHQ-7XOO\(VT                        FR-RKQ*0RRQ(VTDQG.\OH&                3HRSOH¶V8QLWHG)LQDQFLDO,QF
(DVW7KRXVDQG2DNV%RXOHYDUG               %LVFHJOLH(VT.HUULQ7.OHLQ(VT           FR/LQGD65RWK
6XLWH                                         7DUD65LFKHOR(VT                            DQG5RFFR$&DYDOLHUH
:HVWODNH9LOODJH&$                        $YHQXHRIWKH$PHULFDV                      %URDGZD\
                                                   1HZ<RUN1<                               1HZ<RUN1<
6RODU(FOLSVH,QYHVWPHQW)XQG9,,//&DQG        '991%&RPPXQLW\5HQHZDEOHV)XQG                6RODU(FOLSVH,QYHVWPHQW)XQG,,,//&DQG
6RODU(FOLSVH,QYHVWPHQW)XQG9,,,//&6RODU    //&DQG'991%&RPPXQLW\5HQHZDEOHV              6RODU(FOLSVH,QYHVWPHQW)XQG,9//&6RODU
(FOLSVH,QYHVWPHQW)XQG;,9//&6RODU           )XQG,,,//&                                    (FOLSVH,QYHVWPHQW)XQG9//&6RODU(FOLSVH
(FOLSVH,QYHVWPHQW)XQG;;9,,//&HWDO        FR/LQGD65RWKDQG5RFFR$&DYDOLHUH         ,QYHVWPHQW)XQG9,//&HWDO
/H[LQJWRQ$YHQXH                              %URDGZD\                                    %URDGZD\
1HZ<RUN1<                           1HZ<RUN1<                               1HZ<RUN1<
,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ                ,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ               ,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ
FR5REHUW&)ROODQG                             FR0DUN52ZHQV                                FR'RQDOG$5HD
3*$%RXOHYDUG6XLWH                     6RXWK0HULGLDQ6WUHHW                         DQG$VKOH\1)HOORQD
3DOP%HDFK*DUGHQV)/                      ,QGLDQDSROLV,1                      (DVW3UDWW6WUHHW6XLWH
                                                                                                     %DOWLPRUH0'

1HLO/XULDDVUHFHLYHUIRU'83                   6RODU(FOLSVH,QYHVWPHQW)XQG9,,//&DQG      ,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ
6RODU(FOLSVH,QYHVWPHQW)XQG,9//&            6RODU(FOLSVH,QYHVWPHQW)XQG9,,,//&6RODU   FR5REHUW&)ROODQG
DQG6RODU(FOLSVH,QYHVWPHQW)XQG9//&         (FOLSVH,QYHVWPHQW)XQG;,9//&6RODU          3*$%RXOHYDUG6XLWH
6RODU(FOLSVH,QYHVWPHQW)XQG9,//&HWDO      (FOLSVH,QYHVWPHQW)XQG;;9,,//&HWDO       3DOP%HDFK*DUGHQV)/
3RQFHGH/HRQ%RXOHYDUG                      WK$YHQXH
&RUDO*DEOHV)/                            9HQLFH&$
,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ                ,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ               *HLFR&RUSRUDWLRQHWDO
FR0DUN52ZHQV        '83                      FR'RQDOG$5HD                                FR+HFWRU-/RPEDQD(VT
6RXWK0HULGLDQ6WUHHW                          DQG$VKOH\1)HOORQD                            3RQFHGH/HRQ%RXOHYDUG
,QGLDQDSROLV,1                       (DVW3UDWW6WUHHW6XLWH                 &RUDO*DEOHV)/
                                                   %DOWLPRUH0'

1HLO/XULD5HFHLYHU                              6RODU(FOLSVH,QYHVWPHQW)XQG,,,//&HWDO   6WHYHQ:7KRPDV
FR*DYLQ&*DXNURJHU(VT
3DXO6WHYHQ6LQJHUPDQ(VT
                                                   FR*RQ]DOR5'RUWD(VT
                                                   0DWLDV5'RUWD(VT
                                                                                                     FR6WHSKHQ6RUHQVHQ
                                                                                                     WK$YHQXH
                                                                                                                             '83
%ULFNHOO$YHQXH6XLWH                  0LQRUFD$YHQXH                               9HQLFH&$
0LDPL)/                                   &RUDO*DEOHV)/

,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ                6XQWUXVW(TXLSPHQW)LQDQFH /HDVLQJ&RUS       6XQWUXVW(TXLSPHQW)LQDQFH /HDVLQJ
FR5REHUW&)ROODQG(VT                       FR$DURQ3DUNV(VT%HQMDPLQ%:DWVRQ       &RUS
3*$%OYG6XLWH                         (VT-HIIUH\5'XWVRQ(VT                  FR'DQLHO-D\*HUEHU(VT
3DOP%HDFK*DUGHQV)/                      /DZUHQFH$6ORYHQVN\(VT                      6X]DQQH%DUWR+LOO(VT
                                                   3HDFKWUHH6WUHHW1(                      62UDQJH$YHQXH6WH
                                                   $WODQWD*$                                2UODQGR)/
6XQWUXVW(TXLSPHQW)LQDQFH /HDVLQJ              ,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ               ,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ
&RUS                                             FR$VKOH\1)HOORQD(VT                     FR0DUN52ZHQV(VT
FR/HQQHWWH/HH(VT                            'RQDOG$5HD(VT                               6RXWK0HULGLDQ6WUHHW '83
:HVW)LIWK6WUHHW6XLWH                 (3UDWW6WUHHW6XLWH                   ,QGLDQDSROLV,1
/RV$QJHOHV&$                             %DOWLPRUH0'

,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQ
FR5REHUW&KULVWRSKHU)ROODQG(VT
3*$%OYG6WH
3DOP%HDFK*DUGHQV)/
Case 19-50102-gs   Doc 2811   Entered 07/27/21 10:18:53   Page 53 of 67




                   (;+,%,7(




                   (;+,%,7(
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/LVWRI7ROOLQJ$JUHHPHQW3DUWLHV              $FFHVV&DSLWDO3DUWQHUV                         $(&'LJLWDO6ROXWLRQV//&
                                                FR$GDP/6FKZDUW](VT$QGUHZ+HUURQ(VT
                                                +RPHU%RQQHU-DFREV2UWL]3$
                                                                                                 FR1DWKDQ.DQXWH(VT
                                                                                                 6QHOO :LOPHU//3
                                                                                                                           (&)
                                                )RXU6HDVRQV7RZHU                         :/LEHUW\6WUHHW6XLWH
                                                %ULFNHOO$YHQXH                            5HQR19
                                                0LDPL)/
$KHUQ$G//&                                  $KHUQ5HQWDOV,QF                             $KHUQ(YDQ
FR:LOOLDP01RDOO(VT (&)                 FR0DUN-&RQQRW(VT (&)                    F:LOOLDP01RDOO(VT (&)
*DUPDQ7XUQHU*RUGRQ//3                       .HYLQ06XWHKDOO(VT                         *DUPDQ7XUQHU*RUGRQ//3
$PLJR6WUHHW6XLWH                   )R[5RWKVFKLOG//3                              $PLJR6WUHHW6XLWH
/DV9HJDV19                            )HVWLYDO3OD]D'U6XLWH              /DV9HJDV19
                                                /DV9HJDV19
$OYDUH] 0DUVDO9DOXDWLRQ6HUYLFHV//&       %D\OLVV,QQRYDWLYH6HUYLFHV,QF               %D\OLVV-RVHSK:
FR-RKQ&*RRGFKLOG,,,(VT               FR&KULVWRSKHU'+XJKHV(VT (&)             FR&KULVWRSKHU'+XJKHV(VT (&)
0RUJDQ/HZLV %RFNLXV//3                    1RVVDPDQ//3                                    1RVVDPDQ//3
0DUNHW6WUHHW                             &DSLWRO0DOO6XLWH                    &DSLWRO0DOO6XLWH
3KLODGHOSKLD3$                         6DFUDPHQWR&$                            6DFUDPHQWR&$

%HQLFLD,QYHVWPHQW//&    (&)                 %HUPXGH]0DUFHOR     '83                       &DUSRII-HIIUH\
FR0DWWKHZ&=LU]RZ                          FR$GDP/6FKZDUW](VT$QGUHZ+HUURQ(VT   FR0DOFROP6HJDO(VT
(%RQQHYLOOH$YHQXH                       +RPHU%RQQHU-DFREV2UWL]3$                 6HJDO $VVRFLDWHV3&
/DV9HJDV19                            )RXU6HDVRQV7RZHU                         &DSLWRO0DOO6XLWH
                                                %ULFNHOO$YHQXH                            6DFUDPHQWR&$
                                                0LDPL)/
&DUSRII3DXOHWWH                              &KLS*DQDVVL5DFLQJ:LWK)HOL[6DEDWHV         &LW\]HQLWK+ROGLQJV,QF
FR:LOOLDP-3RUWDQRYD(VT                 ,QF DQG&*5$IILOLDWHV                        FR0LFKDHO-DQVHQ
&DSLWRO0DOO6XLWH
6DFUDPHQWR&$
                                                FR0DUN52ZHQV(VT
                                                %DUQHV 7KRUQEXUJ//3
                                                                            '83                  1&ODUN6WUHHW
                                                                                                 &KLFDJR,/
                                                60HULGLDQ6WUHHW
                                                ,QGLDQDSROLV,1
&RKQ5H]QLFN&DSLWDO0DUNHW6HFXULWLHV         &RKQ5H]QLFN//3                                 &7%&%DQN&RUS 86$ 
//&                                            FR6WHSKHQ-7XOO\(VT                      FR0DUN0F'RQDOG(VT
FR6FRWW16KHUPDQ                           7UDQJ77UDQ(VT                             0RUULVRQ )RHUVWHU//3
WK6WUHHW1:6XLWH                 *DUUHW 7XOO\                                  :LOVKLUH%RXOHYDUG
$WODQWD*$                              6/DNH$YH6XLWH                    /RV$QJHOHV&$
                                                3DVDGHQD&$
'XGOH\9HQWXUHV$GYLVRU\6HUYLFHV//&         'XGOH\9HQWXUHV//&                         )DVWHQDO&RPSDQ\
FR-DFN<RVNRZLW](VT                       FR-DFN<RVNRZLW](VT                        FR-RKQ0LOHN
6HZDUG .LVVHO//3                            6HZDUG .LVVHO//3        '83                  7KHXUHU%OYG
2QH%DWWHU\3DUN3OD]D                         2QH%DWWHU\3DUN3OD]D                          :LQRQD01
1HZ<RUN1<                             1HZ<RUN1<

*XLGU\5\DQ                                   +DFNHU%DUU\                                   +DPLOWRQ&DSWLYH0DQDJHPHQW//&
FR5REHUW0:LOVRQ(VT                     FR$GDP/6FKZDUW](VT$QGUHZ+HUURQ(VT   FR'DYLG2YHUVWUHHW(VT
/DZ2IILFHVRI5REHUW0:LOVRQ                +RPHU%RQQHU-DFREV2UWL]3$                 (DUKDUW2YHUVWUHHW//&
/6WUHHW6XLWH                        )RXU6HDVRQV7RZHU '83                     32%R[
6DFUDPHQWR&$                           %ULFNHOO$YHQXH                            &KDUOHVWRQ6&
                                                0LDPL)/
+DPLOWRQ&DSWLYH0DQDJHPHQW/WG              +DQVHQ0DQDJHPHQW &RQVXOWLQJ//&             +DQVHQ$ODQ

(DUKDUW2YHUVWUHHW//& '83
FR'DYLG2YHUVWUHHW(VT                     0HFFD&W                                  0HFFD&W
                                                )DLUILHOG&$                             )DLUILHOG&$
32%R[
&KDUOHVWRQ6&

+DUWIRUG)LUH,QVXUDQFH&RPSDQ\                +HQGULFN$XWRPRWLYH*URXS                       +LGGHQ2DNV,QYHVWRUV//&
0DUN*/HGZLQ(VT                           FR&KULVWRSKHU-'HUUHQEDFKHU(VT           FR/HH$3HLIHU(VT
:LOVRQ(OVHU0RVNRZLW](GHOPDQ 'LFNHU//3    /HZLV%ULVERLV                                  (YHUVKHGV6XWKHUODQG//3
:HVWFKHVWHU$YHQXH                        /DNH%RRQH7UDLO6XLWH                3HDFKWUHH6W1(
:KLWH3ODLQV1<                         5DOLHJK1&                               $WODQWD*$
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,QWHUQDWLRQDO6SHHGZD\&RUSRUDWLRQHWDO             -DQR6HEDVWLDQ                            -DQVHQ%DUEDUD          (&)
 ,6&3DUWLHV                                            FR5D\PRQG06DUROD(VT                 FR1DWKDQ.DQXWH(VT
FR0DUN52ZHQV(VT                                 &RKHQ0LOVWHLQ6HOOHUV 7ROO3//&          6QHOO :LOPHU//3
%DUQHV 7KRUQEXUJ//3                                  $UFK6WUHHW6XLWH                :/LEHUW\6WUHHW6XLWH
6RXWK0HULGLDQ6WUHHW                                3KLODGHOSKLD3$                      5HQR19
,QGLDQDSROLV,1
                                                                                                      -*(QHUJ\6ROXWLRQV//& (&)
FR1DWKDQ.DQXWH(VT (&)                             FR1DWKDQ.DQXWH(VT (&)
-DQVHQ&DUO                                            -DQVHQ0LFKDHO
                                                                                                      FR1DWKDQ.DQXWH(VT
6QHOO :LOPHU//3                                   6QHOO :LOPHU//3                       6QHOO :LOPHU//3
:/LEHUW\6WUHHW6XLWH                         :/LEHUW\6WUHHW6XLWH             :/LEHUW\6WUHHW6XLWH
5HQR19                                          5HQR19                              5HQR19

.DUPDQQ5REHUW                                        /DXHU$UL-                               /DZ2IILFHRI$UL-/DXHU '83
FR.DWKDULQH.DWHV(VT                               2DN*URYH5RDG6XLWH              2DN*URYH5RDG6XLWH
5DPVH\ (KUOLFK//3                                   :DOQXW&UHHN&$                      :DOQXW&UHHN&$
+HDUVW$YHQXH
%HUNHOH\&$

/LYHLQWKH9LQH\DUG//&                              0DGLVRQ)LUVW3URSHUW\DQG&DVXDOW\/WG   0DUN--DQVHQDV7UXVWHHRIWKH0LD'\QDVW\
FR7KHRGRUH-+DUWO(VT                             6$&                                         7UXVWXQGHUWUXVWDJUHHPHQWGDWHG0DUFK
%DOODUG6SDKU//3                                       FR'DYLG2YHUVWUHHW(VT '83              FR1DWKDQ.DQXWH(VT           (&)
WK6WUHHW6XLWH                            (DUKDUW2YHUVWUHHW//&                      6QHOO :LOPHU//3
'HQYHU&2                                        32%R[                              :/LEHUW\6WUHHW6XLWH
                                                         &KDUOHVWRQ6&                        5HQR19
0DUN6FRWW&RQVWUXFWLRQ&RPSDQ\                         0RQWDJH6HUYLFHV,QF    '83              0XUDFR-XOLH
FR6FRWW(-HQQ\(VT                                FR'HQQLV-.HOO\(VT                   FR$GDP/6FKZDUW](VT$QGUHZ+HUURQ(VT
)HUU\6WUHHW                                        'LOOLQJKDP 0XUSK\//3                    +RPHU%RQQHU-DFREV2UWL]3$
0DUWLQH]&$                                      0RQWJRPHU\6WUHHW6XLWH           )RXU6HDVRQV7RZHU      '83
                                                         6DQ)UDQFLVFR&$                     %ULFNHOO$YHQXH
                                                                                                      0LDPL)/
1L[RQ3HDERG\//3                                       1RYRJUDGDF &RPSDQ\//3                    3RUW5R\DO,QVXUDQFH&RPSDQ\/WG6$&
FR(OOLRW53HWHUV(VT(ULF+0DF0LFKDHO(VT    FR6KHUL7KRPH(VT                       FR'DYLG2YHUVWUHHW(VT
'HHYD6KDK(VT
                                                         :LOVRQ(OVHU0RVNRZLW](GHOPDQ 'LFNHU     (DUKDUW2YHUVWUHHW//&     '83
.HNHU9DQ1HVW 3HWHUV//3                            //3                                         32%R[
%DWWHU\6WUHHW                                      /DV9HJDV%OYG6RXWK6XLWH      &KDUOHVWRQ6&
6DQ)UDQFLVFR&$                                 /DV9HJDV19
3UDHGLWLV*URXS//&                                    3\UDG,QWHUQDWLRQDO//&                    5DGLDQ*HQHUDWLRQ//&
FR$GDP/6FKZDUW](VT$QGUHZ+HUURQ(VT            FR6FRWW/6LOYHU(VT                   FR1DWKDQ7'H/RDWFK
+RPHU%RQQHU-DFREV2UWL]3$                         6LOYHU/DZ*URXS                            7URXWPDQ3HSSHU+DPLOWRQ6DQGHUV//3
)RXU6HDVRQV7RZHU '83                             :6DPSOH5RDG                        3HDFKWUHH6WUHHW1(6XLWH
%ULFNHOO$YHQXH                                    &RUDO6SULQJV)/                     $WODQWD*$
0LDPL)/
5LFN+HQGULFN-HHS&KU\VOHU'RGJH5DP                   5RDFK5RQDOG                               6KRNXQLQ,QF
FR&KULVWRSKHU-'HUUHQEDFKHU(VT                   FR&KULVWLDQ(3LFRQH(VT               FR$GDP/6FKZDUW](VT$QGUHZ+HUURQ(VT
/HZLV%ULVERLV                                          %HUOLQHU&RKHQ//3                         +RPHU%RQQHU-DFREV2UWL]3$
/DNH%RRQH7UDLO6XLWH                        $OPDGHQ%OYGWK)ORRU                )RXU6HDVRQV7RZHU '83
5DOHLJK1&                                       6DQ-RVH&$                          %ULFNHOO$YHQXH
                                                                                                      0LDPL)/
6NDGGHQ$USV6ODWH0HDJKHU )ORP//3                6RODU(FOLSVH,QYHVWPHQW)XQG;;//&       6RODUPRUH0DQDJHPHQW6HUYLFHV,QF
FR/DZUHQFH66SLHJHO(VT
-XOLH$7XUQHU(VT
                                                         FR1DWDOLH5LOH\
                                                         :%XVLQHVV+LJKZD\
                                                                                                      6QHOO :LOPHU//3
                                                                                                      :/LEHUW\6WUHHW6XLWH
                                                                                                                                       (&)
6NDGGHQ$USV6ODWH0HDJKHU )ORP//3                'H[WHU02                            5HQR19
2QH0DQKDWWDQ:HVW
1HZ<RUN1<
6WUDXVV/DZ)LUP//&                                   6WUDXVV3HWHU-                          6XQ7UXVW(TXLSPHQW)LQDQFH /HDVLQJ
FR'DYLG2YHUVWUHHW(VT                              FR'DYLG2YHUVWUHHW(VT                  &RUS
(DUKDUW2YHUVWUHHW//&            '83                   (DUKDUW2YHUVWUHHW//&       '83            FR-HIIUH\5'XWVRQ(VT
32%R[                                          32%R[                              .LQJ 6SDOGLQJ//3
&KDUOHVWRQ6&                                    &KDUOHVWRQ6&                        3HDFKWUHH6WUHHW1(6XLWH
                                                                                                      $WODQWD*$
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70RELOH86$,QF                       9LVWUD,QWHUQDWLRQDO([SDQVLRQ 86$ ,QF   :HQW]6FRWW
FR0LFKDHO+:HLVV(VT               IND5DGLXV**( 86$ ,QF                   FR'HQQLV-.HOO\(VT
6(WK6WUHHW                     FR7HUU\/:LW(VT                       'LOOLQJKDP 0XUSK\//3
%HOOHYXH:$                       4XLQQ(PDQXHO8UTXKDUW 6XOOLYDQ//3        0RQWJRPHU\6WUHHW6XLWH
                                         &DOLIRUQLD6WUHHWQG)ORRU             6DQ)UDQFLVFR&$
                                         6DQ)UDQFLVFR&$
:RUOGZLGH3URSHUW\DQG&DVXDOW\/WG    ;WUHPH0DQXIDFWXULQJ//&                    <HH5DLQD               '83
FR'DYLG2YHUVWUHHW(VT              FR0DUN-&RQQRW(VT                     FR'HQQLV-.HOO\(VT
(DUKDUW2YHUVWUHHW//& '83              .HYLQ06XWHKDOO(VT (&)                  'LOOLQJKDP 0XUSK\//3
32%R[                          )R[5RWKVFKLOG//3                           0RQWJRPHU\6WUHHW6XLWH
&KDUOHVWRQ6&                    )HVWLYDO3OD]D'U6XLWH           6DQ)UDQFLVFR&$
                                         /DV9HJDV19
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                   (;+,%,7)
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'&6RODU6ROXWLRQV,QFHPSOR\HHV

$GDP15RGULJXH]                     $GDP6(OKDG\                      $ODQ&+DQVHQ
)UDQNOLQ$YH                      )DLU2DNV%OYG            /DXUHO6W
%D\3RLQW&$                   6DFUDPHPWR&$                9DFDYLOOH&$



$OEHUWR%)XHQWHV                    $OH[DYLHU*%ODFN                  $OWRQ(3HWH
.LPEHUO\'U                      )LJWUHH/DQH$SW&             .DSDOXD%D\&LUFOH
$PHULFDQ&DQ\RQ&$             0DUWLQH]&$                  3LWWVEXUJ&$



$QGUHD%DM]DW                         $QGUHD59DXJKQ                    $QGUHV$3DUWLGD
(QG6WUHHW                      WK6WUHHW                 3RLQW5H\HV&W
%HQLFLD&$                     $QWLRFK&$                   $QWLRFK&$



$QGUHZ-5DEHU                       $QJHOD2%XHQR                     $QWKRQ\0*DUFLD
$ODEDVWHU$YH                    6WUDLJKWZRRG&RXUW             1LJKWLQJDOH'U
2UODQGR)/                     $QWLRFK&$                   $QWLRFK&$



$SULO/5LFKDUGVRQ                    $UWKXU-$QGUR\QD                   $YHOLQR&$QFKHWD-U
6DQ0LJXHO5G                    $UWKXU5RDG8QLW%              2OLYHUD5G$
&RQFRUG&$                     0DUWLQH]&$                  &RQFRUG&$



%HONLV'/HDO+HUQDQGH]              %HQMDPLQ)%XKOHU                  %ODNH$0XOOHU
'HWURLW$YH$SW            0RVV/DQH                       )DOOV:D\
&RQFRUG&$                     1DSD&$                      )DLUILHOG&$



%UDQGRQ-/HLQJDQJ
%ULGJHSRUW:D\
                                       %UHQW/.LQJ
                                       3DWULFN'U
                                                                            %UHQW75HFNHUW
                                                                            %LQGHZDOG5G
                                                                                                   &+1*
0DUWLQH]&$                    3DFKHFR&$                   7RUUDQFH&$



%UHWW66WXEEV                       %ULDQ/0HGLQD                     %ULDQ3&DIIUH\
0DUVDOD'U                      -DGH&LUFOH                     QG$YHQXH
%D\3RLQW&$                   9DOOHMR&$                   :DOQXW&UHHN&$



%ULDQ56WULFNODQG                   %U\DQ%%XVKQHOO                   &DUH\/7RPDQ
%HHFKZRRG'ULYH                  9LQH+LOO:D\                   &ODUHPRQW&W
0DUWLQH]&$                    0DUWLQH]&$                  2DNOH\&$



&DUULH6&DUSRII%RGHQ               &KDUOHQH0$YDUERFN                &KDUOHV/6WDQIRUG
&DVFDGD                            3ULPURVH/Q                     *RQ]DJD$YH
5DQFKR6DQWD0DUJDULWD&$      %HQLFLD&$                   9DOOHMR&$
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&KULVWLDQ90RUHQR
&DPHOEDFN'U
                        %$'          &OLIWRQ(/DF\
                                     0DQGHURQ:D\
                                                                          &ROH($GDPV
                                                                          9LVWD'HO5LR
)DLUILHOG&$                 $QWLRFK&$                   &URFNHW&$



'DQ16FKQHULQJHU     &+1*         'DQD(/XFDV                       'DQD/:HHNV
)HUU\6WUHHW                &DVWUR6WUHHW                  (DVW/6WUHHW
0DUWLQH]&$                  0DUWLQH]&$                  %HQLFLD&$



'DQLHO(+RZDUWHU                  'DQLHO-0HQGHV                    'DQLHO/$JXLOHUD
:DOQXW3ODFH                   5HGZRRG'U                     :LOORZ&UHHN/Q
&RQFRUG&$                   2DNOH\&$                    0DUWLQH]&$



'DQLHO0/RJDQ                     'DQLHO35DPLUH]        &+1*       'DQLHO55XL]    %$'
6FKRRO6W                       (OOLV6WUHHW              6KRUOLQH'U
3LWWVEXUJ&$                 &RQFRUG&$                   3LWWVEXUJ&$



'DQLHO6%ULJJV-U                'DQQ\-2OJHLUVRQ                  'DULQ/0HDGRZV
9HUVDLOOHV&W                  (OOLV6W$SW               )LW]SDWULFN'U
+HQGHUVRQ19                 &RQFRUG&$                   &RQFRUG&$



'DUUHQ.%HLVLQJ                   'DYLG$.OHYHQ                     'DYLG%,QJPLUH
6KHUPDQ'U                     3HEEOH%HDFK'ULYH              2DN*URYH5G
3OHDVDQW+LOO&$             %UHQWZRRG&$                 &RQFRUG&$



'DYLG(%HQQHWW                    'DYLG(.HQQLFN                    'DYLG-0DULHLUR
5DGFOLII6WUHHW                +LOOWRS'U                      6WDU7UHH&RXUW
/DV9HJDV19                 9DOOHMR&$                   0DUWLQH]&$



'DYLG:(QGUHV
(16WUHHW
                        %$'          'HQQLV06DOYD
                                     3LQLRQ'U
                                                                          'RPLQLF&$UQROG
                                                                          3DUNHU$YH
%HQLFLD&$                   0DUWLQH]&$                  5RGHR&$



'RQDOG2%DLOH\    %$'             'RXJODV:6FKUDPP                  '\ODQ$.OHYHQ
5RFN\3RLQW'U                /RGJHSROH&W                    +RRNVWRQ5G
$QWLRFK&$                   0DUWLQH]&$                  &RQFRUG&$



(GZLQ-$OOHQ                      (ULF36DZ\HU                      (ULF76LPPHUV
$(PHULF$YH                   *UXEVWDNH3O                    0DULH$YH
6DQ3DEOR&$                 9DOOHMR&$                   0DUWLQH]&$
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)HUQDQGR6&UX]                    *HRIIUH\$:DUUHQ,,,             *HUU\7&KDLQ
6KDURQ3O                       )UDQNOLQ$YH                   0RUHOOR$YH
%D\3RLQW&$                 %D\3RLQW&$                0DUWLQH]&$



*LOEHUW-/XFHUR                   *UHJ61HOVRQ                     *XLOH(0RVKHU
%OXEHOO3O                      &RQGRU&W                     0F&OHOODQ&RXUW
9DOOHMR&$                   &RQFRUG&$                  0DUWLQH]&$



*X\/)UDQN                        +DQQDK-&KULVWRSKHU              +HFWRU/RSH]-U
0RUDJD%OYG                    :LQGVRU'U                    3XWWHU&W
/DID\HWWH&$                 %HQLFLD&$                  %UHQWZRRG&$



+HLGL$2EHO                       +XQJ71JX\HQ                     ,DQ%&KXUFK
<DOH6W                       +LJKODQG$YH                  1HDU&W$SW
0DUWLQH]&$                  9DOOHMR&$                  :DOQXW&UHHN&$



-DLPH6*X]PDQ                     -DPHV(0DUDVFR                   -DPHV-0DMDUR
2YHUORRN'U                    1&LYLF'U$SW             :HVWQG6WUHHW$SW
:DOQXW&UHHN&$              :DOQXW&UHHN&$             $QWLRFK&$



-DUUHWW37D\ORU                   -DVRQ'5LHJHU                    -DVRQ(/DZVRQ6W+LOO
6SULQJILHOG'U                 (TXHVWULDQ:D\                0DJQROLD:D\
:DOQXW&UHHN&$              $QWLRFK&$                  :DOQXW&UHHN&$



-DVRQ/&DUULJHU                    -DVRQ/(OGHIRQVR                 -DVRQ76FKXLWHPDNHU
'HWURLW$YH$SW             (O7DPERU'ULYH               &KHVWQXW6W
&RQFRUG&$                   %D\3RLQW&$                %UHQWZRRG&$



-DYDQ0%RZ\HU                     -HIIUH\%*UHVKDP                 -HIIUH\'0DVRQ
1WK6W                       )OR/DQH                $OKDPEUD9DOOH\5G
6DQ-RVH&$                  6DQWD&ODULWD&$            0DUWLQH]&$



-HIIUH\-6LPPRQV                   -HIIUH\/3ULFH                   -HIIUH\3&DUSRII
0DF0XUWU\&W                   32%R[                        3HEEOH'XQHV&W
0DUWLQH]&$                  0DUWLQH]&$                 /DV9HJDV19



-HQQLIHU-6FKURHGHU-HOLFK        -HUU\-&OD\                       -HVVLFD0%XHQURVWUR  %$'
:HVW6W                        (6DQWD)H$YH                'DQURVH'ULYH
&RQFRUG&$                   3LWWVEXUJ&$                $PHULFDQ&DQ\RQ&$
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-HVXV,/HDO+XHUWD               -RKQ$/\GHQ                       -RKQ$*DUFLD
'HWURLW$YH               3LQH5XQ5G                   .XZDLW:D\
&RQFRUG&$                  /DV9HJDV19                3DFKHFR&$



-RKQ&0LUDQGD                    -RKQ&5HWWD                      -RKQ0/HPDQVNL
3DUN$YHQXH$37             &RVWDQ]D'U                    6WRQ\EURRN'U
6RXWK3DVDGHQD&$           0DUWLQH]&$                 1DSD&$



-RKQ3$OYDUH]                    -RQDWKDQ'/RSH]                  -RUGDQ$(DJOH
:%XFKDQDQ5G                 5RVVFRPPRQ:D\                5DWKGUXP:D\
3LWWVEXUJ&$                $QWLRFK&$                  $QWLRFK&$



-RUGDQ$.DUPDQQ                  -RUGDQ09DOHUJD                  -RVHSK+5HD
-HIIUH\5DQFK&RXUW            &DEULOOR'U                   'DUGDQHOOH&W
&OD\WRQ&$                  0DUWLQH]&$                 0DUWLQH]&$



-RVHSK-%DLHU                    -RVKXD-'DJJV                    -XOLD0&ODFN
2DN*URYH5G$SW&         *ROGHQ6SULQJV/DQH           +LJK6WUHHW
&RQFRUG&$                  &RQFRUG&$                  0DUWLQH]&$



-XOLDQ$5RFKLQ                   -XOLR&3ULHWR                    -XVWLQ05LGRXW
3DFLILF6W                    5RVH'U                        (DVW/DNH'ULYH
&RQFRUG&$                  %HQLFLD&$                  $QWLRFK&$



.DLWOLQ//D3RLQW                  .DODQL$9HQWLPLJOLR               .HUL$(DJOH
)LUVW6W                       5RFNHWW'U                    5DWKGUXP:D\
5RGHR&$                    )UHPRQW&$                  $QWLRFK&$



.LPEHUO\-/LQDUHV                .\OH$/RZH                       /DQFH0$PDWR
1RUWKZRRG'U$SW          0F'HUPRWW'U                  0DULH$YH
&RQFRUG&$                  3LWWVEXUJ&$                0DUWLQH]&$



/DQFH0$PDWR
0DULH$YH
                       '83          /DQFH3%DUDKRQD
                                    &KULVKRP&W$SW-
                                                                        /DXUHQ$&DUSRII
                                                                        3HEEOH'XQHV&W
0DUWLQH]&$                 +D\ZDUG&$                  /DV9HJDV19



/LVD-'RXJODV                     /RUL$6WHZDUW                    /RUQH&5D\
*UDQ]RWWR'U                 %\QXP:D\                     66WDUOLQJ'U
&RQFRUG&$                  2DNOH\&$                   *LOEHUW$=
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/RXLV/-RUGDQ                    /XFDV6DQGRYDO                     0DQXDO-$OGDQD
)DUP/Q                        6PLWK3HDN&W                 3LFDGLOO\:D\$SW$
0DUWLQH]&$                 $QWLRFK&$                  $QDKHLP&$



0DUFHO$0XUUD\$YHUV             0DUFXV$3HUU\                    0DUN-6XOOLYDQ
<ROR&RXUW                     :WK6WUHHW                  3RGYD5G
%D\3RLQW&$                $QWLRFK&$                  'DQYLOOH&$



0DUN5+XJKHV                     0DUTXHV06FDQODQ                 0DU\&:DOVK
+DDJ5G                       &KHY\:D\                     6KDGRZIDOOV&LUFOH
0DUWLQH]&$                 6DQ3DEOR&$                0DUWLQH]&$



0DWWKHZ3&DUSRII                 0DXUR($JXLODU                   0LFKDHO&.URXV
&DUROLQD&KHUU\'U              -DQH&W                        5RVH'U
/DV9HJDV19                0DUWLQH]&$                 %HQLFLD&$



0LFKDHO&0RUDQR
6RXWK0DULSRVD/Q
                                    0LFKDHO')HOLFLDQR
                                    $]RUHOOD&W
                                                                        0LFKDHO'+XLH
                                                                        %XFKDQDQ5G
                                                                                               &+1*
'XEOLQ&$                   /DV9HJDV19                $QWLRFK&$



0LFKDHO-+RUDQ
5DLQIRUG6WUHHW
                      &+1*          0LFKDHO30F&DLQ
                                    (GZDUGV6W
                                                                        0LFKDHO8&KDSPDQ
                                                                        $VWHV'U$SW
/DV9HJDV19                &URFNHWW&$                 $QWLRFK&$



0LOHV'.OHLQ                     0LWFKHOO$&RRN                   0ROO\/+DUGLQ
:DOQXW$YH                    *HQHYD6W                     (GJHILHOG3O
&RQFRUG&$                  0DUWLQH]&$                 %UHQWZRRG&$



0RQLFD%&DVWUR                   1DQF\/5DQGROSK                  1LFKRODV5'H&DUOR
)UDQNOLQ$YHQXH                0DUVK&UHHN5RDG             5LWD'ULYH
%D\3RLQW&$                &OD\WRQ&$                  0DUWLQH]&$



1LFKROH-&UDZIRUG                1LFKROH75LHJHU                  1LFROH'6FKUDPP
)RUHVWYLHZ$YH                (TXHVWULDQ:D\                5LYHUZRRG&LUFOH
&RQFRUG&$                  $QWLRFK&$                  0DUWLQH]&$



2PDU0<DVLQ                      2VFDU'6DUDYLD                   3DWULFN-5HD
6S\JODVV'U                  (QWUDGD&LUFOH                  'DUGDQHOOH&W
%UHQWZRRG&$                $PHULFDQ&DQ\RQ&$          0DUWLQH]&$
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3DXO-5HWWD                      3DXOD--RUGDQ                    3DXOHWWH/&DUSRII
6XVDQD6W                      )DUP/DQH                      3HEEOH'XQHV&W
0DUWLQH]&$                 0DUWLQH]&$                 /DV9HJDV19



3DXOR&6LOYD                     3HUU\/*UDQW                     3ULVFLOOD$PDWR
6RGDUR'ULYH                    6DGGOH5RFN/Q                0DULH$YH
0DUWLQH]&$                 5LR9LVWD&$                0DUWLQH]&$



5DFKHO0.UXJHU                   5DIDHO25DPLUH]                  5DIDHO32FKRD
.LQJVWRQ$YH                   +LOO&W                          6LHUUD5G
0DUWLQH]&$                 +HUFXOHV&$                 &RQFRUG&$



5HEHFFD//XWKL                   5LFKDUG-6WUDIHOOD               5LFKDUG3)LFDUR
6HDJXOO&W                    &HQWRFHOOH$YH                 3DFKHFR6W
'LVFRYHU\%D\&$            /DV9HJDV19                &RQFRUG&$



5LFN$0HUW]                      5REHUW$.DUPDQQ                  5REHUW$0XUUD\
6KDG\/DQH$YH([W            -HIIUH\5DQFK&W               5LYHUZRRG&LUFOH
.DQQDSROLV1&               &OD\WRQ&$                  0DUWLQH]&$



5REHUW'/XFHUR                    5REHUW/%HQQHWW                  5REHUW/%XFH\
0HDGRZEURRN'U                ,UHQH'U                      &RQFRUG%OYG3
(O6REUDQWH&$              0DUWLQH]&$                 &RQFRUG&$



5REHUW36D\H,,,
%URFNVKLUH:D\
                                    5REHUW9$PDWR
                                    5RVHDQQ'U
                                                                        5ROOLQ$0F*KHH
                                                                        6WHLQEHFN:D\$SW)
                                                                                                    &+1*
'XOXWK*$                   0DUWLQH]&$                 0RRUHVYLOOH1&



5RQ&)KXURQJ                     5\DQ-*XLGU\                     5\RQ&6LYHUOLQJ
&DVWURO6W                    2DVLV'U                      %URRNYLHZ&LUFOH
0DUWLQH]&$                 &RQFRUG&$                  &RQFRUG&$



6DPXDO59DUJHQ                   6DPXHO'%DUQDFKLD                6DUDK(&UHHO
'RQHJDO:D\                    :DWHUIDOO:D\                 $UDQD'ULYH$SW&
0DUWLQH]&$                 &RQFRUG&$                  0DUWLQH]&$



6HDQ$6LQGHUEUDQG                6HDQ&0DFLDV                     6HEDVWLDQ-DQR
(QG6WUHHW                   (VWXGLOOR6W                   $OGHU&UHHN5RDG
%HQLFLD&$                  0DUWLQH]&$                 9DOOHMR&$
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6HWK$/XENHPDQ                     6KDQQRQ/3HUULHUD     %$'         6KD\OD0+RDQJ
)RVWHU6W                         6RODQR6TXDUH               &DQ\RQ2DNV&LUFOH
0DUWLQH]&$                  %HQLFLD&$                   3LWWVEXUJ&$



6KHUU\/6KLUN                      6LHQQD-6WULFNODQG                6WDF\0/DPERWW
+D\PDQ$YH                     0RUHOOR$YH                     6RVFRO$YH$SW
9DOOHMR&$                   0DUWLQH]&$                  1DSD&$



6WHSKDQLH$$GDPV                  6WHSKHQ*3HOD\R7KHUHVVHQ         6WHSKHQ/0DUWLQ
5RDQRDNH'U                     :KLWH0RXQWDLQ&W             +DYHQZRRG$YHQXH$
0DUWLQH]&$                  0DUWLQH]&$                  %UHQWZRRG&$



6WHYHQ-6DQGHUVRQ                 6WHYHQ3%HDO                      6WHYHQ5:LOGH
1&UHVW$YH                  9LQWDJH&W                        0DFNOLQ'U
0DUWLQH]&$                  5\H%URRN1<                 &RWDWL&$



7HUUHOO-+DOO                     7KHRGRU0.DUQ                     7KRPDV-%OD]HU
&URZOH\$YH                     0DUOD'U                         &OLIIRUG&W
3LWWVEXUJ&$                 $PHULFDQ&DQ\RQ&$           &OD\WRQ&$



7KRPDV0:LPPHU                     7KRPDV:%ULJJV                    7UDF\07D\ORU
(WK6WUHHW                  6WRQHKXUVW'U                  7DPDULVN&LUFOH
%HQLFLD&$                   0DUWLQH]&$                  6XLVXQ&LW\&$



7UR\$7DOLDIHUUR                   7\OHU0$LUHV                      9HURQLFD07\OHU
9HWHUDQV&RXUW                 (VWXGLOOR6W                   ,QOHW'U
0DUWLQH]&$                  0DUWLQH]&$                  %D\3RLQW&$



9ODG\VODY6.URWRY                 :LOOLDP%HDP,,,                    :LOOLDP',Y\
/XFLQGD/Q                      5DGFOLII6W                    +ROO\9LHZ&W
3OHDVDQW+LOO&$             /DV9HJDV19                 0DUWLQH]&$



:LOOLDP-*HKULQJ,,,              :LOOLDP/&ROH                     :LOOLDP7$QGHUVRQ
6RXWKEURRN'U                  6W1D]DLUH&W                 '6WUHHW
&OD\WRQ&$                   0DUWLQH]&$                  0DUWLQH]&$



<RODQGD0LUDQGD
%HOODV$UWHV&LUFOH
6DQ5DPRQ&$
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'&6RODU'LVWULEXWLRQ,QFHPSOR\HHV

$ODQ&+DQVHQ                     $QLFHWR7%ULRQHV                 $QWKRQ\'%UXQVRQ
6XQIORZHU6W                   $QGUHZV&LUFOH                6WK$YH
9DFDYLOOH&$                6XLVXQ&LW\&$              7ROOHVRQ$=



$QWKRQ\3-RKQVRQ-U             $QWKRQ\93DROL                   $XVWLQ.%DUEHU
)DUPLQJWRQ'U$SW       3KHDVDQW5LGJH'U              2UFKDUG9LHZ$YH
9DFDYLOOH&$                +HQGHUVRQ19                0DUWLQH]&$



%UDQGRQ36SHQFHU
:'DUURZ6W
                                    %UHQW75HFNHUW   &+1*            %\URQ56PLWK
                                    %LQGHZDOG5G                  +LOERUQ6W
3KRHQL[$5                  7RUUDQFH&$                 9DOOHMR&$



&DUULH6%RGHQ     '83            &KDUOHV/6WDQIRUG   '83          &KDUOH\((WFKLHVRQ
&DVFDGD5DQFKR                  *RQ]DJD$YH                    )HDWKHU&RXUW
6DQWD0DUJDULWD&$          9DOOHMR&$                  &RRSHURSLOLV&$



&KULVWRSKHU-6RSHU               &KULVWRSKHU6+HOPV               &RG\&3HSSHU       &+1*
(5D\5G6XLWH         QG6WUHHW1:                   3KDQWRP5RFN6W
&KDQGOHU$=                 &RQFRUG1&                  /DV9HJDV19



'DQ16FKQHULQJHU &+1*            'DQLHO35DPLUH]      &+1*        'DQLHO55XL]    %$'
)HUU\6WUHHW               (OOLV6WUHHW             6KRUOLQH'U
0DUWLQH]&$                 &RQFRUG&$                  3LWWVEXUJ&$



'DYLG:-RKQVRQ                   (XJHQH7%ULRQHV                  )OR\G/-RKQVRQ      &+1*
&RUWH'HO6RO                    +DUHLTXQ:D\                   :&DUPHQ'ULYH
%HQLFLD&$                  6XLVXQ&LW\&$              6XUSULVH$=



                                                         '83
                                                                                                  '83
+XJR$3DUHGHV                    ,DQ%&KXUFK                      -DVRQ'5LHJHU
$UWKXU5G                       1HDU&W$SW                (TXHVWULDQ:D\
0DUWLQH]&$                 :DOQXW&UHHN&$             $QWLRFK&$



-HII/3ULFH  '83                 -RKQ67HDO                       -RQDWKDQ.5D\
32%R[                        %DVFRP&W                      %OXH5LGJH7UDLO
0DUWLQH]&$                 *UHHU6&                    0RRUVHYLOOH1&



-RVHI:3LHUFH                    -RVHSK&*DUUHWW                  -RVHSK6.XSRYLWV
5RELQVRQ6W                   )UHHPDQ$YH                  )RUHVW+DYHQ:D\
0DUWLQH]&$                 /DZQGDOH&$                 +HQGHUVRQ19
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-XVWLQ05LGRXW      '83          .HQQHWK*'HVYHUQLQH              /DQFH0$PDWR '83
(DVW/DNH'ULYH                &DURQGHOHW&RXUW              0DULH$YH
$QWLRFK&$                  &RQFRUG&$                  0DUWLQH]&$



                                                                                               %$'
0DUN$3UHVW    &+1*              0LFKDHO$'R                      0LFKDHO$1HZHOO
:LQVWHG&W                    9HUVDLOOHV&W                 &RXQWU\6FHQH:D\
&KDUORWWH1&           /DV9HJDV19                /DV9HJDV19



0LFKDHO'+XLH &+1*               0LFKDHO(/DZUHQFH                0LFKDHO35LOH\,,
%XFKDQDQ5G                   :0DLQ6W                     :0DXOH$YH8QLW
$QWLRFK&$                  :DUVDZ.<                   /DV9HJDV19



1LFKRODV$O(VQR                  2VFDU$-LPHQH]                   3DXO-5HWWD   '83
'DUE\$YH                     &DOLPHVD6W                  6XVDQD6W
/DV9HJDV19                /DV9HJDV19                0DUWLQH]&$



3DXOHWWH&DUSRII   '83             3HWHU-6FKDDI                    5LFKDUG-6WUDIHOOD
3HEEOH'XQHV&W                 (/DNHYLHZ$YH                 5HDGLQJ+LOOV$YH
/DV9HJDV19                &ROXPEXV2+                 +HQGHUVRQ19



5LFN\$3URFWRU                   5REHUW9$PDWR '83                5REHUW:%HOOR
60F0LQQ'U                  5RVHDQQ'U                    :.ULVWDO:D\
*LOEHUW$=                  0DUWLQH]&$                 3KRHQL[$=



5RQDOG+6WLHU                    5\DQ-*XLGU\                     6HDQ&0DFLDV   '83
:QG6W                   %R\G5G                        (VWXGLOOR6W
+DZWKRUQH&$                3OHDVDQW+LOO&$            0DUWLQH]&$



6HDQ5&XWROR                     6LPRQ+7HHG                      7HUUHQFH'6RXWKHUQ
*UDSHODQG$YH                 1+LJKW6WUHHW          :3DOR9HUGH'U
/DV9HJDV19                &ROXPEXV2+                 /LWFKILHOG3DUN$=



7RGG/5DVPXVVHQ %$'              7ULVWDQ..UHDJHU                 :LON\QV*-LPHQH]
'HHUSDUN'U               '6WUHHW               6WRQHKXUVW'U
)XOOHUWRQ&$                6DQ5DIDHO&$               0DUWLQH]&$



:LOOLDP7$QGHUVRQ   '83          <DRSKXRQJ/LHZ                     =DFKDU\7&KULVWPDQ
'6WUHHW                       6FDXOS/Q                      &RQVWDQFLD
0DUWLQH]&$                 6XLVXQ&LW\&$              0LVVLRQ9LHMR&$
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%UHQW.LQJ                        'DYH%HQQHWW                         -RH*DUUHWW
 ,1&                                 ,1&                                    ,1&


-XVWLQ5LGRXW^:7B`           5REHUW$PDWR^:7B`               6WHYH7KHUVVHQ
  ,1&                                 ,1&                                   ,1&
